Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 1 of 82 Page ID #:551




                    EXHIBIT C
0           Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 2 of 82 Page ID #:552
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                                                IN THE CRIMINAL COURT OF THE SIXTH JUDICIAL
                                                CIRCUIT IN AND FOR PASCO COUNTY, FLORIDA


                                                           AFFIDAVIT FOR SEARCH WARRANT




                               BEFORE ME,     ')}u.4"' /   ~ I H I Judge of the Circuit/Geunty Court, in and for Pasco
                               County, Florida, personally came Pasco Sheriff's Office Detective Daniel Stewart, who
                               being duly sworn, deposes and says that Affiant has probable cause to believe that
                               certain laws have been and are being violated in or about a certain premises and the
                               curtilage thereof and that evidence of the violation of certain laws in the form of
                               computer equipment and data, or printed or written documents and other related items
                               described herein, are being kept in or about certain premises and the curtilage thereof,
                               in Pasco County, Florida, being known and described as follows:


                                                   9733 Lake Chrise Ln. Port Richey, FL, 34668




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                               Directions and Description                                                               ►

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                                                                       Page 1 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 3 of 82 Page ID #:553
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   The premises to be searched has a legal description of REGENCY PARK UNIT 6-A PB
   14 PG 61 LOT 1680 OR 4025 PGS 1062-1065 and can be located by traveling north on
   Little Rd. then turning West on Fox Hollow Dr. Traveling west on Fox Hollow Dr., one
   would turn south on Lake Chrise Ln. One would continue south past the intersection of
   Wayside Ln. and Lake Chrise Ln. The residence is the first (1 st ) residence on the west
   side of the road after that intersection. Arrive at 9733 Lake Chrise Ln. The target
   location is a single story concrete and stucco dwelling; said residence is tan in color with
  white trim; said residence has brown colored asphalt shingled roof; said residence has
   an attached single-car garage with a concrete driveway leading to the garage door; said
   residence has a white colored screen type door which is facing East, which opens
  outward and a dark colored front door, which ope s inward; said residence has one
  double window south of the front door on the front of the house and one single window
                                            '
  north of the front door on the front of the house.




  The formal address of the premises to be searched is 9733 Lake Chrise Ln. Port
  Richey, FL, 34668, and the premises and its curtilage are referred to as "The
  Premises."


                                           Page 2 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 4 of 82 Page ID #:554
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   Your Affiant, Detective D. Stewart, states that I have probable cause to believe that:
   ''The Premises" and the curtilage thereof, and "the Property" described hereinafter, are
   being used as instrumentalities for crime, and contain evidence of, or evidence relevant
   to proving, violations of section 777 .04 Florida Statutes, prohibiting any person to
   conspire to launder money; section 812.014(2)(a) prohibiting any person to unlawfully
   take property greater than $100,000.00; section 896.101(3)(a)(2a) prohibiting any
   person to launder money; and section 815.06(3)(b)2 regarding using computers to
   commit a crime.




   INVESTIGATOR BACKGROUND


   Your Affiant is a duly sworn law enforcement officer employed oy the Pasco Sheriffs
   Office (PSO) since October, 2009 and was so employed during all times stated herein.
   During the past eight (8) years, Your Affiant has served the PSO as a Deputy Sheriff in
  the Uniform Patrol Division, tl;le Criminal Investigations Bureau, and the Special
   Investigations Division.


   From 2013 - 2016 Your Affiant was assigned in the PSO Economic Crimes Unit. During
  this time, Your Affiant investigated numerous Economic Crime complaints to include
   credit card fraud, worthless documents (checks), identity theft, counterfeit currency and
   exploitation of the elderly cases.


  Your Affiant is currently assigned to the Special Investigations Division of the PSO and
   has been assigned to this unit since 2016. Your Affiant's responsibilities inside this unit
  include working money laundering, wire fraud, bank fraud, human trafficking and other
  cases associated with finances and narcotics.


  Your Affiant is currently on the Homeland Security Investigations (financial group) task
  force. As a member of the task force, Your Affiant has the authority to investigate crimes

                                           Page 3 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 5 of 82 Page ID #:555




   of the United States Criminal Code pertaining to, among other things, bank fraud, wire
   fraud, and money laundering.


   Your Affiant has received over 80 hours of training on asset forfeiture and money
   laundering and has attended classes regarding International Money Laundering, Bulk
   Cash Smuggling, and Terrorist Financing.


   Your Affiant has investigated and arrested individuals for RICO and Money Laundering
   offenses against Florida State Statutes.


   Your Affiant knows from training ar:id experience that in order to locate forensic
   evidence on computers and electronic devices, it is necessary to download the entire
   device contents and search all files and folders contained in the device to discover and
   preserve evidence.


   DEFINITION(S)

      1.   Florida State Statute § 896.101 defines "Conducts" as initiating, concluding, or
           participating in initiating or concluding a transaction.
      2. Florida State Statute § 896.101 defines 'Transaction" as a purchase, sale, loan,
           pledge, gift, transfer, delivery, or other disposition, and with respect to a financial
           institution includes a deposit, withdrawal, transfer between accounts, exchange
           of currency, loan, extension of credit, purchase or sale of any stock, bond,
           certificate of deposit, or other monetary instrument, use of a safety deposit box,
           or any other payment, transfer, or delivery by, through, or to a financial institution,
           by whatever means effected.
      3. Florida state Statute § 896.101 defines "Financial institution" as a financial
           institution as defined in 31 U.S.C. s. 5312 which institution is located in this state.
      4. ·31 U.S.C s 5312 defines a financial institution as a currency exchange (section
           J), a licensed sender of money or any other person who engages as a business
           in the transmission of funds, including any person who engages as a business in
           an informal money transfer system or any network of people who engage as a

                                             Page 4 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 6 of 82 Page ID #:556




         business in facilitating the transfer of money domestically or internationally
         outside of the conventional financial institutions system (section R).
      5. Florida State Statute § 896.101 defines "Financial transaction" as a transaction
         involving the movement of funds by wire or other means or involving one or more
         monetary instruments, which in any way or degree affects commerce, or a
         transaction involving the transfer of title to any real property, vehicle, vessel, or
         aircraft, or a transaction involving the use of a financial institution which is
         engaged in, or the activities of which affect, commerce in any way or degree.
      6. Florida State Statute § 896.101 defines "Knowing that the property involved in a
         financial transaction represents the proceeds of some form of unlawful activity"
         as the person knew the property involved in the transaction represented
         proceeds from some form, though not necessarily which form, of activity that
         constitutes a felony under state or federal law ...
      7. Florida State Statute§ 896.101 defines "Monetary instruments" as coin or
         currency of the United States or of any other country, virtual currency, travelers'
         checks, personal checks, bank checks, money orders, investment securities in
         bearer form or otherwise in such form that title thereto passes upon delivery, and
         negotiable instruments in bearer form or otherwise in such form that title thereto
         passes upon delivery.
      8. Florida State Statute§ 815.03 defines a computer as an internally programmed,
         automatic device that performs data processing.
      9. Florida State Statute§ 896.101 defines "Specified unlawful activity" as
         racketeering activity defined in 895.02.
      10. Merriam-Webster defines Cryptocurrency as "any form of currency that only
         exists digitally, that usually has no central issuing or regulating authority but
         instead uses a decentralized system to record transactions and manage the
         issuance of new units, and that relies on cryptography to prevent counterfeiting
         and fraudulent transactions"
     11. Merriam-Webster defines Bitcoin as "a digital currency created for use in peer-to-
         peer online transactions"



                                           Page 5 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 7 of 82 Page ID #:557




      12. Merriam-Webster defines Blockchain as iia digital database containing
          information (such as records of financial transactions) that can be simultaneously
          used and shared within a large decentralized, publicly accessible network; also:
         the technology used to create such a database"
      13. Merriam-Webster defines SIM Card as "a card that is inserted into a device ( such
         as a cell phone) and that is used to identify a subscriber on a communications
          network and to store data (such as phone numbers or contact information)"
      14. A TREZOR is defined as "a single purpose device which allows you to make
         secure Bitcoiri transactions. With TREZOR, transactions are completely safe
         even when initiated on a compromised or vulnerable computer."
      15. Gemini is an online cryptocurrency exchange that buys and sells
         cryptocurrencies for United States Currency.
      16. Coin base is an online cryptocurrency exchange that buys and sells
         cryptocurrencies for United States Currency.
      17. Bittrex is an on line cryptocurrency exchange that buys and sells cryptocurrencies
         for United States Currency.
      18. Monero is a type of cryptocurrency.
      19. Xmr is a cryptocurrency wallet.

  SUMMARY OF INVESTIGATION


  The information in this affidavit does not detail every aspect of the case, only that which
   is relevant to establish probable cause.


  Your Affiant is conducting an investigation related to numerous violations of Florida
  state statutes to include: Conspiracy to launder money greater than $100,000.00; grand
  theft greater than $100,000.00, money laundering under $20,000.00, and using
  computers to commit a crime. During the investigation, Ricky HANDSCHUMACHER
  (W/M; DOB: 03/31/1993) was identified as a suspect. Your Affiant obtained some of this
  information from other law enforcement officers throughout the United States.




                                            Page 6 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 8 of 82 Page ID #:558




   On or around February 2018, the Canton Police Department, located in Michigan,
   began investigating an individual after the individual's mother overheard him talking on
  the phone pretending to be an AT&T employee.


   Officers responded to the scene and made contact with the individual (hereinafter
   referred to as CS1 ). Officers gained consent to search CS1 's computer, person, and
   room. Officers discovered shortcuts labeled "ATT Plug" and "TMobile Plug" on the
  computer. When Officers opened the shortcuts, it produced an extensive list of names
   and phone numbers of people from around the world. Officers discovered multiple SIM
  cards on the desk and four (4) cell phones on CS1's person.


  Officers located a messaging service on CS1 's laptop, which revealed a conversation
   between CS1 and other individuals regarding ways to defraud AT&T.
  On or around March 2018, Officers observed CS1 in a public library viewing personal
   identifying documents. Officers seized forty-five (45) SIM cards, a laptop, and a
  TREZOR device from CS 1.


  On or around April 2018, Officers responded to CS1 's residence after CS1 'smother
  called law enforcement to tell them he/she was in possession of another cell phone.
  Officers gained consent to search the room and discovered two bags of SIM Cards, and
  a cell phone. Officers conducted another forensic examination of the items and found
  numerous personal identification information such as driver's licenses and passports.


  Officers identified seven (7) victims from the SIM cards found in CS1 's possession. The
  victims included residents from New York, California, North Carolina, Vermont,
  Michigan, Texas, and Utah.


  Officers contacted the victims and learned someone stole their identity along with large
  sums of money from various bank and/or cryptocurrency accounts.




                                          Page 7 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 9 of 82 Page ID #:559




   Officers conducted surveillance on CS1 in May 2018. Officers observed CS1 receive a
   package from a resid~nce and travel to a bank where he made a $900.00 cash deposit.


   Officers learned CS1 was receiving a package from Georgia. Officers obtained a search
   warrant for the package and learned it contained SIM cards and was addressed to CS1.
   Officers arrested CS1 and learned there was another package addressed to him/her.
   Officers discovered the second package contained approximately $8,000.00 in United
   States Currency.


   Officers learned that CS1 would sell his cryptocurrency for cash and receive the
   currency via parcel carrier.


   Officers executed a search warrant at CS1 's residence and discovered additional
   electronic equipment, government identification cards, and parcel packages. Law
   enforcement officers seized approximately $200,000.00 in stolen cryptocurrency from
   CS1.


   CS1 spoke to law enforcement officers. Post Miranda, CS1 told officers he/she .
   purchased cryptocurrency usernames through the internet. CS1 along with a group of
   individuals, to include HANDSCHUMACHER, obtained SIM cards in order to clone the
   victim's phone.


   Once the phones were cloned, the group would gain access to the victim's e-mail
   accounts and cryptocurrency exchanges to include Gemini and Coinbase. Once the
  group gained access to the account, they would use the victim's funds to purchase
  cryptocurrencies and transfer it to a accounts or wallets the group controlled. After CS1
  received the funds, he/she would store them on the TREZOR device law enforcement
  officers previously seized. CS1 admitted to purchasing items online and to exchanging
  the cyrptocurrency for cash using an online website where the money would be sent to
  him/her.



                                         Page 8 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 10 of 82 Page ID
                                  #:560

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 CS1 said he/she would communicate with approximately eight (8) individuals in order to
commit the fraud scheme. One of the individuals CS1 identified was Ricky
 HANDSCHUMACHER. The individuals used an online chat databases such as Discord
and Telegram to communicate with each other.


CS1 said he would chat with the coconspirators on a daily basis to obtain victim
identities and attempt to hack their financial accounts. CS 1 said the group has been
conducting the fraud since December 2016. CS1 told officers HANDSCHUMACHER
used the handle @coinmission in their chat. Officers learned HANCSCHUMACHER
resides in Pasco County, Florida and contacted Homeland Security Investigations (HSI)
Tampa for further investigation. HSI requested the assistance of the Pasco Sheriffs
Office in the case.


HSI-Detroit provided Your Affiant with evidence they obtained from search warrants,
forensic examinations, and consent searches. Your Affiant observed a chat
conversation that occurred on May 16, 2018. The chat took place between 12:50 hours
and 19:23 hours. In the conversation, the username @goldenspeed typed the name
"Ricky'' and asked a guestion. The username @coihmission responded to the question.
In the conversation, HANDSCHUMACHER, using the name @coinmission, explained
he purchased land, a house, a vehicle, a quad vehicle, and a jetski. •


The conversation identifies a phone number and a SIM number. The group worked
together to steal 57 Bitcoins from the victim. According to an open source website, the
price of Bitcoin that day was $8,240.27 per coin. This means the group stole
$469,695.39. Later in the conversation, a co-conspirator claims they stole $513,000.00
and agreed to split it between them for a total of $128,000.00 each (See attachment A).


In the same conversation, the group discussed a way to launder the money by using
different cryptocurrency exchanges and cryptocurrencies. The conversation states
"bitcoin > shapeshift to monero > send monero to xmr.to and get clean b tc back."



                                       Page 9 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 11 of 82 Page ID
                                  #:561



This conversation tells the group to use a cryptocurrency exchange to sell the
cryptocurrency they stole to purchase another cryptocurrency called Monero. After they
acquired the Monero currency, they would send it to another cryptocurrency wallet
called "xmr." After the cryptocurrency was in the xmr wallet, they would exchange the
Monero for Bitcoin. Because of the multiple wallets, and the sale and purchase of
cryptocurrencies, this makes the new purchased Bitcoin appear to come from a
legitimate source. Your Affiant believes the transactions occurred this way to launder
and conceal the true source of funds.


Your Affiant viewed the search warrant and subpoena results provided by_law
enforcement officers in Detroit. Your Affiant observed subpoena results from an online
cryptocurrency exchange called Coinbase.


Coinbase provided HANDSCHUMACHER's name, driver's license number, date of
birth, address, debit card number, phone number, cryptocurrency wallet identifiers, and
IP addresse·s. The address provided by Coinbase listed The Premises. Coinbase also
· provided law enforcement officers with a picture of HANDSCHUMACHER's Florida
driver's license which lists The Premises (See attachment 8). Law enforcement officers
conducted an analysis on the account and determined there was a total of 82.67013567
    ..
BTC sold or sent from this account, of which 81. 72072 BTC was received from outside
sources.


In the subpoena results, Coin base identifies IP address 68.200.110.179 associated with
accessing HANDSCHUMACHAER's account approximately 99 times between May 10th ,
2017 and April 30 1\ 2018.


Your Affiant observed a Discord chat conversation obtained through a search warrant.
The warrant results identify HANDSCHUMACHER;s username as "lolsmileyface." In the
information, HANDSCHUMACHER states his other chat username is Coinmission. The
results show the account was accessed using IP address 68.200.110.179
approximately 274 times between April 18, 2018 and June15, 2018. Coin base provided


                                        Page 10 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 12 of 82 Page ID
                                  #:562



this same IP address to officers. In the conversation, HANDSCHUMACHER claims he
 has six (6) figures worth of cryptocurrency.


 Later in the same conversation, HANDSCHUMACHER and another co-conspirator talk
 about compromising the CEO of Gemini and posted his name, date of birth, Skype
 username and e-mail address in the conversation. HANDSCHUMACHER and the co-
conspirator discuss compromising the CEO's Skype account and T-Mobile account. The
co-conspirator states he will call his "guy" at T-Mobile to ask about the CEO's account.


 HANDSCHUMACHER and the co-conspirator continue to discuss exchanging different
cryptocurrencies to get their portion of the fraud. They even discuss the
cryptocurrencies being "dirty" and discuss laundering over $100,000 .00 in
cryptocurrencies (See attachment C).


Records provided by Coinbase show the buying, selling, and trading of cryptocurrencies
in ways that would appear consistent with CS1 's statements.


Your Affiant drove by the residence at various dates and times during the past two
·weeks and observed vehicles registered to HANDSCHUMACHER parked at the
residence. Your Affiant drove by at early hours in the morning and noticed dew on the
vehicles indicating the vehicles were parked there overnight. Your Affiant saw
HANDSCHUMACHER at the residence during one of times he drove by the residence
and followed HANDSCHUMACHER's girlfriend from her place of employment to
HANDSCHUMACHER's residence.


Your Affiant searched the 68.200.110.179 IP address and learned it belonged to
Charter Communications which is~ division of Spectrum. Therefore, the IP address is
not associated with a cellular site and is associated with a physical location. Your Affiant
looked at the IP logs showing the 68.200.110.179 account and noticed they appeared to
be accessed before or after normal business work hours or during lunch hours. Your
Affiant searched law enforcement databases and did not locate any alternative

                                        Page 11 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 13 of 82 Page ID
                                  #:563



 addresses for HANDSCHUMACHER. Your Affiant verified The Premises is the address
 listed on HANDSCHUMACHER's Florida driver's license.


Wherefore, your Affiant makes this affidavit and prays for the issuance of a Search
Warrant according to the laws commanding all and singular the Sheriff and or Deputy
Sheriffs of Pasco County, Florida, either in the daytime or the nighttime, and on any day
of the week inc_luding Sunday and holidays, with the proper and necessary assistance,
to search the herein described premises and the curtilages thereof, and any persons
and vehicles thereon, reasonably suspected of being involved in the illegal activity
which is the subject of this warrant to include the following:


       1. Computer hardware to include any anq all computer equipment
       used to collect, analyze, create, display, convert, store, conceal, or
       transmit electronic, magnetic, optical, or similar computer impulses
       or data. Hardware includes (but is not limited to) any data-processing
       devices (such as central processing units, cellular devices, personal
       computers      to   include    "laptop"    or    "notebook"      or   "pocket"
       computers); tablets, deactivated cell phones, internal and peripheral
       storage devices (such as fixed disks, external hard disks, Floppy
       disk drives and diskettes, tape drives and tapes, optical storage
       devices, and other electronic media devices);


       2. Computer input ·and output devices to include but not limited to
       keyboards,      mice,     scanners,       printers,       monitors,   network
       communication devices, modems and external or connected devices
       used for accessing computer storage media;


       J; Computer storage media and the digital content to include but not
       limited to Floppy disks, hard drives, VHS tapes, tapes, DVD disks,
       CD-ROM disks, USB disks, external hard drives, or other magnetic,
       optical or mechanical storage which can be accessed by computers

                                        Page 12 of 17
                   ./
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 14 of 82 Page ID
                                  #:564



      to store or retrieve data, cryptocurrency wallets, personal identifying
      information, SIM card data, and documenting conversations and/or
      financial transactions;


      4. Computer software and application software installation and
      operation media;


      5. Computer software, hardware or digital contents related to the
      sharing of Internet access over wired or wireless networks allowing
      multiple persons to appear on the Internet from the same IP address;


      6. Manuals and other documents (whether digital or written) which
      describe operation of items or software seized;


      7.   Items containing     or displaying   passwords,      access   codes,
      usernames or other identifiers necessary to examine or operate
      items, software or information seized;


      8. Correspondence or other documents (whether digital or written)
      pertaining to Bitcoin; cryptocurrency; internet activity; internet
      payment; ban ing information; financial transactions; wallet IDs;
      cryptocurrency exchanges; any information related to Discord,
      Skype, Telegram, or any other chat programs; any items or files
      containing   QR codes      or barcodes;       buying   and/or selling   of
      cryptocurrencies;


      9. Items and/or documents that would tend to establish ownership or
      use of computers/electronic devices and ownership or use of any
      Internet service accounts accessed to perpetuate a fraud scheme; to
      include credit card bills, telephone bills, correspondence and other



                                    Page 13 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 15 of 82 Page ID
                                  #:565



      identification    documents   containing      addresses,   names,   phone
      numbers, dates of birth, and/or social security numbers;


      10. Items and/or documents that would tend to show dominion and
      control of the property searched, to include utility bills, telephone
      bills, correspondence, rental agreements and other identification
      documents addresses, names, and/or phone numbers;


      11. Electronic data maintained on the seized computer(s), ·electronic
      devices, or computer related storage devices such as Floppy
      diskettes, tape backups, computer printouts, and "zip" drive
      diskettes, in particular, data in the form of imag·e s and/or videos and
      any accompanying text associated with those images, and/or log
      files recording the transmission, of images as they relate to
      violations of Florida law cited herein;


      12. All electronic files and data on any computers, electronic
      devices,   cell   phones,   and   tab ets that show an        individual's
      ownership, possession and control at time of the offense;


      13. Any and all software that may be utilized to create, receive,
      distribute, store, or modify the evidence sought and all software that
      may be used to communicate or store online communications;


      14. Encrypted, deleted and unallocated files on electronic media that
      contain any of the information listed in previous paragraphs;


      15. Notations, files or documentation containing passwords or codes
      necessary to unlock computer files or to access the computer or
      storage media;



                                    Page 14 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 16 of 82 Page ID
                                  #:566



      16. Any and all equipment used to store offline (ie: "cold store")
      cryptocurrencies. These include, but are not limited to, TREZOR
      devices;


      17. Any and all cell phones, SIM cards, or other means of
      communication devices;


      18. Any and all items regarding the shipment of SIM cards, cell
      phones, and currencies in all forms;


      19. Any and all items, documents, and/or electronic data regarding
      the documenting of financial transactions, including but not limited
      to, currency, cryptocurrency, and vehicle/asset purchases;


      20. Any and all written and/or electronic documentation detailing
      currency and cryptocurrency exchanges;


      21. Any and all written or electronic documents or files containing
      decipher    keys,    encryption     keys,      passcodes,     passwords,
      passphrases, cryptocurrency wallet ID's, transaction keys, QR
      codes, barcodes, and/or transaction 1D's;


      22.   Currency in   all   forms,   including   digital   currencies;   and
      cryptocurrency;


      23. Any and all tax forms, paycheck stubs, receipts, and other items
      showing reported income to the government or the source or
      application of legitimate and illegitimate funds;


      24. Any and all written, printed, typed, or electronically stored
      conversations pertaining to the violation of Florida state statutes.

                                    Page 15 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 17 of 82 Page ID
                                  #:567




Your Affiant is aware that the recovery of data by a computer forensic analyst takes
 significant time, and much the way recovery of narcotics, must later be forensically
evaluated in a lab. Digital evidence will also undergo a similar process. For this reason,
the "return" inventory will contain a list of only the tangible items recovered from "the
 Premises". Unless otherwise ordered by the Court, the return will not include evidence
later examined by a forensic analyst.


Your Affiant knows individuals often store valuables, currency, or items that contain
specific digital private information (scanned tax returns, birth certificates, vehicle titles,
bank statements etc.) in locked containers or safes in order:: to protect them from theft.
Your Affiant requests the courts permission to force entry to any safes or locked
containers located inside the residence or on the curtilage thereof in order to recover
items in accordance with this warrant.




                                         Page 16 of 17
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 18 of 82 Page ID
                                  #:568



 WHEREFORE, Affiant makes this affidavit and prays for the issuance of a Search
 Warrant in due form of law commanding the Sheriff of Pasco County, or any of his duly
 constituted deputies, with any proper and necessary assistance, including forensic
 computer analyst .experts, to search the above described "Premises" and the curtilage
thereof, and any vehicles thereon, or persons located within the "Premises" and the
curtilage reasonably believed to be connected with said illegal activity, for the said
"Property" heretofore described, and to search said "Property" described above and to
seize and safely keep same, either in the daytime or in the nighttime, or on Sunday, as
the exigencies of the occasion may demand, in order that the evidence may be
 procured to be used in the prosecution of such person or persons who have unlawfully
used, possessed, or are using or possessing the same in violation of the laws of the
State of Florida.




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PASCO COUNTY, FL




                                     Page 17 of 17
    Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 19 of 82 Page ID
                                      #:569

    ••• Coin Mission - Ricky HANDSCHUMACHER •••
                                                                           Attachment A
    Your Telegram History in "hehe"
    Date/Time                                                  User                                Message
    16.05.2018 12:.50:21:i                                     G G [@ilvebtc]                      »created the group "hehe"«
    16.05.2018 12:50:29                                        G G [@ilvebtc]                       hi
                                                                                                                    •' ·
    16.05.201812:.S0:34.                                       CofnMisslon l@coinmission]          Hi
    16.05.2018 12:50:47                                        G G[@ilvebtc]                       89014103287424654279 sim nr
    16.05.2018 12:51:28                                        G G [@ilvebtc]                      3109713838
    16.05.2018 12:51:38                                        G G [@ ilyebtc]                     "number
    16.05 .2018 12:54:03                                       G [@goldenspeed]                    3Fcj5Uoo36i3QbnapKCKfJZqMNbEX37ZG3
    16.05.2018 12:54 :08                                       G [@goldenspeed]                    Lmk who sends 80
    16,05.2018 12:58:34                         ··- .
                                                               <;:oiQMissipn [@coin_rni~sion]      Anyone send yet?       ..                                     . .J        -    ~
    16.05 .2018 12:58:44                                       G G [@ilvebtc]                      yes
    16.05.2018 12:58:46                                        G G.[@ilvebtc]                      i did
    16.05.2018 12:59:56                                        c;:oin Mission [@coinmission]       Kk I was gonna send 1Nand sure
    16.05.2018 13:00:01                                        G [@goldenspeed]                    Ricky
    16.05.2018 13:00:05                                        G [@goldenspeed]                    How much                    \
    16.05 .2018 13:00:08                                       G [@goldenspeed]                    Was your house       ....... \


                                                                                                                                      '
    16 .Q.\l.201813:Q0:l.9                                     c;:oinJ\llission [@coinmission]     ·1bollght property .
    16.05.2018 13:00:21                                        Coin Mission [@)coinmission]         First                 /
    16.05,.201$ 13:00:23'                                      Coin Mission [@coimnissfon]         Then ~he house\ ,'-
    16.05 .2018 13:00 :27                                      G [@goldenspeed]                    Ah            /'
    16.05.2018 13:00:31                                        GG [@ilvebtc]                       · how did u buy it w ith stolen btc (
    16.05,201813:Q0:3~ ·..
                                   '                           .Goill M isSion [@coin,misslonJ \ Cash           ..                  \ .,......        ..
    16.05 .2018 13:00:38                                        G G [@ilvebtc ]                  wtf
    16.05.•2018 '13:00:38                                       Coin·Mission [@c oinmission) Cashier check~ \
    16.QS.2018 13:0Q:45                              ..       1,CoinMission [@coinmission]         My family belps m e tQO ·.       ..
    16.05.2018 13:00:46                                         G G [@ilvebtc]                     tax niggas havent went after u yet?
    J 6.Q~ .20_l813:Q0:51              /,            .,        Coin,Mission [@coinmission)         ·Cashier ch~k               .•                            .
    16.os.201s 13:oo:s1                                        Coin Mission [@coinmission]         Loi
    16.0&.201813:Ql:o;if\     .                                Coin Missi on [@coinn'lissron]      l got the land for-sale by owner.             Paid eash
    16.05,2018 13:01,:10                         ~             .Coin Mission [@coinmission]        The house was d:One ~ith a cashier check                             .•

    16.05 .2018 13:01:18                                        G [@goldenspeed]                   Ricky
    16.05..2Q1.§ l~;Ql:20 /                     "
                                                              '"'Coin.Mission [@~oinmission]       t.lke how _jobought the car                   ..
    16.05.2018 13:01:21                                          G (@go ldenspeed]                 Do a house tour
    16.05.2018 13:01:24           .....---,..,.                  G [@goldenspeed]                  When u join back
    16.05 .2018 13:01:26                                       ~G [@goldenspeed]                   Call
                                          ,.,
                                                          I                                         1


                              '
    i G.os.201& 13:6:1.:29                                     Coin Mission [@coinmission]         1 m at work weirdo
    16.05.2018 13:02:50                                        G [@goldenspeed)                    Loi
                                    ,..
    16.0~.2018 13:03:23                                        Coin Mission [@coinmission]         You do a house tour
                                                                                                                                                                             ..
    +6.05.,Z0lS: 13:00,;2-6                                    :Coin Mission. [@:coi11rnissic>n]   ~
    16.05 .2018 13:03 :30                                      G G [@ilvebtc]                      Ill do a room tour
    16.05.2018 13:03:33                                        G G [@ilvebtcl                      My room was 15k




[
    1 6.05,201813:Q~:S0                                       .. , oin Mission [@coinmission] . I don! t got anything cgOI, lust rny .q uad and .~ide. by side-
    16.05.2018 13:03:51                                          G [@goldenspeed]               Damn
    ~(;i.0S,201S: 13:05;06                                     Coin Mission [@coin mission]        ldc about Jeweiry and clothes                      •·

    16.05.2018 13:05:14                                        G [@goldenspeed]                    Loi
    :l:6.0S.201813:07:08                                       Coin Misslo'n [@coinmission)        Loi I got two pairs of yeezys that's about it®
    16.05 .2018 13:09:01                                       G [@goldenspeed]                    Loi
    16.05.2018 13:09:14                                        G [@goldenspeed]                    Hope we hit 3mil +
    16.05 .201813:12:22                                        G G [@ilvebtc]                      msg when its active
    16.05 .201813:12:24                                        G G [@ilvebtc]                      im eating
    16.05.2018 13:19:13                                        G [@goldenspeed]                    Bet
    16.05.201& 13:19:15                                        G G [@ilvebtc]                      what is plug doing
    16.05 .2018 13:19:20                                       G [@goldenspeed]                    ldk
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 20 of 82 Page ID
                                  #:570


16.05.2018.13:19:31                              G.G [@ilvebtc]                     fingering his ass at work b.ro hes taking his time
16.05 .2018 13:19:35                             G [@goldenspeed}                   Loi
16.05.2018 13:30:23                              G G [@ilvebtc}                     bruh
16.05.2018 13:30:35                              K K [@woahk]                       Yeah
16.05.2018 13:30:45                              G G [@ilvebtc]                     hes taking so loqg
16.05.2018 13:30:59                              K K [@woahk}                       lkr lol
16.05.2018 13:31:05                              G [@goldenspeed]                   Loi he be like this sometimes
16.05.2018 13:31:06                              G [@goldenspeed]                   Loi
16.05.2018 13:31:23                              G G[@ilvebtc]                      message him and tell him hurry •up or hes getting clapped
16.05.2018 13:31:52                              K K [@woahk]                       Bet when I'm shopping at Gucci he activates lmfao
16.05.2018 13:31:59                              G [@goldenspeed]                   Loi
16.05.2018 13:38:15                              G [@goldenspeed]                   It's activated
16.05.2018 13:38:32                              K K [@woahk]                       It's is?
16.05.2018 13:38:33                              K K [@woahk]                       Kk
                                                                                    Yes                       ,,.\

                                                                                                        -
16.05.2018 13:38:44                              G [@goldenspeed]
16.05.2018 13:38:58                              COin Mission [@coinmissionJ Zogogogogog
16,85.20181$;38.59                               Cpin Mission [@®inmission,) GOGO
                                                                                                     "'·    '-.\
16.05.2018 13:39:43
16.05.2018 13:39:45
16.05.2018 13:40:07.
16.05.2018 13:40:20
                                                 K K [@woahk}
                                                 K K [@woahk}
                                                 G G [@ilvebtc]
                                                 K K [@woahk}
                                                                              No serviee
                                                                              Restarting
                                                                            · svc?
                                                                              Wait ls
                                                                                         \

                                                                                                              -""i,


                                                                                                                       _....
                                                                                                                               \
16.05.2018 13:40:25                              G G [@ilvebtc]                \
                                                                              are u home                  ~                    I,_

16.05.2018 13:40:35                              K K [@woahk]            ~
                                                                                    No                                               \
16.05.2018 13:41:20
16.05.2018 13:41:23
                                                 G G [@ilvebtc]
                                                 G G [@ilvebtc]
                                                                                    bruh u need to get home \
                                                                                    so i can get code quickly__.
                                                                                                                       '
16.0.5.2018 13:41:34                             .Coin Mission I@coinmissionJ       LOL
16.05.2018 13:41:43                               GG[@ilvebtc]                      :/
16.05.2018 13:41:58                 <
                                 "',,3
                                                  K K [@woahk}                      Did u deactivate the verizon voku?
16.05 .2018 13:42:06                             G [@goldenspeed]                   Forgot to lol
16.05 .2018 13:42:12     \                 ,.    G G [@ilvebtc]
                                                                               ~
                                                                                    NIGGA
                             ...,
16.05.2018 13:42:13                              G G [@ilvebtc]                     HOLYS HIT
16.05.2018 13:42:15                              K K [@woahk]                       Are you fucking serious
16.05.2018 13:42:16                              K K [@woahk]                       Dude
16.05.2018 13:42:22                              G G [@ilvebtc]                     joel go home rn
16.05.2018 13:42:24                              G G [@ilvebtc]                     and get another phone
16.05.2018 13:42:25                              G G [@ilvebtc]                     please
16.05.2018 13:42:28      L                       K K [@woahk]                   DUDE I CANT
16.05.2018 13:42:34          -.,,                G [@goldenspeed]               0mg
16.05.2018 13:42:36                              G [@goldenspeed]               Jo
16.05.2018 13:42:40                              G [@goldenspeed]               Send me your irnei
                                                                                                                                                  -
J6.~ ,.29is 13:A2:44     -                       Coin Mission _f@coinmi$sion} · Wtf         :                                                         '•

16.05.2018 13:42:49                              Coin Mission [@coinmission] Is goin on
16.05.2018 13:43:06                              G G [@ilvebt¢]                 why cant u get home ·
16.05.2018 13:43:12                              G G [@ilvebtc]                 if he changes his shit be of this im ognna be so mad
16.05.201813:43:37                               K K [@woahk]                  3.58536E+l4
16.05.2018 13:43:39                              K K [@woahk]                   Check the imw
16.05.2018 13:43:40                              K K [@woahk]                       lmei
16.05.2018 13:43:43                              G [@goldenspeed]                   Ok
16.05.2018 13:43:43                              K K [@woahk]                       If it's blacklisted
16.05.2018 13:43:53                              Coin Mission [@coinmission]        H9LY SHIT                  .   .                     ,.
                                         - --
16.0S.2(118 13:lf3:S!I                           Corn Mission [@coinmissfonj        So phone is fucked and Si!Tl is changed
:t.6.0~.20181.3.44:QO        .                  · Coin f).11~sion J@coinmissi<:ml   Rip                                                  '
                                                                                                                                              '
16.05.2018 13:44:27                               G G [@ilvebtc]                    im getting billy
16.05.2018 13:44:33                              G [@goldenspeed]                   Just checked
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 21 of 82 Page ID
                                  #:571


 16.05.2018 13:44:35                       K K [@woahk]                [[Photo]]
 16.05 .2018 13:44:37                      G [@goldenspeed]            lmei is good
 16.05.2018 13:44:45                       K K [@woahk]                Why no service?
 16.05 .2018 13:44:57                      G G [@ilvebtc)              ask the rep voku
 16.05.2018 13:45:08                       G [@goldenspeed]            Ye asking rn
 16.05.2018 13:45:41                       K K [@woahk]                Serial# 89014103287424654279
 16.05.2018 13:45:45                       K K [@woahk)                Is that correct?
 16.05.2018 13:45:57                       G [@goldenspeed]            My plug is checking rn
 16.05.2018 13:46:13                       K K [@woahk)                It's either the phone has no service like no paid bill
 16.05.2018 13:46:21                       K K [@woahk]                Or Verizon fucked it up
 16.05.2018 13:46:30                       G [@goldenspeed]            Doubt it
 16.05.2018 13:46:44                       K K [@woahk)                Once Verizon blacklists it it's fucked
 16.05.2018 13:46:53                       G [@goldenspeed]            Tru
 16.05.2018 13:46:54                       K K [@woahk)                That's why it's very Important to deactivate it
 16.05.2018 13:46:58                       K K [@woahk]                Go deactivate it
 16.05.201_8 13:46:59
 16.05.2018 13:47:00
                                           G G [@ilvebtc]
                                           G [@goldenspeed]
                                                                       how long till youre home
                                                                       Damn                                 ./
                                                                                                              -
 16.05.2018 13:47:03                       K K [@woahk]                3pm                              ,.,
 16.05 .2018 13:47:05                      G [@goldenspeed]            I can't rn
 16.05.2018 13:47:10                       G [@goldenspeed]             Family around,_
 16.05.2018 13:47:13                       K K [@woahk]                 Who can call verizneeds n
 16.05 .2018 13:47:15                      G [@goldenspeed]             Bruh holy
 16.05.2018 13:47:15                       K K [@woahk)                Verizon                     ... 'V"\. \
 16.05.201813:47:17
 16.05.2018 13:47:20
                                           G ~ [@i lvebtc]
                                           K K [@woahk)      \
                                                               ).'      im getting billy
                                                                                              \.

                                                                       All u need to do is deactivate it
                                                                                                              C




 16.05.2018 13:47:41                       KK[@woahk]                  What did the plug say
 16.05.2018 13:47:51                       G [@goldenspeed]             Nothing yet         ~
 16.05.20H3 13 :48:08                      G G [@ilvebtc]               billys send.ing anothe_r
 16.05.2018 13:48:15                       G [@goldenspeed]<            Bet
 16.05.2018 13:48:42                    \ G [@goldenspeed]              Ok
                                                                  \
 16.05.2018 13:48:49                \      K K [@woahk)            !    Ok use billy
 16.05 .2018 13:48:50                      G [@goldenspeed]    ./       My guy made an error and just said he fixed it
 1G.05 .io18 13:48:53                   ,,.G G [@ilvebtc]               ill still split w you      •.


 16.05.201813:48:54                        G G [@ilvebtc)              joel
 16.05.2018 13:48:54    ./                 KK[@ 1woahk]                Ok
 16.05.2018 13:48:55         r,,           G [@goldenspeed]             Restart phone
                             ,_,.
 16.05.2018 13:48:56                       G G [@ilvebtc)               holy shit
 16.05 .2018 13:48:57   \.                 K K [@woahk]                I'm checking
 16.05.2018 13:48:57                       G G [@ilvebtc]              dude
 16.05.201813:49:17                        G [@goldenspeed]            Bet
16.05.2018 13:49:25                        G G [@ilvebtc)              tell him to get his brairi checked                       ..

 16.05 .2018 13:49:37                      K K [@woahk)                Did he update yet lol
 16.05.2018 13:49:37                     · G G [@ilvebtc) _            joel can u get in disc
 16.05.201813:49:41                        K K [@woahk)                No service yet
 16.05.2018 13:49:48                       K K [@woahk]                Not rn I'm with cousin
 16.05 .201813:50:47                       K K [@woahk)                Restarting phone
.16.05 .2018 13:50:57                      G [@goldens·peed]           Smfh
 16.05 .2018 13:50:59                         G [@goldenspeed]         Bruh
 16.05.2018 13:51:01                          G [@goldenspeed]         Jo
16.05.2018 13:51:06                           K K [@woahk)             Ye
16.05.2018 13:51:09                           G [@goldenspeed]         The sim u first sent me
16.05.2018 13:51:15                           G [@goldenspeed]         Was one digit short
16.05 .2018 13:51 :20                         G [@goldenspeed)         Smfh
16.05.2018 13:51:21                           G [@goldenspeed]         Loi
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 22 of 82 Page ID
                                  #:572


 16.05.2018 13:51:22                      · G G [@ilvebtc]                     is it active                                      ·,

 16.05.2018 13:51:24                        K K [@woahk)                       Really
 16.05.2018 13:51:31                        K K [@woahk]                       Look. at picture
 16.05.2018 13:51:31                        G [@goldenspeed]                   He's re doing it rn
 16.05.201813:51:33                         K K [@woahk]                       [[Photo]]
 16.05.2018 13:51:34                       G [@goldenspeed]                    Yea
 16.05.2018 13:51:35                       G G [@ilvebtc]                      Joel u left ur helmet at home
 16.05.2018 13:51:35                       K K [@woahk]                        Occidente
 16.05.2018 13:51:38                       KK [@woahk]                         Occidente
 16.05 .2018 13:51:41                      K K [@woahk]                        iccid*
 16.05 .2018 13:51 :51                     G [@goldenspeed]                    He's doing it rn
 16.05.2018 13:52:05                       K K [@woahk]                        8.90141E+l9
 16.05.2018 13:52:15                       K K [@woahk]                        Someone confirm it's the same
 16.05.201813:52:17                        K K [@woahk]                        Look at pie
 16.05.2018 13:52:33                       G [@goldenspeed]                    Yea                             \
 16.05.2018 13:52:35                       G G [@ilvebtc]                      yes                    ~




 16.05.2018 13:52:36                       G G [@ilvebtc]                      it is                                /
 16.05.2018 13:52:38                       K K [@woahk]                        Ok good                t:,      \/
 16.05.2018 13:52:42                       G [@goldenspeed]                    No                 \       f'

 16.05.2018 13:52 :46                      K K [@woahk]                        What?
 16.05.2018 13:52:52                       G [@goldenspeed]            ..,.    Never said it's active yet
 16.05.2018 13:53:05                       K K [@woahk]            \           [(Photo)]
 16.05.2018 13:53:42                       K K [@woahk]                \       This is confusing af          "\   '\
 16.05.201813:53:45                        K K [@woahk]                        What did I send u Conor
 16.05.2018 13:53:50                       K K [@woahk]                        I'm pretty sure I sent u the same one
_1 6.05.2018 13:53:56                      G G [@ilvebtc]                      8.90141E+l9
 i6.05.2018 13:54:01                       GG [@ilvebtc]                       8.901416t 19
 1_6.05 ,2018 B:54:06                      G G [@ilvebt~]                      u sent me the right one
 16.05.2018 13:54:08                       K K [@woahk]        <       \       Oh
 16.05 .2018 13:54:10    •        -        K K [@woahk]                    \   Then wtf?!
 16.05 .2018 13:5it!10   '\..,.   )        G [@goldenspeed]                J   The first one
 16.05.2018 13:54:17                       G [@goldenspeed)                    U sent
 16.05.2018 13:54:19                       G [@goldenspeed]                    Was this
 16.05.2018 13:54:20                                                           8.90141E+ 17
 16.05.201813:54:28
 16.05.2018 13:54:29
                                      '    G [@goldenspeed]
                                           K K [@woahk]
                                           K K [@woahk)
                                                                               Damn
                                                                               Wtf
16.05.2018 13:54:38                        G G [@ilvebtc]                      8.90141E+19
16.05:2018 13:54:40      \. /              G G [@ilvebtc]                      where
                             -
16.05.2018 13:54:44                        K K [@woahk]                        Wait what
16.05:201813:54:45 ·                       G G [@ilvebtc]                      dude i sent it in the gc along wt he number
16.05 .2018 p :54:47                       G G [@ilvebtc]                      how did u use that
16.05.2018 13:54:47                        K K [@woahk]                        Look at chat history
 i6.0S ..201813:54:49                      G G [@ilvebtc)                      89014103287424654279 is what i sent
16.05.2018 13:54:53                        K K [@woahk]                        I\

16.05.2018 13:54:56                        K K [@woahk]                        Thanks Connor
16.05.2018 13:55:00                        K K [@woahk]                        I'm not blind thank god
16.05.2018 13:55:01                        K K [@woahk]                        Loi
16.05.2018 13:55:07                        G [@goldenspeed]                    Loi
16.05.2018 13:55:09                        G [@goldenspeed]                    Sec
16.05.2018 13:55,16                        G G [@ilvebtc)                      just tell him to hurry up or his family is dead
16.05 .2018 13:55:22                       K K [@woahk]                        Stop lolol
i6.05 .2018 13:55:22                       G G [@ilvebtc]                      he prob already realized he has no svc
16.05.2018 13:55:24                        K K [@woahk)                        @@@@
16.05.2018 13:55:45                        K K [@woahk]                        Lmk when it's active lol
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 23 of 82 Page ID
                                  #:573


16.05.2018 13 :55 :51                        G [@goldenspeed]                             Ye
16.05.2018 13:55:55                          K K [@woahk]                                 If it no service just use billy lol
16.05.2018 13:56:02                          G [@goldenspeed]                             Yea
16.05.2018 13:56:08                          G [@goldenspeed]                             Ffs
16.05.2018 13:57:04                          G [@goldenspeed]                             Wait_
16.05.2018 13:57:10                          G [@goldenspeed]                             ldk what he's going
16.05 .2018 13:57:12                         G [@goldenspeed]                             Doing
16.05.2018 13:57:14                          G [@goldenspeed]                             But check
16.05.201813 :57:17                          G G [@ilvebtc]                               oh my god
16.05.2018 13 :57:19                         G (@goldenspeed]                             If u got service
16.05.2018 13 :57:20                         K K [@woahk]                                 He better not be finessing us
16.05 .2018 13:57:21                         K K [@woahk]                                 Loi
16.05.2018 13:57:40                          G G [@ilvebtc]                               restart it joel
16.05 .2018 13:57:52                         K K [@woahk]                                 I am rn
16.05 .2018 13:58:19                         G [@goldenspeed]                             Ok he just told me              /
16.05.2018 13:58:22                          G [@goldenspeed]                             He activated                        \


                                                                                                                      '
16.05.2018 13:58:28                            K K [@woahk]                                Service
16.05 .2018 13:58:29                           K K [@woahk]                               :D                \   r:,
16.05.2018 13:58:30                          . G G [@ ilvebtc]                            finally                _.,,.,-,..,,
16.05 .2018 13:58:31                           K K [@woahk]                               Start sending
16.05 .2018 13:58:32                           G [@goldenspeed]                           Bet                                       /
16.05 .2018 13:58:33                         G G [@ilvebtc]                          \.   hol shit
16.05 .2018 13:58:34                         G G [@ilvebtc]        ("                     reset seth@sethsbapiro.com                        '\
                                                                                                                                        /
16.05 .2018 13:58:36                         G G [@ilvebtc]                               reset seth@sethshapiro.com
16.05.2018 13:58:38                          G [@goldenspeed]                             Discord
16.05.2018 13:58:40                          G G [@ilvebtc]                               usual pw      .,;,
16.05 .2018 13:58:46                         K K [@woahk]                                 Kk
16.05 .2018 13:58:51          <              G G [@ilvebtc]             -       ,[        he acnt get on disc hes out
16.05.2018 13:58:56                          G G [@ilvebtc]        <        \    1        ill send here if i find anything
16.05.2018 14:00:06       •             -    K K [@woahk]          \'            \        Phone number
16.05.2018 14:00:11       \.            )    K K [@woahk]                        )        What's the number
                               V"
16.05 .2018 14:00:15                         G [@goldenspeed]           /                 3109713838
16,QS.2018 14:00:16,.          -             G G [@ilvebtc]                               3109713838
16.05.2018 14:00:22                          G [@goldenspeed]                             What's the authy code


                                        ''
16.05.2018 14:00:23                          K K [@woahk]                                 Code 430345
16.05 .2018 14:01:00           r,,           G G [@ilvebtc]                               is pw reset
16.05.201814:01:21
                               .... I        Coin Mission [@coinmission)                  What's on authy Voku
16.05.2018 14:01 :23                /        K K [@woahk]                                 Yes
16.05.2018 14:01 :30                         G G [@ilvebtc]                               code
16.05.2018 14:01 :38                         G [@goldenspeed]                             [[Photo]]
16.05.2018 14:01 :39                         K K [@woahk)                                 251751
16.05.2018 14:01:44 ---        ..            Coin Mission [@coirimission]                 That's it?                          ... . ,                 ~




16.05.2018 14:01:49                          G [@goldenspeed]                             Yes
                                                                                                                                                      ·.,,
1G,1,1s.20is .J.4:01:io       ·-             Coin Mission [@coir:im issicm]               What's tfle uphold          '
16.05.2018 14:01:58                          G [@goldenspeed]                             Exchange
16.05.2018 14:02:09                          G [@goldenspeed]                             It's super easy to take money out of
16.05.2018 14:02:44                          G G [@ilvebtc]                               code
16.05.2018 14:02:56                          G G [@ilve,btc]                              nvm
16.05.2018 14:02:58                          GG [@ilvebtc]     -                          dont need 1
16.05 .2018 14:02:59                         K K [@woahk]                                 Kk
16.05.2018 14:07:02                          Coin Mission [@coinmission]                  Leggo
16.05.2018 14:07:14                          G [@goldenspeed]                             Discord
1~.Qs.io,1.s 14:07:~_o                       <;oin Missign l@coiri:missi9n]               Wh.a t
                                                                                                                                                 ,_


16.05 .2018 14:07:42                         G [@goldenspeed]                             Conor join call
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 24 of 82 Page ID
                                  #:574


16.05.2018 14:10:24                         G G [@ilvebtc]                     . reset sethrshapiro@gmaii.com                        '
16.05.2018 14:10:39                         K K [@woahk]                         Kk
16.05.2018 14:10:52                         G G [@ilvebtc]                       restoring domain email
16.05.2018 14:11:05                         G G (@ilvebtc]                       code
16.05.2018 14:11:13                         K K (@woahk]                       805157
16.05 .2018 14:12:04                        K K [@woahk]                        ~
16.05 .2018 14:12:12                        K K [@woahk]                        Pass updated
16.05 .2018 14:13:30                        G G [@ilvebtc)                     -ty
16.05.2018 14:18:50                         G G [@ilvebtc)                      57 COINS
16.05 .2018 14:18:53                        G G [@ilvebtc]                      in bittrex·
16.05.2018 14:18:55                         G G [@ilvebtc]                      trying to stay cairn
16.05.2018 14:18:56                         G G [@ ilvebtc]                     rn
16.05.2018 14:19:05                         K K [@woahk)                        kk
16.05 .2018 14:19:07                        G [@goldenspeed)                    HOLY



                                                                                                     -
16.05:2018 14:19:10                         G G [@ilvebtc]                      cant join discord
16.05..2018 14:19:11                        G G [@ilvebtc]                       or anything
16.05.2018 14:19:13                         G G [@ilvebtc]                       dnt spam this pis
16.05.2018 14:19:15                         G [@goldenspeed]                     your in it
16.05.2018 14:19:20
16.05 .2018 14:19:59
                                            G G [@i lvebtc]
                                            G [@goldenspeed]
                                                                                 yes
                                                                               IJLES GODO
                                                                                                       .,,.--
16.05 .2018 14:20:16
16.05 .2018 14:20:19
                                            K K [@woahk]
                                            K K [@woahk)
                                                                                [[Photo]]
                                                                               :D
                                                                                                 '                   I



16.05.2018 14:20:25                         G [@goldenspeed]                    That's 513k                          \

                                                                                               '
16.05.2018 14:20:49                         G [@goldenspeed]                    Divided by j                        ./
16.05.2018 14:20:53                         G [@goldenspeed]                    128k
16.05.2018 14:21:03                         G G [@ilvebtc]                      withdrawal submitted
16.05.2018 14:21:05                         G G [@ilvebtc]                      for 27 btc
16.0$ .2018 14:21:07             <'~        G G [@ilvebtc]            <         extracting the rest rn .
16.05 .2018 14:21 :14           ~             GJ @goldenspeed]                  Bet
16.0$.201.$ 14:2'4:26                     ~ ' Coin Mission [@coinmissi'&n1      Ayyy                                     '"

16.05.2018, 14:26;02                 ),      Coin_M jssion L@foinmissi9n]      Nobody is inthe caUlpl        ~                . •.

16.05.2018 14:.26:10                         G [@goldenspeed]                  Loi
16.05.2018 14:26:21/                         G [@goldenspeed]                  Co nor said he can't join rn or sum
16.05.2018 14:27:19

                            ~""'
                                             Coin Mission [@coinmission]         How muchdo we gotnow 27btc?
'1:6.0$.201$14:27:28 ·                       Coin Mission [@coinmissloh]        Or58            •·



 J..fi.05.2018 14:27:29                    , Coin l'y'ljssion [@coinmissiop]   _57                   -~ .. .    ,




 16.05.2018 14:27:31                         G [@goldenspeed]                   57
 16.05 .2018 14:27:38       \                G [@goldenspeed]                   That's 513k
 16.05 .2018 14:27:41                        G G [@ilvebtc)                     got the 27 coins
 16.05 .2018 14:27:47                        G [@goldenspeed]                    Divided by 4
 16.05.2018 14:27:54                         G [@goldenspeed]                   Is 128k
 16.05.2018 14:27:56                         G [@goldenspeed]                   Split
 16.05.2018 14:28:26                         G [@goldenspeed]                   14.25coins each
 16.05.201814:28:31                          Coin Mission [@coinmission]        Nice
 16.05.2018 14:28:36                         G [@goldenspeed]                   Ye boi
).6.05.2018 14:28:39                        Coin Mission [@coinmission]        Gonna donthe 0th.er tlalf now also.
;16.0S..201$14:28':53 . .                 . Coin Mission [@coinmissionJ        I-le probably has way more in other places. He has eth
16.05.2018 14:28:59                         G [@goldenspeed]                   Yea true
                                      ~
16.05.2018 14:34:31                         Coin Mission [@coinmission]        Check like kraken and shit
16.0S.,201814:34:34 ·           .           CoinMissron [@toinmissionl         Other exchnGes                                            ·'

16.05.2018 14:34:42                         G G [@ilvebtc]                     iam
                                ..
16 .05:2018 14:4S:18                        Coin Mission [@c:oinmission]       Cool. Any luck
16.05)018 14:45:51                          G G [@ilvebtc]                     still working
16.05.2018 14:45:56 ·                       G G [@ilvebtc]                     have a lot of shit to do
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 25 of 82 Page ID
                                  #:575


16.05.201814:46:13                          Coin Mission [@coinmission] Did you request the other 27 already
16.05 .2018 14:46:25                        G G [@ilvebtc]                  not yet
16.05.2018 14:46:29                         G G [@ilvebtc]                  had to make a new jaxx
16.0$,201814:4~40                           Coin Mission [@Coin!TlisSiM] Could'of used block chain                  .'                       ,..
16.05,201814:46;40                          Coin Mission [@coinmission] .· Loi
16.05 .2018 14:49:06                        G G [@ilvebtc]                  dude
16.05.2018 14:49:12                         G G [@ilvebt!_:]                theres like JO diff_coins in his exchange .
16.05.2018 14:49:14                         G G [@ilvebtc]                  that make u the S00k
16.os.io1s 14:49:15                         G G [@ilvebtc]                  up
16.05.2018 14:49:41                         Coin Mission [@coinmission] Oh I thought it w~s btc
16.05 .2018 14:49:41                        G [@goldenspeed]                Damn
16.05.2018 14:49:45                         Coin Mission [@coinmission] My bad~
16.05.2018 '15:00:29                        G G [@ilvebtc]                  code
16.05.2018 15:00:29                         G G[@ilvebtc]                   code
16.os:201s 1s:oo:29                         G G [@ilvebtc]                  code
16.05.20:).8 15:00:30                       G G [@ilvebtc]                  code
16.05.2018 15:00:30                         G G [@ilvebtc]                  code
                                                                                                              "
16.05 .2018 15:00:42                        K K [@woahk]                   780106                ~          ✓


16.05 .2018 15:02:46                        K K [@woahk]                    Yo
16.05.2018 15:02:52                         K K [@woahk]                    Sorry if I missed anything
16.05.2018 15:02:54                         K K [@woahk]            ...     I tried lol
16.05 .2018 15:03 :04                       G [@goldenspeed]     \.         Loi                                 \,,
16.05 .2018 15:03:14                        G [@goldenspeed]        \       Can't  wait to see 128k+      "'\
16.05.2018 15:03:14
16.QS,201815:05:20
                                            G [@goldenspeed]
                                            Coin Mission [@q:,inmission]
                                                                          lrln me wallet

                                                                                               ...
                                                                                  GETHl M T!:IE COPE
                                                                                                         ,,,
                                                                                                           ~
                                                                                                                   ""'
16.0S.201815:05:21                          Corn Mission [@coinmissioh]           LMAO
16.05 .2018 15:11:14                        G [@goldenspeed]                  ~
                                                                                   Loi
16.05 .2018 15:11:17
                                   ~
                                     <      G [@goldenspeed]        <              Myatt guy
16.05 .2018 15:11:21                        G [@goldenspeed]                      Is a supervisor
16.05.2018 15:11:24          l              G [@goldenspeed]              \       LOLOLL
16.05.2018 15:11:32              '\         G [@goldenspeed]              J       he ain't ever getting fired
                                      'L
16.05 .2018 15:11:34                        G [@goldenspeed]       .,/            Yeeee boi
16.05.2018 15:11:39                         G G [@ilvebtc]                        have 350k so far
16.05.2018 15:11:44                         G [@goldenspeed]                      Ok bet
16.05.2018 15:11:46
                                 .,,.....   G [@goldenspeed]                      YOK
16.05.2018 15:11:49                         G [@goldenspeed]                      SO FYCJING
16.05.2018 15:11:51                         G [@goldenspeed)                      HAPPY
16.05.2018 15:11:55                         G [@goldenspeed]                      love u Coner
16.05.2018 15:12:04                         G [@goldenspeed]                      U too Ricky
16.05.2018 15:12:08                         G [@goldenspeed]                      Andjo
16.05.2018 15:12:10                         G G [@ilvebtc]                        nobody uses u as plug exacept us
16.05.2018 15:12:11                         G G [@ilvebtc]                        in the future
16.05.2018 15:12:17                         G [@goldenspeed]                      Bet
16.05.2018 15:12:21                         G [@goldenspeed]                      I' m cutting off everyone
16.05.2018 15:12:24                         G [@goldenspeed]                      On god
16.0S.201815:12:32                          Coln Mission [@coinmission]           i told you this awhile ag'o man . .
16.05.2018 15:12:40                         G [@goldenspeed]                      Bet
16.05 .2018 15:14:54                        K K [@woahk]                          :D
f;16,05,, i018 :1:5:15:-06                  Coin Mission [@cointniss(0n]          We were. dryfor a-vyhilebut lately s:l'lits poppiri'haha
16.05.2018 15:15:12                         G [@goldenspeed]                      Fax
16.05.2018 15:15:19                         K K [@woahk]                          What's in a iCloud
16.05.2018 15:17:43                         Cofn Mission [@coinmission]           -ls it in btc yet? Did, you take the Spk
16.05.2018 15:18:33                         K K [@woahk]                           Coming Home soon iight
16.05.2018 15:22:40                         K K [@woahk]                          Add me to call
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 26 of 82 Page ID
                                  #:576


l'~.05.2018.15,32~33 .··                     · Coin Mission f@coihml~ion}       Add me.to ·call to
lq,-05.2018 15:33:49                          Coin Missio_n [@coinmis.sionl     Any update on t11is
16.05.201815:34:34                          · Coin Mission [@coinmissionJ       Is there a call lol
16.05.2018 15:39:16                           K K [@woahk]                      He's trying to get number back
16.05.2018 15:39:19                          K K [@woahk]                       I'm getting txt messages
16.05.2018 15:39:35                          G G [@ilvebtc]                     ite
16.05.2018 15:39:37                          G G [@ilvebtcJ                    im moving fast
16.05.2018 15:40:16                          K K [@woahk]                      He got it back
16.05.2018 15:40:27                          G G [@ilvebtc]                    the number?
16.05.2018 15 :40:31                         K K [@woahk]                      Yes
16.05 .2018 15:41:37                         K K [@woahk]                      Nvm got service still
16.05.2018 15:41:43                          G G [@ilvebtc]                    LOL
16:os.2018 15:41:46                          G G [@ilvebtc]                    scaring me
16.05.2018 15:41:49                          K K [@woahk]                      But I did get a text message
16.05.2018 15:41:53                          K K [@woahk]                      He's calling
16.05.2018 15:42:11                          K K [@woahk]                      [[Photo]]
16:05.2018 15:43:39                          Coin Mission [@coinmission]       LOL          /
16.05.2018 15:43:53                          G G [@ilvebtc]                    uh oh                            '   \/"
                                                                                                                          .

16.05.2018 15:44:47                          K K [@woahk]                      No more Lte uh oh
16.05.2018 15:44:53                          G [@goldenspeed]                  Loi                                    ~




16:Q5;2Q18 li:44:57                          Coin M ission [@coinmission] ,J   Noooo-...._   / ··
16.05.2018 15:44:58                          G [@goldenspeed]                  Want my guy to swap it back
16.05.2018 15:45:00                          G [@goldenspeedJ          \.      ?
16.05.2018 15:45:05                          K K [@woahk]           >          Or just
                                                                                                       ,.....
                                                                                                                \
                                                                                                                .)
16.05.2018 15:45:08                          K K [@woahk]          \           Fucking block"it
16.05.2018 15:45:08                          K K [@woahk]                       Loi
1§,Q5,2.Q1815:45:10                          Coin Mission [@coinrnissjonL Conor g'et the money out ofbittrex
16.05.2018 15:45:13             ., '         K K [@woahk]                 Make him go to the star
16.05.2018 15:45:14                          KK[@woahk]                   Store
19.,05.2918 J,5:45{14 ..                     Coin Mission t@coin,mission)      The rest of it
16.05.2018 15:45:28              }           G [@goldenspeed]                  Jo
                           \/
16.05.2018 15:45:30                          G [@goldenspeed]     /            Send another sim
16.05.2018 15:45:31                          G [@goldenspeed]                  Fast
16.05.2018 15:45:34                          KK[@woahk]                        Fuck kkk
16.05.2018 15:45:36      ~ .......           KK[@woahk]                        Not home xD
16.05.2018 15:45:39        r...              G [@goldenspeed]                  Smh
                            ._,.
16.05.2018 15:45:47                          G [@goldenspeed]                  I'll have him cancel
16.05 .2018 15:45:48     \. , /              K K [@woahk]                      Just tell ur plug
                            ~


16.05 .2018 15:45:50                         K K [@woahk]                      Describe
16.05 .2018 15:45:51                         K K [@woahk]                      Yes
16.05 .2018 15:45:54                         K K [@woahk]                      Deactivate
16.05 .2018 15:46:00                         G G [@ilvebtc]                     no            ..
16.05.2018 15:46:01                          G G [@ilvebtc]                     d
16.05.2018 15:46:01 .                        G G [@ilvebtc]                     no
16.QS.2018 15:46:02                          G G [@ilvebtc]                     no
16.05.2018 15:46:02                          G G [@ilvebtc]                     no
16.05.20_18 ~5:46:02                         G G [@ilvebtc]                     no
16.05.2018 15:46:04                          G G [@ilvebtc]                     not yet
16.05.2018 15:46:06                          GG [@ilvebtc]                    . i just found the rest of his auth shit
16.05.2018 15:46:06                          K K [@woahk]                      ???
16.05.2018 15:46:09                          K K [@woahk]                      Oh
16.05.2018 15:46:14                          G [@goldenspeed]                  Oh
16.05.2018 15:46:14                    ..    GG [@ilvebtc]                     dont cancel it
16.05.2018 15:46:16                          K K [@woahk)                      Dude we gotta be quick lol
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 27 of 82 Page ID
                                  #:577


 16.05.2018 15:46:18                                  G G [@ilvebtc]                      im about to hit binance
 16.05 .2018 15:46:19                                 G G [@ilvebtc]                      and kucoin
 16.05.2018 15:46:22                                  G [@goldenspeed]                    Want me to take off his
 16.05.2018 15:46:22                                . Coin Mission [@coinmission]         Gogo
 16.05.2018 15:46:24                                  G [@goldenspeed]                    Sim
 16.05.2018 15:46:28                                  G [@goldenspeed]                    Off the line
·16.05.2018 15:46:31                                 Coin Mission [@coinmission]          Can he revert back to jo
 16.().5.20),8.15;46:3~.   '   -              ,..    Coin Misslon [@coinmissiqn]          ?? .
 16.05 .2018 15:46:36                                G [@goldenspeed]                     So he loses service
 16.05 .2018 15:46:37                                K K [@woahk]                         I have no service
 16.05 .2018 15:46:38                                G [@goldenspeed]                     I'll see
 16.05 .2018 15:46:41                                K K [@woahk]                         It's confirmed
 16.05 .2018 15:47:33                               . G [@goldenspeed]                    Ok told my guy
 16.05.2018 15:47:35                                 · G [@goldenspeed]                   To take off
 16.05.2018 15:47:36                                 G [@goldenspeed]                     Sim                        _.,.F\

 16.05.2018 15:47:41                                 G [@goldenspeed]                     On that number
 16.05 .2018 15:47:45                                K K [@woahk]                         Loi he
 16.05.2018 15:47:48                                 K K [@woahk)                         Ye
 16.05.2018 15 :47:52                                K K [@woahk)                         Change pin too
 16.05.2018 15:47:55                                 K K [@woahk)                         He's calling via support
 16.05.2018 15:47:58                                 K K [@woahk)                  /      Not in support store
 16.05 .2018 15:48:15                                G [@goldenspeed]          \          Bet
 16.05 .2018 15:48:21                                G [@goldenspeed]              \      Just told him
 16.05.2018 15:48:42                                 K K [@woahk]              >          I'll be home soon I got a bunch of Gucci hahaha
 16.05.2018 15:48:46                                 G [@goldenspeed]                     Loi
 16.05 .2018 15:48:59                                K K [@woahk]                         Bet ur gonna go tomorrow
 16.05.2018 15:49:01                                 K)< [@woahk]                         U better
 16.05 .2018 15:49:05              /'                G [@goldenspeed]                     Loi
 16.05.2018 15:49:14                                 G [@goldenspeed]                     Gonna buy some Gucci
 16.05.2018 15:49:16                      -          G [@goldenspeed]                     J:omorrow
                           '
                               \
                                   ..,. '
16.05 .2018 15:49:24                          ~      K K [@woahk)                         Buy some for ur fam too
16.05.2018 15:49:33                                  G [@goldenspeed]          /          Loi fuck no lol
16.05 .2018 15:49:35                                 G [@goldenspeed]                     Loi
16.05.2018 15:49:49                                  K K [@woahk]                         I bought my aunt a 30k Jeep
 16.05 .2018 15:49:54      r                         G [@goldenspeed]                     Damn
16.05.2018 15:49:54                    r,,           K K [@woahk)                         Bought my cousin some Gucci lol
                                       ._,.
16.05 .2018 15:50:02                                 K K [@woahk)                         Always respect ya know
16.05 .2018 15:50:09           \. /                  G [@goldenspeed]                     Fax
                                   -
16.05 .2018 15:50:22                                 K K [@woahk]                         Get ur dad some Gucci or his dream car   ll
16.05.2018 15:50:38                                  K K [@woahk]                         He's the one who got u out right lol
16.05 .2018 15 :50:45                                G [@goldenspeed]                     Loi
16.05.2018 15:50:47                                  G [@goldenspeed]                     Tru
16.0!),~01815:5.4:27                                 C::oin Mission [@i:;oin111issiq;n]   Conor what was up with K4coin and binance            '




16.05.2018 15:55:55                                  G G [@ilvebtc]                       Dear Valued Customer, W ireless service for the mobile
16.05.2018 15:55:55                                  G G [@ilvebtc]                       holy shit
16.05.2018 15:55:57                                  G G [@ilvebtc]                       what a fucking moron
16.05.2018 15:55:58                                  G G [@ilvebtc]                       LOL
 tG.05.2018 15:56:00                                 G G [@ilvebtc]                       t hanks dude
16.05.2018 15:56:03                                  G G [@ilvebtc]                       now i have more time to take from u
16.05 .2018 15:56:20                                 K K [@woahk]                         Loi
16.05 .2018 15:56:24                                 K K [@woahk)                         Than
16.05.2018 15:56:26                                  K K [@woahk]                         Facts
16.05.2018 15 :56:52                                 K K [@woahk]                         He can't activate his sim card
16.05.2018 15:56:55                                  G [@goldenspeed)                     LOLOLL
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 28 of 82 Page ID
                                  #:578


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                                             Ill ~~......   o.~
                                               ©roro ~ ......,,., 0
16!os:'2'0:i:s 116:s1:14 · .:::':'           . ·G· G [@ilvebtc]·         ..                    Ox'e'6F7 AA6e'8Sfii'3'e3339EC33Sef3Sc4f61e7F71;fEe0~ •~"' . ·.
                                               ©roi\l ~ .......... 0                o         11 ~               ~ ~ ~mw.tl
                                                                                                                       :o
                                              '@roru ~  u"ur.i, mo
                                                                                    o,., 1l~G•~~f~=====;;:================
                                                                                                 fl
                                               ©roi\l ~ "'"'"'"'0                   o,1rall ~@§lii@i'~
16:05,'.'20118:17:0~):31 ,:t           .     , XG:'G ['@filvebtc]:       ,:<,           . ·     o',ili!iill'!,   •;;,;S:'

16.05.2018 17:00:32                             G G [@ilvebtc]                                 we made 1.3m
16:.Q,S·:2.01!_8,.1 7:01:51 .,,,,,;.   ..:    •,G,G [@ilvebtc],,, ,·                    .      bit~bin > sllapeshiry to monero> send ,monero: to ·xi'.n r.to · ,.
                                              :GG [@ilvebtc]                                   ricky          /       ,        ""' /      · · .'"
                                              ·,G,G [@.iJvebt0N , , .                    .,
16.05.201817:20:14                              G [@goldenspeed]                               0x7849a1B109181ed11F6FF70fae4527146203287C
16.05 .2018 17:38:03                            G [@gqldenspeed]
16.05 .2018 17:47:32                            G [@goldensp'eed]                              [[\:'Jdeo si?e 3'844'733 bytesff                         .·



16.05 .20i? 18:13:06                           (j [@goldenspe ed]                             0x7849a181,Q9_181ed11F6FF7dtae452°7146203287C
16.05.2018 19:23:53                            G [@golderspeed]                 "       ,.    [[Photo]] "_,/     ,i::o.,    'X
           Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 29 of 82 Page ID                                       ' t
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 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 30 of 82 Page ID
                                   #:580


USER ATTRIBUTES•••
USERIO                     57976705ce74 3
                           Ricky H     la S90ccf717
NAME
EMAIL                      rtheboss94@outloo
CREATED                    July, 26 2016 06'35
                                           · amk.com
                                                  PDT



IDENTITY•••
FIRST NAME
LAST NAME
SSN
ADDRESSl
ADDRESS2
CITY
STATE
ZIP
COUNTRY
BIRTHDATE M/D/Y



JUMIO PROFILES•••
DATE                       TYPE                         ID NUMBER           STATUS      NAME        DOB
2016-07-26T13:48:07.625Z   Driver's License             H532-730-93-111-0   completed   Ricky Josep       3/31/1993




                           •
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 31 of 82 Page ID
                                   #:581


USER ATTRIBUTES•••
USER ID                               S3af49008e6ce07e8a000007
NAME                                  R
EMAIL                                 rickyy6@yahoo.com
CREATED                               June, 28 2014 04 :00pm PDT



IDENTITY""*
FIRST NAME                            Ricky
LAST NAME                             Handschumacher
SSN
ADDRESS!                              9733 lake chrise lane
ADDRESS2
CITY                                  port richey
STATE                                 FL
ZIP                                   34668
COUNTRY                               United States of America
BIRTHDATE M/D/Y                       3/31/1993



JUMIO PROFILES•••
DATE                                  TYPE                          ID NUMBER        STATUS           NAME     DOB                       ADDRESS
2016-08-22T03:15:38.12SZ                                                             failed



PERSONAL DETAILS'"
DOB                                   3/31/1993
Street Address                        9733 lake chrise lane/
City, State, ZIP                      port richey, FL, 34668
Country                               us

PREVIOUS EMAILS " '
CHANGED FROM                          CHANGED TO                    CHANGED    AT    CONFIRMED AT



MERCHANT PROFILES"'



COMPANY EDD REQUESTS"'
NAME                                  OBA                           WEBSITE          BUSINESS TYPE    BUSINESS CBUSINESS DESCRIPTION     PHONE NUMBER



PHONE NUMBERS•••
NUMBER                                COUNTRY                       VERIFIED
                         7274944891   us                                   TRUE
7274947213 (Deleted)                  US                                   TRUE



BILLING ADDRESSES'"
ADDRESS 1                                                           ADDRESS 3        CITY             STATE    POSTAL CODE               COUNTRY
9733 Lake Chrise Ln                                                                  Port Richey      FL                         34668   us
9733 lake ch rise lane                                                               port richey      FL                         34668   us


BANK ACCOUNTS'"
CUSTOMER NAME
Ricky Handschumacher
Ricky J Handschumacher
Ricky J Handschumacher
Ricky J Handschumacher
                                      BANK NAME
                                      Suncoast Schools FCU - Bank
                                      Suncoast Schools FCU - Bank
                                      Suncoast Schools FCU - Bank
                                      Suncoast Schools FCU - Bank
                                                                               --
                                                                    ACCOUNT NUMBER   ROUTING NUMBER   ACCOUNT"VERIFIED
                                                                                               -checking
                                                                                               -checking
                                                                                               -checking
                                                                                               -checking
                                                                                                                         FALSE
                                                                                                                         FALSE
                                                                                                                         FALSE
                                                                                                                         TRUE
                                                                                                                                         VERIFICATION METHOD
                                                                                                                                         cdv
                                                                                                                                         cdv
                                                                                                                                         cdv
                                                                                                                                         cdv
    Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 32 of 82 Page ID
                                      #:582
                                                 Attachment C
••• 1olsmileyface is Ricky HANDSCHUMACHER •••


  Timestamp                               Username         Contents
  2018-04-18   15:30:21.877000+00:00      lolsmileyface    Yoooo
  2018-04-18   15:30:29.006000+00:00      lolsmileyface    I dona€™t know how to use this shit
  2018-04-18   15:30:30.579000+00:00      jo               yo
  2018-04-18   15:30:32.852000+00:00      jo               lmao
  2018-04-18   15:30:34.443000+00:00      jo               just learn
  2018-04-18   15:30:39.946000+00:00      jo               av-,
  2018-04-18   15:30:46.532000+00:00      lolsmileyface    I just want to talk to you and maj
  2018-04-18   15:30:56.604000+00:00      jo               u got maj's discord?
  2018-04-18   15:31:01.286000+00:00      lolsmileyface   I dont
  2018-04-18   15:31:10.678000+00:00      lolsmileyfai;e  Can you make a group just us 3
  2018-04-18 15:31:24.688000+00:00        jo              majestic#2983
  2018-04-18 15:32:03.424000+00:00        lolsmileyface · Whata€™s that lol
                                                          his discord



                                                                                                ~
  2018-04-18 15:32:12.578000+00:00        jo
  2018-04-18   15:32:13.103000+00:00     jo                lol
  2018-04-18   15:32:23.660000+00:00     lolsmileyface     ldk how to search them
  2018-04-18   15:32:32.471000+00:00     lolsmileyface     On Skype delete the message
  2018-04-18   15:32:35.427000+00:00     lolsmileyface     Of the group
  2018-04-18   15:32:39.971000+00:00     lolsmileyface     An howa€™s this safer lol
  2018-04-18   15:32:46.875000+00:00     jo                ill kick anyone
  2018-04-18 15:32:58.024000+00:00       jo                who idk
  2018-04-18 15:33:03.011000+00:00       lolsmileyface     Ahhh okay
  2018-04-18 15:33:11.021000+00:00       lolsmileyface     Make one for just us 3 though pleas
  2018-04-18 15:33:28.839000+00:00       jo                im, trynna figur eout ls
  2018-04-18 15:37:57.259000+00:00       lolsmileyface     How many chats are there lol
  2018-04-18 16:12:30.043000+00:00       lolsmileyface     Dude thata€'Ms what I meant to ask you!
  2018-04-18 16:12:39.950000+00:00       jo                what
  2018-04-18 16:12:40.822000+00:00       jo                lol
                                                           Look at Ian twitter someone took his email and was sending emails
  2018-04-18 16:13:13.956000+00:00        lolsmileyface
                                                           out
  2018-04-18   16:13:19.160000+00:00     lolsmileyface     Asking for money
  2018-04-18   16:13:22.410000+00:00     jo                lol
  2018-04-18   16:13:22.837000+00:00     jo                ik
  2018-04-18   16:13:25.635000+00:00     jo                fuck him
  2018-04-18   16:13:40.820000+00:00     jo                idc what happens to him tbh
  2018-04-18   16:16:59.190000+00:00     lolsmileyface     Thata€'Ms strange though lol
  2018-04-18   18:03:22.474000+00:00     lolsmileyface     Yooo ssn down?
  2018-04-18 18:04:31 ■---:00            jo                yes
  2018-04-18 18:04:32.•••100             jo                lol
  2018-04-18 18:05:00.360000+00:00       lolsmileyface     I got the new one
  2018-04-18 18:05:26.190000+00:00       lolsmileyface     I think
  2018-04-18 18:05:31.806000+00:00       jo                which
  2018-04-18 .18:05:48.175000+00:00      lolsmileyface     http://exedic.io
  2018-04-18 18:06:03.294000+00:00       jo                doesnt exist it says
  2018-04-18 18:06:03.943000+00:00       jo                lol
  2018-04-18 18:06:57.625000+00:00        lolsmileyface    Sec oops
  2018-04-18 19:12:30.940000+00:00        lolsmileyface    How can we call
  2018-04-18 19:41:41.426000+00:00        lolsmileyface    av--av--av--av--
  2018-04-18 20:37:56.381000+00:00       lolsmileyface     Yoooo
  2018-04-18 21:43:48.599000+00:00       lolsm ileyface    BRHH
  2018-04-18 22:05:33. 766000+00:00      jo                Yo
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 33 of 82 Page ID
                                   #:583


2018-04-18 22:09:47.840000+00:00       jo              i was sleeping
2018-04-18 22:09:48.270000+00:00       jo              lol
2018-04-18 22:09:48.960000+00:00       lolsmileyface   Doc paying us soon
2018-04-18 22:09:56.872000+00:00       lolsmileyface   Talked to him for awhile today
2018-04-18 22:09:57.259000+00:00       jo              wym
2018-04-18 22:10:03.504000+00:00       jo              tell doc to join discord
2018-04-18 22:10:04.009000+00:00       jo              lol
2018-04-18 22:10:06.170000+00:00       lolsmileyface   Tomorrow I think he gonna pay
2018-04-18 22:10:08.197000+00:00       lolsmileyface   He wona€™t join
2018-04-18 22:10:12.357000+00:00       jo              why
2018-04-18 22:10:13.586000+00:00       jo              lmaooo
2018-04-18 22:10:24. 797000+00:00      lolsmileyface   No idea hea€™s done with it all. Only xat he said
2018-04-18 22:10:29.786000+00:00       jo              lol
2018-04-18 22:10:41.883000+00:00       jo              not even a chill chat?
2018-04-18 22:10:46.617000+00:00       jo              no simming and sht

2018-04-18 22:10:47.316000+00:00       lolsmileyface
                                                       But hea€™s gonna pay he said and he said hea€™s not worrying
2018-04-18    22:10:53.600000+00:00    lolsmileyface   Yeah no hea€™s like ghost rn
2018-04-18    22:10:54.936000+00:00    lolsmileyface   Loi
2018-04-18    22:11:07.637000+00:00    lolsmileyface   He wona€™t do anything other then xat rarely
2018-04-18    22:11:13.096000+00:.00   jo              lmao
                                                       Loi idk but he told me to tell you hea€™s gonna pay you next
2018-04-18 22:11:30.658000+00:00       lolsmileyface
                                                       couple of days by the wee end
 2018-04-18   22:11:38.088000+00:00 jo                 kk
 2018-04-18   22:11:49.681000+00:00 lolsmileyface      And that was about it
 2018-04-18   22:11:51.561000+00:00 lolsmileyface      Loi
 2018-04-18   22:30:27.307000+00:00 lolsmileyface      I couldna€™t help but look. Look at recent tweet
 2018-04-18   22:31:43.318000+00:00 jo                 idc tbh lmao
 2018-04-18   22:31:51.885000+00:00 lolsmileyface      I just coulona€™t help but look lol.
 2018-04-18   22:32:15.179000+00:00 lolsmileyface      Only because they are trying to link it to other hacks ...
 2018-04-18   22:49:29.342000+00:00 lo smileyface      Fuckin drew man
 2018-04-18   22:49:34.416000+00:00 lolsmileyface      Holy shit
 2018-04-18   23:08:10.074000+00:00 lolsmileyface      You here
 2018-04-18   23:08:14.819000+00:00 jo                 yes
 2018-04-18   23:08:20.467000+00:00 lolsmileyface      Xat.com/old
 2018-04-18   23:13:45.264000+00:00 lolsmileyface      Are you in there?
 2018-04-18   23:15:18.158000+00:00 . jo               yea
 2018-04-18   23:15:19.271000+00:00 jo                 lol
 2018-04-18   23:15:41.092000+00:00 lolsmileyface      Drew freaking lol
 2018-04-18   23:17:11.911000+00:00 lolsmileyface      la€™11 join when I get home
 2018-04-18   23:17:11.939000+00:00 jo                 whbere tf phobia at
 2018-04-18   23:17:16. 792000+00:00 lolsmileyface     No idea lol
 2018-04-18   23:17:20.974000+00:00 lolsmileyface      Whoa€™s all in the room
 2018-04-18   23:17:23.223000+00:00 lolsmileyface      You and j
 2018-04-18   23:34:03.243000+00:00 lolsmileyface      Whoa€™s who
 2018-04-18   23:34:04.736000+00:00 lolsmileyface      In here
 2018-04-18   23:35:22.262000+00:00 lolsmileyface      Moopie and mooglie
 2018-04-18   23:43:58.492000+00:00 jo                 Meu
'2018-04-18   23:43:59.289000+00:00 jo                 Loi
 2018-04-18   23:44:09.981000+00:00 jo                 I actually forgot to leave site la€™m out rn
 2018-04-18   23:44:10.925000+00:00 jo                 Lmao
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 34 of 82 Page ID
                                   #:584


2018-04-19 00:00:23.244000+00:00     lolsmileyface     Which one are you and which is doc
2018-04-19 02:32:09.353000+00:00     lolsmileyface .   https://xdedic.io
2018-04-19 02:32:28.968000+00:00     jo                oh that site
2018-04-19 02:32:31.594000+00:00     jo                idk if its trusted
2018-04-19 02:32:38.730000+00:00     jo                cant make an account tho
2018-04-19 02:55:58.478000+00:00     lolsmileyface     It was Daniel
2018-04-19 02:58:13.182000+00:00     jo                How u know
2018-04-19 02:58:14.118000+00:00     jo                Loi
                                                       Apparently doc confronted fain and was like we know ita€""s you
2018-04-19 02:58:28.889000+00:00     lolsmileyface
                                                       man
2018-04-19 02:58:43 .531000+00:00    lolsmileyface     Fain said a€reyoua€™re lucky I misled hima€
2018-04-19 02:58:50.520000+00:00     jo                Dude
2018-04-19 02:58:54.420000+00:00     jo                Tell him to pay btc back
2018-04-19 02:59:03.063000+00:00     jo                He owes u 1
2018-04-19 02:59:22.911000+00:00     lolsmileyface     lk ita€'"s fine man. Ide as long as this shit stays clear of us
2018-04-19 03:00:29.754000+00:00     jo                so doc can come back?
2018-04-19 03:00:30.296000+00:00     jo                av-,,
2018-04-19 03 :00:54.194000+00:00    lolsmileyface     ldk la€™m trying to ask doc and confirm all this
2018-04-19 03 :03 :18.595000+00:00   lolsmileyface     False info
2018-04-19 03 :03 :21.868000+00:00   lolsmileyface     I just talked to foe
2018-04-19 03:03:23.611000+00:00     lolsmileyface     Doc
2018-04-19 03:03:30.959000+00:00     lolsmileyface     He still doesna€'"t known
2018-04-19 03:05:52.946000+00:00     jo                lol
2018-04-19 03:05:55.786000+00:00     jo                how u talking to doc
2018-04-19 19:12:38.185000+00:00     lolsmileyface     Hey
2018-04-19 19:14:26.398000-i>00:0O   jo                Yo
2018-04-19 19:14:36.248000+00:00     lolsmileyface     What up!
2018-04-19 19:14:41.828000+00:00     jo                Nothing much lol
2018-04-19 19:14:43.652000+00:00     jo                u
2018-04-20 11:48:59.366000+00:00     jo                When doc sending it    av--av--av--av--
2018-04-20 11:50:01.822000+00:00     lolsmileyface     Good question lol
2018-04-20 11:50:05.444000+00:00     lolsmileyface     la€™11 message him today
                                                       We know he is not that much of a morning person LOL la€™11
2018-04-20 14:01:37.589000+00:00     lolsmileyface
                                                       message him around noon
2018-04-20 17:11:35. 771000+00:00 lolsmileyface        Yooo you there
2018-04-20 17:34:27.964000+00:00 jo                    Yes
2018-04-20 17:34:30. 782000+00:00 jo                   yo add daniel
2018-04-20 17:34:34.128000+00:00 jo                    I told him ur discord
2018-04-20 17:34:47 .879000+00:00 lolsmileyface        How do I add someone lol
2018-04-20 17:35:06.157000+00:00 lolsmileyface         He never added me
2018-04-20 17:35:08.688000+00:00 lolsmileyface         No pending
2018-04-20 17:36:23.483000+00:00 jo
2018-04-20 17:36:37 .882000+00:00 lolsmileyface        I cana€'"t remember that LOL
2018-04-20 17:41:10.796000+00:00 jo                    He needs doc lol
2018-04-20 17:41:30.939000+00:00 lolsmileyface         He didna€™t add me
2018-04-20 17:41:33.603000+00:00 lolsmileyface         Tell him to add me
2018-04-20 17:42:23.398000+00:00 lolsmileyface         Which Daniel this
2018-04-20 17:42:37.229000+00:00 lolsmileyface         Fain or the other one
2018-04-20 17:42:53.791000+00:00 . jo                  Matta€™s friend
2018-04-20 17:42:58.997000+00:00 jo                    And the YouTube email plug
2018-04-20 17:42:59.605000+00:00 jo                    Loi
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 35 of 82 Page ID
                                   #:585


2018-04-20 17:43:01. 724000+00:00      lolsmileyface   av™,, okay
2018-04-20 17:47:19.671000+00:00       lolsmileyface   Kids such a fag
2018-04-20 17:47:24.679000+00:00       lolsmileyface   Broke guy man
2018-04-20 17:49:30.268000+00:00       lolsmileyface   He tried scamming doc
2018-04-20 17:51:45.996000+00:00       jo              Damn
2018-04-20 17:52:03.385000+00:00       lolsmileyface   Doc told@me the story
2018-04-20 17:52:07.394000+00 :00      lolsmileyface   And itaP•s not what hea€"•s saying
2018-04-20 17:52:26.616000+00:00       lolsmileyface   Just like Daniel took@ H from him awhile back
2018-04-20 21 :12:08.282000+00:00      lolsmileyface   You on
2018-04-20 21 :19:03 .541000+00:00     jo              Yo
                                                       Can you send me like $1 in eth I want to make sure I receive
2018-04-20 21:23:14.003000+00:00       lolsmileyface
                                                       money lol. And not another fuck yo
2018-04-20 21:23:15.076000+00:00       lolsmileyface   Up
2018-04-20 21:28:45.435000+00:00       jo              I dona€™t have eth
  2018-04-20 22:22:36.147000+00:00     lolsmileyface   Asap
· 2018-04-20 22:22:38.546000+00:00     lolsmileyface   You hea€™s
2018-04-20 22:22:41.145000+00:00       lolsmileyface   Here
2018-04-20 22:22:56.985000+00:00       lolsmileyface   Yoooooo
2018-04-20 22:23 :46.201000+00:00      lolsmileyface   Jesus lol
2018-04-2114:35 :47 .827000+00 :00     jo              yea
2018-04-22 00:47:02.726000+00:00       jo              'lo?
2018-04-22 03:50:39.903000+00:00       jo              Nigga Ricky
2018-04-22 04:34:18.251000+00:00       lolsmileyface   How tf do I find someone on xat lol
2018-04-22 10:10:48.223000+00:00       jo              Loi
2018-04-22 10:10:53.974000+00:00       jo              ldk
2018-04-22 17:45:50.316000+00:00       jo              what
2018-04-22 17:45:54.858000+00:00       jo              happened
2018-04-22 17:52 :30.287000+00:00      jo              Why is doc taking so long to send me the$ smh
2018-04-23 13:28:56.597000+00:00       lolsmileyface   Yoooo
2018-04-23 13:29:05 .263000+00:00      lolsmileyface   He was asking for you but you never replied
2018-04-23 13:29:15.719000+00:00       lolsmileyface   That day when I was spamming you haha
2018-04-23 13:53:14.739000+00:00       jo              Loi nvm
2018-04-23 13:54:39.907000+00:00       lolsmileyface   You get it yet
2018-04-23 14:07:10.096000+00:00       jo              Only 1/3 of it lol
2018-04-23   14:07:15.484000+00:00     jo              Seymour has the rest
2018-04-23   14:07:50.667000+00 :00    lolsmileyface   What doc give you
2018-04-23   14:07:53.561000+00:00     lolsmileyface   $100
2018-04-23   14:10:47.009000+00:00     jo              100$ what hahahahaha
2018-04-23   14: 10:56.526000+00:00    jo              I think 60/180
2018-04-23   14: 10:58 .165000+00:00   lolsmileyface   K
2018-04-23   14:10:59.603000+00:00     lolsmileyface   100&
2018-04-23   14:11:05.277000+00:00     lolsmileyface   K
2018-04-23   14:11:15.678000+00:00     jo              Nigga u said $100 av-,av-,av-,av-,
2018-04-23 14:11:21.624000+00:00       lolsmileyface   I forgot the K
2018-04-23 14:11:22.655000+00:00       lolsmileyface   Loi
2018-04-23 14:11:24.641000+00:00       jo              Shhh
2018-04-23 14:11:29.843000+00:00       jo              He gave phobia Sk@lol
2018-04-23 14:11:38.131000+00:00       jo              Well@im@holding it but yeah
2018-04-23 14: 11:55.930000+00:00      lolsmileyface   LOL what he gave phobia
2018-04-23 14:11:57.545000+00:00       lolsmileyface   For what
2018-04-23 14: 12:01.678000+00:00      lolsmileyface   lta€™11 be gambled
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 36 of 82 Page ID
                                   #:586


2018-04-23   14:12:06.692000+00:00   jo              Na
2018-04-23   14:12:10.308000+00:00   jo              la€™m holding it
2018-04-23   14:12:18.117000+00:00   jo              Bought psn phobia for him
2018-04-23   14:12:21.158000+00:00   jo              1.3k lol
2018-04-23   14:13:05.768000+00:00   lolsmileyface   LOL good idea cause ita€'"11 be gone if you give him
2018-04-23   14:13:12.091000+00:00   jo              Ye
2018-04-23   14:14:40.087000+00:00   lolsmileyface   What psn lol
2018-04-23   14:17:54.753000+00:00   jo              Phobia
2018-04-23   15:50:21.236000+00:00   jo              Ask Robert how@much Eric Meiggs has lol
2018-04-23   15:50:29.057000+00:00   jo              I wonder if he really has 15m orbs
2018-04-23   15:52:08.525000+00:00   lolsmileyface   Who has 15m LOL
2018-04-23   15:52:10.329000+00:00   lolsmileyface   meiggs
2018-04-23   15:53:53.995000+00:00   jo              Yeah
2018-04-23   15:53:56.249000+00:00   jo              Loi idk man
2018-04-23   15:53:59.120000+00:00   lolsmileyface   LOL
2018-04-23   15:54:01.377000+00:00   jo              He said he does them with robert
2018-04-23   15:54:05.172000+00:00   lolsmileyface   LOL
2018-04-23 15:54:08.863000+00:00     jo              So maybe Robert knows lmao
2018-04-23 15:54:12. 773000+00:00    lolsmileyface   la€™11 ask him
2018-04-23 16:10:15.274000+00:00     lolsmileyface   Dude LOL
2018-04-23 16:25:19.947000+00:00     jo              What happened lol
2018-04-23 16:25:38.393000+00:00     lolsmileyface . I will have to call you later and tell you this one
                                                     My phone is about to die and la€™m at work so I will hit you up
2018-04-23 16:25:50.847000+00:00     lolsmileyface
                                                     later LOL
2018-04-23 16:26:02.777000+00:00     jo              Loi
2018-04-24 19:30:09.191000+00:00     lolsmileyface DUDE
2018-04-24 19:31:53.442000+00:00     jo              ????!!?!?
2018-04-24 19:32:05.158000+00:00     lolsmileyface   Phobia said he needs $1k LOL
2018-04-24 19:32:16.430000+00:00     jo              Loi
2018-04-24 19:32:27.413000+00:00     jo              He got' $300
2018-04-24 19:32:34.303000+00:00     jo              gambled yo 4k
2018-04-2419:32:34.768000+00:00      lolsmileyface   he just asked me lol
2018-04-24 19:32:37.420000+00:00     jo              To
2018-04-24 19:32:40.967000+00:00     lolsmileyface   Noway
2018-04-24 19:32:43.246000+00:00     jo              Then bought his stuff
2018-04-24 19:32:47.514000+00:00     jo              Then gambled it all away
2018-04-24 19:32:50.499000+00:00     lolsmileyface   LOL
2018-04-24 19:33:01.421000+00:00     jo              Hea€™s dumb lol
2018-04-24 19:33:06.450000+00:00     lolsmileyface   He said he wants $1k for clothes
2018-04-24 19:33:08.195000+00:00     lolsmileyface   And shoes
2018-04-24 19:33:12.114000+00:00     jo              Lmao
2018-04-24 19:33:20.759000+00:00     lolsmileyface   I gotta tell you what Robert said
2018-04-24 19:33:23.348000+00:00     lolsmileyface   About meiggs
2018-04-24 19:33:24.904000+00:00     lolsmileyface   Loi
2018-04-24 19:34:50.651000+00:00     jo              What lol
2018-04~24 19:35:15.325000+00:00     lolsmileyface   Remember the 15m thing
2018-04-24 19:37:51.385000+00:00     jo              Yes
2018-04-24 19:38:03.375000+00:00     lolsmileyface   la€™11 call you later and tell you about that
2018-04-24 19:38:04.993000+00:00     lolsmileyface   Loi
2018-04-24 19:48:56.871000+00:00     jo              How much does he have lol
2018-04-24 19:49:13.873000+00:00     lolsmileyface   $0
     Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 37 of 82 Page ID
                                       #:587


    2018-04-24 19:49:20.325000+00:00      lolsmileyface   Probably like $10k maybe
    2018-04-24 19:49:21.074000+00:00      lolsmileyface   ldk
    2018-04-24 19:49:26.286000+00:00      lolsmileyface   Not more then phobia
    2018-04-24 19:49:28.702000+00:00      lolsmileyface   LOL
    2018-04-24 19:49:33.609000+00:00      jo              How
    2018-04-24 19:49:35.411000+00:00      lolsmileyface   ldkkk how much tbh
    2018-04-24   19:49:36.310000+00:00    jo              Lmao
    2018-04-24   19:49:42.406000+00:00    jo              Robert said he a millionaire?
    2018-04-24   19:49:51.093000+00:00    lolsmileyface   Meiggs hell no
    2018-04-24   19.:49:54.194000+00:00   lolsmileyface   Sent me pies lol
    2018-04-24   19:49:58 .858000+00:00   lolsmileyface   av-,
    2018-04-24 19:50:09.231000+00:00      jo              Lmfao
    2018-04-24 19:50:14.304000+00:00      jo              Less than 100k7
    2018-04-24 19:50:24.177000+00:00      lolsmileyface   I think less
    2018-04-24   19:50:25.498000+00:00    lolsmileyface    Yeah
    2018-04-24   19:50:32.067000+00:00    jo              ·Loi
    2018-04-24   19:50:44.279000+00:00    jo              Does Robert even fuck with him
    2018-04-24   19:52:57.094000+00:00    lolsmileyface   I think they talk
    2018-04-24   19:53:03.048000+00:00    lolsmileyface   But not like anything serious
    2018-04-24   20:55:42.196000+00:00    lolsmileyface   Anthony did it I think
    2018-04-25   02:55:41.857000+00:00    jo              do u have ur connects still lol
    2018-04-25   02:56:11.667000+00:00    lolsmileyface   Si
    2018-04-25   02:56:20.208000+00:00    jo              conor has a h/i\t he wannna do
    2018-04-25   02:56:24.772000+00:00    jo              &/tt
    2018-04-25   02:56:25.850000+00:00    lolsmileyface   What is it
    2018-04-25   02:56:28. 734000+00:00   jo              idk
    2018-04-25 02:56:35.075000+00:00      lolsmileyface   Okay we can
    2018-04-25 02:56:36.038000+00:00      jo              but i can add him in the group chat
    2018-04-26 00:1f3:28.788000+00:00     jo              you there
    2018-04-26 00:44:41.161000+00:00      lolsmileyface   la€™m here
    2018-04-26 00:44:49.201000+00:00      jo              can u msg doc
    2018-04-26 00:44:51.536000+00:00      jo              to get on xat
    2018-04-26 00:44:58.582000+00:00      jo              im trying to get the verizon tool logins
    2018-04-26 00:45:13.651000+00:00      lolsmileyface   You need to be on serv.er
    2018-04-26 00:45:16.634000+00:00      lolsmileyface   For them to work
    2018-04-26 00:45:21.073000+00:00      lolsmileyface . Did he get them?
    2018-04-26 00:45:23.500000+00:00      jo              doc gave me the links
    2018-04-26 00:45:25.221000+00:00      jo              to where login
    2018-04-26 00:45:35.655000+00:00      jo              just need this guy to send the login details
                                                          Yeah but I thought you needed to be on server thata€™s why it
    2018-04-26 00:45:48.612000+00:00      lolsmileyfa_ce
\
                                                          wouldna€™t work
    2018-04-26 00:45:53. 797000+00:00     jo              na
    2018-04-26 00:45:55.359000+00:00      lolsmileyface   Let me see if hea€n•s on
    2018-04-26 00:46:07.326000+00:00      jo
    2018-04-26 00:46:46.917000+00:00      lolsmileyface   Whoa€™s that junior?
    2018-04-26 00:51:36.385000+00:00      jo              yea
    2018-04-26 00:51:46.885000+00:00      jo
    2018-04-26 00:53:23.637000+00:00      jo              he wants doc to get back on that skype
    2018-04-26 00:53:26.363000+00:00      jo              to give info
    2018-04-26 00:53:31.171000+00:00      jo              hes not giving to anyone bhut that skype
    2018-04-26 00:54:00.481000+00:00      lolsmileyface   He already fuckil') took $60k from him
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 38 of 82 Page ID
                                   #:588


2018-04-26 00:54:01. 776000+00:00    lolsmileyface   LOL
2018-04-26 00:54:07.114000+00:00     jo              yeah
2018-04-26 00:54: 17. 725000+00:00   lolsmileyface   docs not gettin on Skype
2018-04-26 00:54:24.050000+00:00     jo              av-:
2018-04-26 00:54:25.512000+00:00     lolsmileyface   @ junior
2018-04-26 00:54:27.361000+00:00     jo              no verizon login    av-:
2018-04-26 00:54:30.007000+00:00     lolsmileyface   Right
2018-04-26 00:54:31.867000+00:00     jo              yea
2018-04-26 00:54:35.170000+00:00     jo              well niot junior
2018-04-26   00:54:35.699000+00:00   jo              its
2018-04-26   00:54:37.537000+00:00   jo              his friend
2018-04-26   00:54:39.576000+00:00   jo              junior's friend
2018-04-26   00:54:51.544000+00:00   jo              juniors friend wont send it to him
2018-04-26   00:54:53.457000+00:00   jo              only doc
2018-04-26   00:54:59.414000+00:00   lolsmileyface   la€™11 ask junior
2018-04-26   00:55:34.940000+00:00   jo              Toaad#7157
2018-04-26   00:55:38.284000+00:00   jo              his discord
2018-04-26   00:55:56.322000+00:00   lolsmileyface   Toaad#7157
2018-04-26 00:56:24.250000+00:00     jo              yes
2018-04-26 00:57:36.899000+00:00     lolsmileyface   I added him tell him accept
2018-04-26 0l:04:16.664000+00:00     jo              we need that skype doc had
2018-04-26 01:04:17.424000+00:00     jo              av-:
2018-04-26 01:04:19.539000+00:00     jo              jsjs
2018-04-26 01:04:27.007000+00:00     jo              onlyu way to ge tthat verizon
2018-04-26 0l:04:28.319000+00:00     jo              login
2018-04-26 01:04:53.026000+00:00     lolsmileyface   He already paid $60k why are they saying another $10k Loi
2018-04-26 01:04:59.706000+00:00     jo              no no
2018-04-26 01:05:00.333000+00:00     jo              like
2018-04-26 0l:05:04.864000+00:00     jo              junior has to pay 10k
2018-04-26 01:05:08.279000+00:00     jo              because he isnt getting it
2018-04-26 01:05:11.524000+00:00     jo              doc doesnt
2018-04-26 01:05:14.278000+00:00     jo              since he already paid it
2018-04-26 01:05:16. 725000+00:00    lolsmileyface   Ahhh
2018-04-26 01:05:19.392000+00:00     jo              he just needs to get back to thaty skype
2018-04-26 01:05:25.249000+00:00     jo              the guy wont give it to anyone
2018-04-26 01:05:26.649000+00:00     jo              besides doc
2018-04-26 01:05:29.230000+00:00     jo              that skype
2018-04-26 01:05:46.266000+00:00     lolsmileyface   Hea€™s not on. Wait for him to get on xat
2018-04-26 01:05:50.064000+00:00     lolsmileyface   For or old
2018-04-26 0l:05:53.966000+00:00     jo              yea
2018-04-26 01:12:14.805000+00:00     jo              get doc
2018-04-26 01:12:15.933000+00:00     jo              to tell
2018-04-26 01:12:18.654000+00:00     jo              eth addy
2018-04-26 01:12:26.923000+00:00     jo              that he sent the    S to that guy
2018-04-26 01:13:03.747000+00:00     jo              or better if he can back that skype
2018-04-26 01:13:04.479000+00:00     jo              lmao
2018-04-26 01 :13:09.907000+00:00    jo              i can login idc
2018-04-26 01:13 :11.218000+00:00    jo              tbh
2018-04-26 01:13:28.114000+00:00     jo              jigga415 thats the verizon skype guy
2018-04-26 01:14:05.803000+00:00     lolsmileyface   ldk who they are. Doc isna€™t on so idk what to do
2018-04-26 01:14:15.912000+00:00     jo              yeah we'll wait for hinm
  Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 39 of 82 Page ID
                                    #:589


                                                        skype - jigga415 # - 415-525-2494 - twitter -
 2018-04-26 01:16:20.292000+00:00      jo
                                                        https://twitter.com/MoB_Jigga
 2018-04-26 01:16:23.987000+00:00      jo               verizon plug
 2018-04-26 01:16:26.317000+00:00      jo               doc needa contact
 2018-04-26 01:16:55.434000+00:00      lolsmileyface    Thata€™s the actual plug
 2018-04-26 01:18:20.462000+00:00      jo                yeah
 2018-04-26 01:18:22.330000+00:00      jo                hes the guy
 2018-04-26 01:18:24.371000+00:00      jo              · who has the login
 2018-04-26 01:18:28.146000+00:00      jo               and prob works at verizon too
 2018-04-26 0l:18:28.624000+00:00      jo               idk
 2018-04s26 01:18:33 .805000+00:00     jo               but doc should contact him
 2018-04-26 01:18:39.892000+00:00      lolsmileyface    la€™11 try again
 2018-04-26 01:18:48.058000+00:00      lolsmileyface    ldk why he isna€™t on xat
 2018-04-26 01:18:52.693000+00:00      lolsmileyface    Maybe tonight hea€™11 get on
 2018-04-26 01:18:58.942000+00:00      jo               ye
 2018-04-26 01:22:34.221000+00:00      jo               basically plan is
 2018-04-26 01:22:36.586000+00:00      jo               we get doc on
 2018-04-26 01:22:38.222000+00:00      jo               a xat room
 2018-04-26 01:22:40.470000+00:00      jo               ill tex tthat guy
 2018-04-26 01:22:41.567000+00:00      jo               the link
 2018-04-26 01:22:43.657000+00:00      jo               to the xat
 2018-04-26 01:22:48.554000+00:00      jo               and from there aoc will chat

 2018-04-26 01:25:49.400000+00:00      lolsmileyface
                                                    If he dona€™t get on xat tonight la€'"'11 call him tomorrow lol
  2018-04-26 0l:26:18.451000+00:00 jo               who doc or that guv,?
  2018-04-26 01:26:25.370000+00:00 jo               jigga guy lol
  2018-04-26 01:26:31.784000+00:00 lolsmileyface    Doc
  2018-04-26 01:26:35.058000+00:00 jo               oh
  2018-04-26 01:26:44.990000+00:00 . jo             if we get the'Verizon tools man
  2018-04-26 01:26:46.258000+00:00 jo               we be set
  2018-04-26 01:26:47.199000+00:00 jo               hahahah
  2018-04-26 01:26:49.380000+00:00 jo               me u conor
  2018-04-26 01:26:51.181000+00:00 jo               and  prob maj
  2018-04-26 01:26:54. 723000+00:00 · lolsmileyface I know. Maj yeah
  2018-04-26 01:26:55.600000+00:00 jo               we'll be lowkey
  2018-04-26 01:27:01.699000+00:00 lolsmileyface Us 4 thata€™s it
  2018-04-26 01:27:03.690000+00:00 jo               yea
  2018-04-26 01 :27:05.247000+00:00 lolsmileyface We dona€™t tell people shit
  2018-04-26 01 :27:09.012000+00:00 jo              yeah
  2018-04-26 01:27:10.210000+00:00 lolsmileyface · Only us_4
  2018-04-26 01:27:16.211000+00:00 jo               would be nice
. 2018-04-26 01:27:21.576000+00:00 lolsniileyface   Low key like you said get richer and bye bye
  2018-04-26 01:27:26.098000+00:00 jo               yeah
  2018-04-26 01:27:26.650000+00:00 . jo             lol
 2018-04-26 01:27:32.934000+00:00      jo               i just want a mill
 2018-04-26 01:27:37.403000+00:00      jo               and im out tb=h
 2018-04-26 01:27:38.604000+00:00      jo               lol
2018-04-26 01:27:58.811000+00:00       lolsmileyface    Or a little more so you have some cushion room
2018-04-26 01:28:06.068000+00:00       jo               av-,joy:
2018-04-26 01:28:08.651000+00:00       jo               av-,
2018-04-26 01:28:25.049000+00:00       jo               thsi jigga guy
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 40 of 82 Page ID
                                   #:590


2018-04-26 01:28:27.954000+00:00    lolsmileyface   like 1.3 so I can buy Mclaren LOL
2018-04-26 01:28:28.028000+00:00   jo               has all the plugs
2018-04-26 01:28:29.616000+00:00   jo               apparently
2018-04-26 01:28:32.052000+00:00   jo               he has tmo / att
2018-04-26 01:28:38.050000+00:00   jo               we can prob negoitate with him or something
2018-04-26 01:28:38.301000+00:00 · lolsmileyface    yeah idk how
2018-04-26 01:28:45.542000+00:00 lolsmileyface      Ask him lol
2018-04-26 01:28:54.484000+00:00 jo                 yeah ill txt him tomorrow or something
2018-04-26 01:29:04.973000+00:00 jo                 i just dont want my identity revealed u know
2018-04-iG 01:29:06.531000+00:00 jo                 lol
2018-04-26 01:29: 13.963000+00:00 lolsmileyface     Yeah I will I got a text app
2018-04-26 01:29:16.368000+00:00 lolsmileyface      I can do it from
2018-04-26 01:29:20.057000+00:00 jo                 ye
2018-04-26 01:29:29. 737000+00:00 jo                be like
2018-04-26 01:29:31.401000+00:00    jo              $80 I sim
2018-04-26 01:29:33.750000+00:00    jo              or something
2018-04-26 01:29:45.099000+00:00    lolsmileyface   He seems like a fat pot head
2018-04-26 01:29:46.501000+00:00    lolsmileyface   Lmao
2018-04-26 01:29:49.186000+00:00    jo              ikr
2018-04-26 01:29:49.968000+00:00    jo              LOL
2018-04-26 01:29:52.775000+00:00    jo              but he got$
2018-04-26 01:29:53 .914000+00:00   jo              u can tell                      · ~
2018-04-26 01:29:56.133000+00:00    jo              he spent doc's money
2018-04-26 01:29:57.154000+00:00    jo              on gucci
2018-04-26 01:29:58.278000+00:00    jo              already
2018-04-26 01:29:59.068000+00:00    jo              LOL
2018-04-26 01:30:00.424000+00:00    lolsmileyface   Might want more like $300 or whatever
2018-04-26 01:30:05.330000+00:00    lolsmileyface   Fuckin broke guy man
2018-04-26 01:30:12.332000+00:00    jo              he got alot of$ .tho
2018-04-26 01:30:12.868000+00:00    jo              lmfao
2018-04-26 01:30:14.926000+00:00    jo              60k from doc
2018-04-26 01:30:16.054000+00:00    jo              like cmon
2018-04-26 01:31:13.676000+00:00    lolsmileyface   He spent probably over $10 k on clothes LOL
2018-04-26 01:31:19.514000+00:00    jo              looool
2018-04-26 01:38:26.261000+00:00    lolsmileyface   Whata€™s wanchain
2018-04-26 01:38:31.757000+00:00    lolsmileyface   Any ideab
2018-04-26 01:38:35 .126000+00:00   jo              oh
2018-04-26 01:38:35.728000+00:00    jo              yeah
2018-04-26 01:38:39.155000+00:00    jo              some db
2018-04-26 01:38:42.348000+00:00    jo              but conor has it already
2018-04-26 01:38:44. 716000+00:00   jo              its an ico
2018-04-26 01:38:48.937000+00:00    jo              wiuth list of people
2018-04-26 01:38:52.934000+00:00    jo              conor said most done already
2018-04-26 01:38:54.346000+00:00    jo              or something
2018-04-26 01:39:03.439000+00:00    lolsmileyface   Ahhh okay
2018-04-26 01:39:04.245000+00:00    jo              that tooad guy is trying to sell it
2018-04-26 01:39:05.145000+00:00    jo              lmao
2018-04-26 01:39:11.175000+00:00    lolsmileyface   lk they just asked me
2018-04-26 01:39:22. 770000+00:00   jo              he prob will give it to u for free to
2018-04-26 01:39:23.713000+00:00    jo              too
2018-04-26 01:39:27.961000+00:00    jo              since he gave it to me
    Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 41 of 82 Page ID
                                      #:591


2018-04-26 01:39:28.594000+00:00      jo              lmao
2018-04-26 01:42:44.167000+00:00      lolsmileyface   Loi ohwell if doc dona€'"t get in lmk
2018-04-26 01:42:51.797000+00:00      lolsmileyface   la{™II message him tomorrow again if he dona{™t get in
2018-04-26 19:21:01.928000+00:00      jo              Lmao any news
2018-04-26 19:21:06.505000+00:00      jo              With ur connector anything
2018-04-26 19:45:08.846000+00:00      lolsmileyface   No I havena{™t heard yet. Talked to him Last night
2018-04-27 15:30:41.897000+00:00      jo              Nothing yet? Loi
2018-04-27 15:30:51.196000+00:00      jo              Legit we got a nice att
2018-04-27 15:31:02.670000+00:00      lolsmileyface   Not one message since yesterday
2018-04-27 15:31:05.921000+00:00      lolsmileyface   He wona{™t reply
2018-04-27 15:31:08.524000+00:00      lolsmileyface   ldk whata{™s VP
2018-04-28 04:26:49.833000+00:00      lolsmileyface   HeaC™s pissing me off
2018-04-28 13:50:37.159000+00:00      jo              why lol
2018-04-28 15:47:29.871000+00:00      lolsmileyface   No reply 3days
2018-04-30 12:47:11.449000+00:00      jo              sub up so much
2018-04-30 12:47:15.059000+00:00      jo              Seymour has my money lol
2018-04-30 12:47:20.950000+00:00      jo              idfk what his shit is   ov-:
2018-04-30 13:00:59.743000+00:00      lolsmileyface   $.85!
2018-04-30 13:11:27.671000+00:00      jo              IKR fol
2018-04-30 13:11:33.838000+00:00      jo              Bro where is Seymour
2018-04-30 13:11:39.853000+00:00      jo              Can u ask andrew
2018-04-30 13:11:43.441000+00:00      jo              HeaC™s friends with him
2018-04-30 13:11:48.830000+00:00      jo              He owes me and doc mo
'                      -
2018-04-30 13:11:51.927000+00:00      jo              And probably u too
2018-04-30 13:11:53.710000+00:00      jo              Lmaooo
2018-04-30 13:11:56.569000+00:00      jo              Holding the sub
                                                      I was supposed to get $75k from it fol. I went ahead and message
2018-04-30 13:16:47.322000+00:00      lolsmileyface
                                                      doc To see where hea{"'s at
2018-04-30   13:17:13.219000+00:00    jo              Andrew mostly
2018-04-30   13:17:16.309000+00:00    jo              Doc doesna{™t know lol
2018-04-30   13:27:01.468000+00:00    lolsmileyface   la{™II get ahold of him
2018-04-30   13:46:26.022000+00:00    lolsmileyface   How much sub does he owe you
2018-04-30   14:13:48.736.000+QO:OO   lolsmileyface   0Y1'.1''0Yn"
2018-04-30   14:51:00. 790000+00:00   jo              151305.418719 Sub
2018-04-30   14:51:06.177000+00:00    jo              I got 95k from Doc
2018-04-30   14:51:25.418000+00:00    jo              @2.03 rate
                                                      https ://ethp lorer.io/add ress/OxS SOff4 la 8f35e9d bc3c69 S16a 7 e 1b2
2018-04-30 14:51:36.382000+00:00      jo
                                                      c4ab06f24d#transfers=2
                                                      151305.418719Subto
2018-04-30 14:52:16.620000+00:00      jo
                                                      Oxd8f2387cdble8713d0838d173f4846ccae0c6ffl
2018-04-30 '14:55:55.397000+00:00     lolsmileyface   $343k is whoV
2018-04-30 14:55:58.832000+00:00      lolsmileyface   Seymour
2018-04-30 14:56:14.652000+00:00      jo              thats docs
                                                      seymour is this:
2018-04-30 14:56:33.391000+00:00      jo              https ://eth pl o rer.io/address/Ox 735 be 3edac 1554144e 704cd 33015
                                                      b52364dlffeb
2018-04-30 14:57 :13.530000+00:00     lolsmileyface   Loi he needs to come up off that
2018-04-30 14:57:27.792000+00:00      jo              ikr
2018-04-30 14:57 :29.800000+00:00     jo              idk his contact
2018-04-30 14:57:31.125000+00:00      lolsmileyface   He owes you what $100k
2018-04-30 14:57:34.918000+00:00      jo              just want my sub and im done lol
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 42 of 82 Page ID
                                   #:592


2018-04-30   14:57:45.182000+00:00    jo              128609.6059
2018-04-30   14:57:45.611000+00:00    jo              $
2018-04-30   14:57:47.226000+00:00    jo              atm
2018-04-30   14:57:48.885000+00:00    lolsmileyface   Well hea{™s scared rn cause everything going on
2018-04-30   14:57:53.837000+00:00    jo              as of .85
2018-04-30 14:57:54.065000+00:00      lolsmileyface   la€™11 tell drew
2018-04-30 14:57:54.510000+00:00      jo              yeah
2018-04-30   14:57:56.484000+00:00    jo              i dont want him
2018-04-30   14:57:57.148000+00:00    lolsmileyface   He woes people@money
2018-04-30   14:57:58.698000+00:00    jo              toi get fucked
2018-04-30   14:57:58.879000+00:00    lolsmileyface   Money ·
2018-04-30   14:58:02.372000+00:00    jo              and lose my mopney
2018-04-30   14:58:02.934000+00:00    jo              Joi
                                                      I was supposed to get $75k lol la{™m not gonna ask for $75k but I
2018-04-30 15:00:58.093000+00:00      lolsmileyface
                                                      mean like $25k of the $75k would be nice av-,
2018-04-30   15:01:09.486000+00:00    jo              at 2.03 rate
2018-04-30   15:01:22.237000+00:00    jo              36945 SUB
2018-04-30   15:01:34.753000+00:00    jo              * .85 = $31,403 .25
2018-04-30   15:01:40.867000+00:00    jo              u supposed to have rn
2018-04-30   15:02:43.177000+00:00    lolsmileyface   Yeah Seymour has almost $800k still lol
2018-04-30   15:02:53.004000+00:00    jo              lol
2018-04-30   15:03:05.152000+00:00    jo              i hope he isnt a pussy
2018-04-30   15:03:06.599000+00:00    jo              or anything
2018-04-30   15:03:09.520000+00:00    jo              or lost the private keys
2018-04-30   15:03:16.072000+00:00    lolsmileyface   He didna{™t LOL
2018-04-30   15:03:19.540000 00:00    jo              good lol
2018-04-30   15:03:25.955000+00:00    jo              last thing i dont wann a hear
2018-04-30   15:03:27.973000+00:00    jo              is him losing it
2018-04-30   15:03i30.964000+00:00    jo              thats just a piss off
                                                      la€™m going to tell drew we can do it the easy way or hard
2018-04-30 15:03:32.822000+00:00      lolsmileyface
                                                      wayav-,
2018-04-30 15:03:41.669000+00:00      jo              lolol
2018-04-30 15:03:47.056000+00:00      lolsmileyface   How much does he owe you
2018-04-30 15:03:53.012000+00:00      lolsmileyface   $$ wise
                                                      151305.418719 Sub to
2018-04-30 15:03:56.229000+00:00      jo
                                                      0xd8f2387cdble8713d0838d173f4846ccae0c6ffl
2018-04-30   15:04:02.965000+00:00    lolsmileyface   Like $100k
2018-04-30   15:04:09. 701000+00:00   jo              $128k
2018-04-30   15:04:09.924000+00:00    lolsmileyface   Usd value
2018-04-30   15:04:19.948000+00:00    lolsmileyface   Okay la{™m going to tell him $150k
2018-04-30   15:04:24.651000+00:00    lolsmileyface   Loi
2018-04-30   15:04:27.367000+00:00    jo              150k why hahahaha
2018-04-30   15:04:36.193000+00:00    jo              me and u combined is
2018-04-30 15:04:52.446000+00:00      jo              160k rn
2018-04-30   15:05:07.710000+00:00    jo              31k for u 128k for me
2018-04-30   15:05:28.899000+00:00.   jo              imma legit exchange my sub @ 1$
2018-04-30   15:05:29.815000+00:00    jo              lol
2018-04-30   15:05:31.475000+00:00    jo              fuck this coin
2018-04-30 15:05:38.320000+00:00      jo              put it all in dgb
2018-04-30 16:08:35.842000+00:00      lolsmileyface   Call me
2018-04-30 19:01:31.810000+00:00      jo              yes?
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 43 of 82 Page ID
                                   #:593

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2018-04-30   21:38:29.368000+00:00     lolsmileyface   Yooooo
2018-04-30   21:38:33.511000+00:00     lolsmileyface   You there
2018-04-30   21:38:37.816000+00:00     jo              yea
2018-04-30   21:38:43.956000+00:00     lolsmileyface   Send me your sub addy
                                                       151305.418719 Sub to
2018-04-30 21:38:52.095000+00:00       jo
                                                       0xd8f2387cdble8713d0838d173f4846ccae0c6ffl
2018-04-30   21:39:09.239000+00:00     lolsmileyface   0xd8f2387cdble8713d0838d173f4846ccae0c6ffl
2018-04-30   21:39: 10.648000+00:00    lolsmileyface   Right
2018-04-30   21:39:13.904000+00:00     jo              ye
2018-04-30   21:40:30.090000+00:00     lolsmileyface   I think he sending some
2018-04-30   21:40:30.865000+00:00     lolsmileyface   Loi
2018-04-30 21:40:38.776000+00:00 jo                    who
2018-04-30 21:40:41.077000+00:00 · jo                  seymour?
2018-04-30 21:40:42.901000+00:00 lolsmileyface         Ye
2018-04-30   21:40:48.952000+00:00     jo              tell him just send my amount
2018-04-30   21:40:50.594000+00:00     jo              he has all of it
2018-04-30   21:40:50.995000+00:00     jo              lol
2018-04-30   21:41:36.667000+00:00     lolsmileyface   Doc
2018-04-30   21:41:42.570000+00:00     lolsmileyface   They are fighting rn
2018-04-30   21:41:43.586000+00:00     lolsmileyface   Loi
2018-04-30   21:41:45. 732000+00:00    jo              why
2018-04-30   21:41:46.238000+00:00     jo              lol
2018-04-30   21:41:46.979000+00:00     lolsmileyfane   Doc and Seymour
2018-04-30   21:41:54.685000+00:00 ·   lolsmileyface   Cause doc giving out money av~,
2018-04-30   21:41:59.915000+00:00     jo              wym
2018-04-30   21:42:01.421000+00:00     jo              to me?
2018-04-30   21:42:03.993000+00:00     jo              fighting over me
2018-04-30   21:42:04.435000+00:00     lolsmileyface   No
2018-04-30   21.,42:04. 35000+00:00    jo              ?
2018-04-30   21:42:05.844000+00:00     jo              oh
2018-04-30   21:42:08.145000+00:00     lolsmileyface   Just in gerneral
2018-04-30   21:42:12.893000+00:00     jo              i mean why
2018-04-30   21:42:15.3070Q0+00:00     jo              its doc's money
2018-04-30   21:42:19.284000+00:00     jo              seymour shouldnt care
2018-04-30   21:43:02.497000+00:00     lolsmileyface   Well i guess Seymour never got paid for the other thing
2018-04-30   21:43:35.312000+00:00     jo              i hope that doesnt prevent him from sending my money
2018-04-30   21:43:35.757000+00:00     jo              lol
2018-04-30   21:43:35.861000+00:00     lolsmileyface   So idk whata€™s going on
2018-04-30   21:43:41.094000+00:00     jo              cuz i was the one to hold the sub ·
2018-04-30   21:43:44.412000+00:00     jo              all Sm
2018-04-30   21:43:47.184000+00:00     lolsmileyface   Thata€™s why docs sending
2018-04-30   21:43:50.287000+00:00     jo              i didnt fuck him over decisions
2018-04-30   21:43:51.266000+00:00     jo              yeah

2018-04-30 21:44:05. 700000+00:00      lolsmileyface
                                                       But hen doc sent you all his cut so Seymour will be owing you
2018-04-30 21:44:11.794000+00:00       lolsmileyface   Did you get any more
2018-04-30 21:44:17.953000+00:00       jo              checking ls
2018-04-30 21:45:08.509000+00:00       jo              nothing yet
2018-04-30 21:45:08.924000+00:00       jo              lol
2018-04-30 21:51:28.166000+00:00       lolsmileyface   Lmk if you get any
2018-04-30 21:51:43.543000+00:00       jo              who sending
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 44 of 82 Page ID
                                   #:594


2018-04-30 21:51:45.542000+00:00      jo              seymour or doc?
2018-04-30 21:51 :46.817000+00:00     jo              lol
2018-04-30 21:51:57.723000+00:00      lolsmileyface   Doc
2018-04-30 21:52:02.471000+00:00      jo              wtf
2018-04-30 21:52:03.427000+00:00      lolsmileyface   Cause Seymour being a dick
2018-04-30   21:52:05.459000+00:00    jo              why is doc sending
2018-04-30   21:52 :07.076000+00:00   lolsmileyface   Call me
2018-04-30   21:52:07.790000+00:00    jo              fuck seymour man
2018-04-30   21:52:08.131000+00:00    lolsmileyface   Loi
2018-04-30   21:s2:11.••••o           jo              seymour is being a BITCH
2018-04-30   21:52 :12.540000+00:00   jo              legit
2018-04-30   21:52:23.495000+00:00    lolsmileyface   Skype call me quick
2018-04-30   21:52:30.196000+00:00    lolsmileyface   I gotta tell you something else lol
2018-04-30   21:52:37.263000+00:00    jo
2018-05-01 01:13:48.978000+00:00      lolsmileyface   You here
2018-05-01 0l:20:49.577000+00:00      jo              ye
2018-05-01 01:21:04.873000+00:00      lolsmileyface   Search we leak for me
2018°05-01 01:21:09.356000+00:00      jo              ok
2018-05-0101:21:25 .115000+00:00      lolsmileyface   The_good_professer
2018-05-01 01:21:31.672000+00:00      lolsmileyface   Should be a MySpacea€™s pw
                                                      Username: the_good_professor
                                                      Email: contiveros@idlOterrorstudio.com
2018-05-01 01:22:18.418000+00:00      jo
                                                      Hash:2F77A250B04E7C390270402FB42033102B28B071
                                                      Decrypted Hash: qwerty12
2018-05-01 01:24:37.922000+00:00      lolsmileyface   Search contiveros@gmail
  Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 45 of 82 Page ID
                                    #:595



                                                    Email: contiveros@gmail.com
                                                    First: caries
                                                    Last: ontiveros
                                                    Address: 12200 overbrook In #33d
                                                    Phone: 281-630-0330
                                                    Sc Daily Phone SpamlistCopy to Clipboard
                                                    Email: contiveros@gma il.com
                                                    First: caries
                                                    Last: ontiveros
                                                    Address: 12200 overbrook In #33d
                                                    Phone: 2816300330
                                                    Email Name Database(Unknown)Copy to Clipboard
                                                    Email: contiveros@gmail.com
2018-05-01 01:24:57.638000+00:00    jo              First: CARLOS
                                                    Last: ONTIVEROS
                                                    Adobe.comCopy to ClipboardCrack Hash
                                                    Email: contiveros@gmail.com
                                                    Hash: vQBTJVapb/lioxG6CatHBw==
                                                    Password: porter##
                                                    Kylesdata(dailyfeed) 2015Copy to Clipboard
                                                    Email : contiveros@gmail.com
                                                    Registered IP: 107.77.94.113
                                                    First: Alonzo
                                                    Last: Faison
                                                    Address: ,Atlanta,GA,
                                                    Sc Daily Phone SpamlistCopy to Clipboard
                                                    Email : contiveros@gmail.com
·2018-05-01 01:28:48.400000+00:00   lolsmileyface   contiveros@idlOterrorstudio.com
 2018-05-01 01:28:50.663000+00:00   lolsmileyface   Try that
                                                    MySpace.com June-2013Copy to Clipboard
                                                    Username: the_good_professor
                                                    Email : contiveros@idlOterrorstudio.com
                                                    Hash:2F77A250B04E7C390270402FB42033102B28B071
2018-05-01 01:29:01.399000+00:00    jo
                                                    Decrypted Hash: qwerty12
                                                    Exploit.in CompilationCopy to Clipboard
                                                    Email : contiveros@idlOterrorstudio.com
                                                    Password: qwerty12
2018-05-01 01:31:19. 790000+00:00   lolsmileyface   Conti@email .arizona.edu
2018-05-01 01:43 :20.191000+00:00   lolsmileyface   Att ready
2018-05-01 01:47:02.722000+00:00    lolsmileyface   Yooooo
2018-05-01 01:49:59.936000+00:00    jo              where maj at
2018-05-01 01:50:00.545000+00:00    jo              lol
2018-05-01 01:50:11.675000+00:00    lolsmileyface   No idea Imo
2018-05-0101:50:17.218000+00:00     lolsmileyface   Where he go
2018-05-0115:34:19.756000+00:00     lolsmileyface   Hey
2018-05-0115:34:24.769000+00:00     jo              Yo
2018-05-0l 15:34:39.184000+00:00    lolsmileyface   We have an idea for gmail
2018-05-0115 :35 :03.534000+00:00   jo              Reset via Lte? Loi
2018-05-0115:35:12.785000+00:00     lolsmileyface   Have the att guy do it in store
2018-05-0115:35 :21.036000+00:00    jo              Na
2018-05-0115:35:22. 763000+00:00    jo              Fuck that
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 46 of 82 Page ID
                                   #:596


2018-05 -0115:35:24.338000+00:00       jo              Loi
2018-05-0115:35:26.113000+00:00        lolsmileyface   Why
2018-05-0115:35:31.304000+00:00        jo              Therea€™s no differenxe
2018-05-0115:35:31.474000+00:00        lolsmileyface   They are all brand new phones
2018-05-0115:35:39.507000+00:00        jo              Lmao

2018-05-0115:35:4 7.933000+00:00       lolsmileyface
                                                       They are brand new no search history no email history nothing
2018-05-0l 15:35:54.625000+00:00       jo ·            ldk
2018-05-0l 15:35:56.967000+00:00       jo              Fuck that tho
2018-05-0115:37:52.732000+00:00        lolsmileyface   Might work
2018-05-0115:37:59.985000+00:00        lolsmileyface   Brand new fresh browsers and shit
2018 -05-0115 :38:05.892000+00:00      jo              Maybe idk
2018-05-0115:52 :16.565000+00:00       jo              Dude shit going down
2018-05-0115:52:18.284000+00:00        jo              Sub too
2018-05-0l 15:52:19.137000+00:00       jo              Loi
2018-05-0115:52:21.736000+00:00        jo              Fml
2018-05-0l 15:52:27.112000+00:00       jo              Fuck@seymour
2018-05-0l 15:52:29.428000+00:00       jo              Ffs
2018-05-0117:50:35.051000+00:00        lolsmileyface   Do we have anymore ayy
2018-05-0117:50:36. 761000+00:00       lolsmileyface   Att
2018-05-0117:52:19.823000+00:00        jo              Ndt rn
2018-05-0117:55:43.173000+00:00        lolsmileyface   What about the contacts from last night
2018-05-0117:59:50.063000+00:00        jo              Na fuck those
2018-05-0117:59:55.156000+00:00        jo              Theya€™re Gay
2018-05-0118 :01:30.726000+00:00       lolsmileyface   Really
2018-05-01 22:06:37.368000-i>00:00     lolsmileyface   Yooo
2018-05-01 23:18:23 .564000+00:00      jo              Yo
2018-05-01 23:24:18.947000+00:00       lolsmileyface   We ever hit Nam Le?
2018-05-01 23:26:45.813000+00:00       jo              ldk him lol
2018-05-0123:29:04.757000+00:00        lolsmileyface   Good hit we need 14
                                                       714-915-0872
                                                       1439 charleston st
2018-05-01 23:29:30.647000+00:00       lolsmileyface
                                                       Tustin, CA 92782
                                                       https://twitter.com/Nam_Le
2018-05-01   23 :29:39. 785000+00:00   lolsmileyface If you .m can search it
2018-05-01   23:29:47.129000+00:00     jo              That guys names way too common
2018-05-01   23:29:48.246000+00:00     jo              Loi
2018-05-01   23 :29:52.924000+00:00    jo              la€™11 search him in ssndob
2018-05-01   23:29:55.217000+00:00     jo              Whata€™s his age
2018-05-01   23:30:08.414000+00:00     lolsmileyface   Uhh idk
2018-0S-01   23:30:22.232000+00:00     lolsmileyface . Loi
2018-05-01   23 :30:26.561000+00:00    jo              la€™11 look him up when la€™m home
2018-05-01   23:30:27.520000+00:00     jo              Loi
2018-05-01 23:32:01.540000+00:00       lolsmileyface   He played poker lol
2018-05-01 23 :44:30.025000+00:00      jo              Yo tell doc to tell Seymour to give me my sub he has 7 days

2018-05-01 23:44:41.032000+00:00       jo
                                                       Or la€1"'m going to swat his ass and ruin his life every single day
2018-05-02 02:29:17.601000+00:00       jo              u there?
2018-05-02 02:29:22.218000+00:00       lolsmileyface   Hey
2018-05-02 02:29:28.718000+00:00       jo              u still need ssn>
2018-05-02 02:29:31.586000+00:00       lolsmileyface   Yes
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 47 of 82 Page ID
                                   #:597


2018-05-02 02:29:32.884000+00:00      lolsmileyface   Loi
2018-05-02 02:39:02.254000+00:00      jo              not on there
2018-05-02 02:39:05.700000+00:00      jo              unless his dob is 1955
2018-05-02 02:40:53.605000+00:00      lolsmileyface   Nah hea('"'s young.
2018-05-02   02:40:55.960000+00:00    lolsmileyface   20s
2018-05-02   02:41:02.195000+00:00    jo              not there
2018-05-02   02:41:02. 753000+00:00   jo              lol
2018-05-02   12:20:58.561000+00:00    lolsmileyface   He said he has a good ass hit
2018-05-02   12:20:59.952000+00:00    jo              gemini ceo
2018-05-02   12:21:01.699000+00:00    lolsmileyface   On T-Mobile lol
2018-05-02 12:21:03.191000+00:00      jo              the brothers
2018-05-02 12:21:05.800000+00:00      jo              one of them
2018-05-02 12:21:07.719000+00:00      jo              he wantsd to do
2018-05-02   12:21:0s.•••aio          lolsmileyface   Is he 2fa
2018-05-02   12:21:09.838000+00:00    jo              its pointless
2018-05-02   12:21:10.440000+00:00    jo              yes
2018-05-02   12:21:14.457000+00:00    jo              he has 2fa everywhere
2018-05-02   12:21:14.480000+00:00    lolsmileyface   Wtflol
2018-05-02 12:21:16.629000+00:00      jo              hes not an idiot
2018-05-02 12:21:17.499000+00:00      lolsmileyface   Hea(™s dumb lol
2018-05-02   12:21:24.109000+00:00    jo              even huis skype
2018-05-02   12:21:25.932000+00:00    jo              no back up#
2018-05-02   12:21:36.389000+00:00    jo              yahoo bacdkup of his gmail
2018-05-02   12:21:38.945000+00:00    jo              hes fucking smart
2018-05-02   12:21:39.728000+00:00    jo              lol
2018-05-02   12:21:53.916000+00:00    lolsmileyface   What if we take yahoo
2018-05-02   12:21:57.472.000+00:00   jo              we cant
2018-05-02   12:21:57.991000+00:00    jo              lol
2018-05-02   12:22:01.657000+00:00    jo              no phone# linked
2018-05-02   12:22:08.434000+00:00    jo              he doenst have any number of his
2018-05-02   12:22:10.095000+00:00    jo              linked at all
2018-05-02   12:22:20.847000+00:00    lolsmileyface   Jfc
                                                      12138045376 / T-Mobile USA, Inc.-> MICAH DUSTIN
2018-05-02 12:22:37.330000+00:00      jo              WINKELSPECHT // Sep. 19, 1981 //Founder of GEM//
                                                      skype :winkelspecht // micahwinkelspecht@gmail.com
                                                      (2fa) // micahwinkelspecht@yahoo.com //
2018-05-02 12:22:48.409000+00:00      jo
                                                      winkelspecht@gmail.com (pointless target)
2018-05-02   12:23:40.285000+00:00    jo              i tyake my words back
2018-05-02   12:23:42.815000+00:00    lolsmileyface   He said he had a good one lol
2018-05-02   12:23:44.274000+00:00    jo              we can get the skype yes
2018-05-02   12:23:48.487000+00:00    jo              for that guy
2018-05-02   12:23:51.441000+00:00    jo              thats al lwe can get
2018-05-02   12:23:51.800000+00:00    jo              lol
2018-05-02 12:23:53.179000+00:00      jo              that skype
2018-05-02 12:24:02.561000+00:00      lolsmileyface   Is it his personal or
2018-05-02 12:24:06.193000+00:00      lolsmileyface   The gem Skype
2018-05-02 12:24:06.622000+00:00      jo              and maybe telegram
2018-05-02 12:24:07.667000+00:00      jo              yes
2018-05-02 12:24:11.309000+00:00      jo              it might be good
2018-05-02 12:24:12.701000+00:00      jo              to se people
2018-05-02 12:24:16.589000+00:00      jo              or get more targets
     Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 48 of 82 Page ID
                                       #:598


    2018-05-02   12:24:20.047000+00:00     jo              remember ... hes the CEO
    2018-05-02   12:24:21.454000+00:00     jo              of gemini
    2018-05-02   12:24:25.899000+00:00     lolsmileyface   I guess wea€™11 never know unless we try it right LOL
    2018-05-02   12:24:26.904000+00:00     jo              and a billionaire
    2018-05-02   12:24:29.378000+00:00     jo              from bbitcoin
    2018-05-02   12:24:30.093000+00:00     jo              yes
    2018-05-02   12:24:33.117000+00:00     jo              lets do this guy
    2018-05-02   12:24:34.082000+00:00     jo              later
    2018-05-02   12:24:37.374000+00:00     jo              we juist hacking his skype
    2018-05-02   12:24:38.454000+00:00     lolsmileyface   Hea€™s T-Mobile
    2018-05-02   12:24:40.718000+00:00     jo              yes
    2018-05-02   12:24:45.441000+00:00     jo              maybe high security though
    2018-05-02   12:24:46.223000+00:00     jo              i bet
    2018-05-02   12:24:48.797000+00:00     lolsmileyface   Ok let me ask my guy
    2018-05-02 12:24:52.692000+00:00 jo                    go have ur guy. check II
    2018-05-02 14:58:11.506000+00:00 jo                    Jojo#5887
    2018-05-02 14:58:13.864000+00:00 jo                    add him
    2018-05-02 14:58:25.429000+00:00 jo                    lol
    2018-05-02 15:25:36.114000+00:00 lolsmileyface         Jojo#5887
    2018-05-02 15:25:55.283000+00:00 lolsmileyface         <@159387560962031616>jo#S888
    2018-05-02 15:52 :01.570000+00:00 lolsmileyface        I added him
    2018-05-03 03:02:07.496000+00:00 , lolsmileyface       0xff48b8bbc0dd64b7bed27af2e5a63d92466cfdde
    2018-05-03 03:38:06.016000+00:00 lolsmileyface         Finally man
    2018-05-03 03:38:11.149000+00:00 lolsmileyface         Back to where I use to be lol
    2018-05-03 03:38:23.388000+00:00 lolsmileyface         No more@spending drastically like I did lol
    2018-05-03 03:38:29.304000+00:00 • jo                  lets go to hawiaii
    2018-05-03 03:38:30.385000+00:00 jo                    with doc
    2018-05-03 03:38:32.186000+00:00 jo                    hahahaha
    2018-05-03 03:38:41.456000+00:00 lolsmileyface         I will. I have my my. Job though.

    2018-05-03 03:39:06.180000+00:00       lolsmileyface
                                                             la€™11 start exchanging manually tomorrow if Corey dona€™t reply
    2018-05-03 03:39:24.587000+00:00       jo               yeah
    2018-05-03 03:39:40.479000+00:00       lolsmileyface     How much of a cut is fair to exchange? like $10k?
    2018-05-03 03:39:46.842000+00:00       jo                depeends
    2018-05-03 03:39:48.941000+00:00       jo              · what his rate is
    2018-05-03 03 :52 :38.703000+00:00     lolsmileyface     Okay sounds good man. la€™m going to go to bed PCE BRO!

    2018-05-03 03:52:50.152000+00:00       lolsmileyface
                                                           If he cana€™t help tomorrow la€™11 just start doing it manually
    2018-05-03   03:52:51.842000+00:00     lolsmileyface   Haha
    2018-05-03   04: 15:53.94 7000+00:00   jo              hmu lol
    2018-05-03   04:15:55.480000+00:00     jo              ill help
    2018-05-03   11:45:10.287000+00:00     lolsmileyface   Good morning brother

    2018-05-03 12:33:10.543000+00:00       lolsmileyface
                                                           Corey dona€™t use snap no more lol idk how to contact him
    2018-05-03 13:46:43 .867000+00:00      jo              Loi idk
    2018-05-03 13:46:48.854000+00:00       jo              la€™m waiting for his sky or reply
    2018-05-03 13:46:51.397000+00:00       jo              Skype
                                                           If he doesna€™t reply then I guess I get off at four and la€™11 start


I
    2018-05-03 13:57:48.247000+00:00       lolsmileyface
                                                           shape shift
    2018-05-03 13:57:52.083000+00:00       lolsmileyface   lmao
  Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 49 of 82 Page ID
                                    #:599


                                                        Send me the ether addy where my cut is. I wanna see t go up and
 2018-05-03 14:00:12.683000+00:00       lolsmileyface
                                                        down lol
 2018-05-03    14:09:14.366000+00:00    jo              Not home rn lol
 2018-05-03    14:09_:18.051000+00:00   jo              lta€™s on my ledger
 2018-05-03    14:10:15.545000+00:00    jo              lmma send u all the funds tbh
 2018-05-03    14:10:16.669000+00:00    jo              Loi
 2018-05-03    14:10:25.493000+00:00    jo              Just make a mew wallet
 2018-05-03    14:24:51.386000+00:00    lolsmileyface   I will. I just scared ita€™11 get locked
 2018-05-03    14:26:16.133000+00:00    jo              IT WONT GET LOCKED
 2018-05-03    14:26:17.969000+00:00    jo              STOP LOL
 2018-05-03    14:26:20.336000+00:00    jo              FFS
 2018-05-03    14:26:22.918000+00:00    jo              av~, av~, av~, av~,
 2018-05-03    14:37:09.364000+00:00    lolsmileyface   Okay okay lol
 2018-05-03    15:22:00.656000+00:00    jo              x wanna do hits with us lol
 2018-05-03    15:22:02.669000+00:00    jo              with ur plug
 2018-05-03    15:22:04.964000+00:00    jo              he got a verizon
 2018-05-03    15:22:08.759000+00:00    jo              xzavyer
 2018-05-03    15:22:25.317000+00:00    lolsmileyface   Fuck him he never answers me
 2018-05-03    15:22:28. 769000+00:00   lolsmileyface   Tell him I said that oto
 2018-05-03    15:22:30.190000+00:00    lolsmileyface   Too
 2018-05-03    15:22:36.827000+00:00.   jo              ill let him know lol
 2018-05-03    15:22:46.554000+00:00    jo              he doesnt have any connects for usre
 2018-05-03    15:22:50.017000+00:00    jo              so hes willing to split
 2018-05-03    15:23:06.995000+00:00    lolsmileyface   Last hit I did my cut happen to get locked in a exchange lol
 2018-05-03    15:23:12.871000+00:00    lolsm,leyface   His exchange
 2018-05-03    15:23:35.463000+00:00    lolsmileyface   Where you talking to him at
 2018-05-03    15:23:40.569000+00:00    jo              texting him
 2018-05-03    15:23:41.886000+00:00    jo              lol
 2018-05-03    15:23:44.855000+00:00    jo              he just added me
 2018-05-03    15:23:47.761000+00:00    lolsmileyface   Loi wtH
 2018-05-03    15:23:49.220000+00:00    jo              on discord
 2018-05-03    15:23:54.851000+00:00    lolsmileyface   Make chat
 2018-05-03    15:23:56.007000+00:00    jo              u want me to add u in a group chat with him?
 2018-05-03    15:23:56.886000+00:00    jo              iigt
 2018-05-03    15:26:19.297000+00:00    lolsmileyface   Lolol
 2018-05-03    15:26:57.767000+00:00    jo              lol
                                                        He tells me to follow him and I follow him and he dona€™t even
 2018-05-03 15:29:38.331000+00:00       lolsmileyface
                                                        follow back lmao
  2018-05-03   15:29:42.347000+00:00    lolsmileyface   Like this guy
  2018-05-03   15:29:48.393000+00:00    jo              i do exchanges for ihm
  2018-05-03   15:29:51.918000+00:00    jo              we cool and stuff
  2018-05-03   15:30:00.727000+00:00    lolsmileyface   We use to be cool lol
· 2018-05-03   15:30:06.943000+00:00    lolsmileyface   Then he just stopped hitting me up
  2018-05-03   15:30:34.434000+00:00    jo              surprised he has no binances
  2018-05-03   15:30:34.978000+00:00    jo              lol
  2018-05-03   15:34:45.224000+00:00    lolsmileyface   Coner said shapeshifter to xmr then xmr to btc
  2018-05-03   16:02:27.570000+00:00    lolsmileyface   Does that sound right
  2018-05-03   16:18:00.413000+00:00    jo              Yes
                                                        Soi guess we can just start exchanging for xmr then send to your
 2018-05-03 16:51:21.008000+00:00       lolsmileyface
                                                        xmr then btc?
 2018-05-03 16:54:02.578000+00:00       jo              I guess yeah
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 50 of 82 Page ID
                                   #:600


2018-05-03 17:12:50.272000+00:00      lolsmileyface   Okay cool when I get off at 4 la€™11 start lol
2018-05-03 18:02:04. 714000+00:00     jo              yo imma start cleaning eth to xmr
2018-05-03 18:02:05.527000+00:00      jo              kk?
2018-05-03 18:03:49.802000+00:00      lolsmileyface   Please lol
2018-05-03 18:09: 11.634000+00:00     lolsmileyface   la€™11 probably want to split it between btc and eth
2018-os·-03 18:10:05 .343000+00:00    jo              doing xmr first
2018-05-03 18:10:25.032000+00:00      jo              then ur responsible for exchanging
2018-05-03 18:10:27.573000+00:00      jo              xmr is easy
2018-05-03 18:10:28.869000+00:00      jo              to exchange
2018-05-03   18:10:29.•••111>0        jo              lol
2018-05-03   18:10:35.462000+00:00    jo              with alegit binance
2018-05-03   18:18:09.786000+00:00    lolsmileyface   Your binance lol.
2018-05-03   18:18:12.191000+00:00    lolsmileyface   a~Q·i.a-Q(
2018-05-03 18:18:17.625000+00:00      jo              hell no
2018-05-03 18:18:21.981000+00:00      jo              i dont want anything in my binance lol
2018-05-03 18:18:25.840000+00:00      jo              i fucked up
                                                      How tf do I exchange XMR lol I dona€™t even have a wallet to hold
2018-05-03 18:18:41.486000+00:00      lolsmileyface
                                                      it
2018-05-03   18: 18:42.488000+00:00   lolsmileyface   Lmao
2018-05-03   18:18:46.190000+00:00    jo              lol
2018-05-03   18:18:46.702000+00:00    jo              idk
2018-05-03   18:18:50.847000+00:00    jo              its xmr though
2018-05-03   18:18:52.144000+00:00    jo              so
2018-05-03   18:23:48.569000+00:00    lolsmileyface   Thanks lol
2018-05-03 18:25:13.024000+00:00      jo              this is fast as i thought it was
2018-05-03 18:25:19.270000+00:00      jo              but idk hopw much will it result total
2018-05-03   18:25:19.807000+00:00    jo              lol
2018-05-03   18:25:22.194000+00:00    jo              doing this
2018-05-03   18:58:19.593000+00:00    lolsmileyface   Can I do it on bittrex
2018-05-03   18:58:23.797000+00:00    lolsmileyface   Or has to be binance
2018-05-03   18:58:29.047000+00:00    jo              bittrex too
2018-05-03   18:58 :29.401000+00:00   jo              yes
2018-05-03   18:58:35.593000+00:00    jo              bro im tired doing this
2018-05-03   18:58:36.088000+00:00    jo              lol
2018-05-03   18:58:43.616000+00:00    lolsmileyface   Is it taking a lot out?
                                                      https ://eth pl ore r. io/add ress/0x2084 7a0823 23603d86407 d 3733fl
2018-05-03 18:58:51.109000+00:00      jo
                                                      6f4357falbb7
                                                      https:// etherscan .io/add ress/0x2084 7a082323603d86407d3733fl
2018-05-03 18:58:59.054000+00:00      jo
                                                      6f4357falbb7
2018-05-03   18:59 :32.672000+00:00   lolsmileyface   $816k
2018-05-03   18:59 :33.522000+00:00   lolsmileyface   Loi
2018-05-03   18:59:53 .796000+00:00   lolsmileyface   How much did you exchange so far
2018-05-03   19:02: 14.663000+00:00   lolsmileyface   Good news I have a bittrex with lO0btc limit
2018-05-03 19:02:26.706000+00:00      lolsmileyface   Just have to get the xmr av~,
2018-05-03 19:02:33.165000+00:00      lolsmileyface   $816k to go LMAO
2018-05 -03 19:02:54.539000+00:00     jo              make srue to have a new eth addy
2018-05-03 19:03:02.023000+00:00      jo              stop using the same one with big balcne
2018-05-03 19:03:03.690000+00:00      jo              balance
2018-05-03 19:03:23.645000+00:00      lolsmileyface   la€™m going to gets new Jaxx account after this

2018-05-03 19:03 :59.774000+00:00     lolsmileyface
                                                      And la€'"m just going to hold the btc and eth in it thata€™s all
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 51 of 82 Page ID
                                   #:601


2018-05-03   19:06:01.377000+00:00   lolsmileyface
2018-05-03   19:06:47.992000+00:00   jo
2018-05-03   19:11:35.862000+00:00   lolsmileyface   Billy said use changely?
2018-05-03   19:11:45.410000+00:00   jo              i am but its fucking slow too
2018-05-03   19:12:26.750000+00:00   lolsmileyface ' He said do it in like 3txs
2018-05-03   19:14:56.111000+00:00   lolsmileyface He said do $250k transactions lol on changely
2018-05-03   19:15:19.536000+00:00   jo              250K
2018-05-03   19:15:22.260000+00:00   jo              UR fucking high dude
                                                     Waiting for your payment?
                                                     Exchange deposit is being confirmed by the
                                                     blockchain. Waiting for your money to come.


2018-05-03 19:15:28.392000+00:00     jo              Exchanging?
                                                     Exchanging at the best rate. Please, wait!
                                                     Sending to your wallet?
                                                     Your money has been exchange . Blo6kchain is
                                                     confirming your transaction.
2018-05-03   19:15:35.111000+00:00   jo              BEEN LIKE THIS FOR 40 MINUTES
2018-05-03   19:15:36.989000+00:00   jo              for l0ETH
2018-05-03   19:15:39.288000+00:00   lolsmileyface   LOL
2018-05-03   19:15:52.690000+00:00   lolsmileyface   I said $50k and billy said 250k lol
2018-05-03   19:16:48.108000+00:00   lolsmileyface   He did 300k at a time for the dash
2018-05-03   19:17:35.579000+00:00   lolsmileyface   It takes like an hour or so but it goes through he said
2018-05-03   19:17:45.940000+00:00   jo              k i do 100k next

2018-05-03 19:18:05.114000+00:00     lolsmileyface
                                                     To be safe yeah fu<lk that I old him hea{™s high for 300k lol
2018-05-03   19:18:07.200000+00:00   lolsmileyface   Thata€'"'s   SUS
2018-05-03   19:18:09.096000+00:00   lolsmileyface    v-,
2018-05-03   20:09:42.843000+00:00   lolsmileyface   How can I help
2018-05-03   20:26:28.079000+00:00   jo              id lool
2018-05-03   20:26:28.741000+00:00   jo              idk
2018-05-03   20:26:29.411000+00:00   jo              *
2018-05-03   20:52:32.159000+00:00   lolsmileyface   What you want me to do
2018-05-03   20:54:11.742000+00:00   lolsmileyface   Where can I store eth on mobile
2018-05-03   20:54:31.314000+00:00   lolsmileyface   Did you try the 100k on changely
2018-05-03   21:08:21.585000+00:00   lolsmileyface   Hey
2018-05-03   22:17:50.834000+00:00   lolsmileyface   Doc mad
2018-05-03   22:24:21.215000+00:00   jo              Yyo
2018-05-03   22:24:24.572000+00:00   jo              My bad lol
2018-05-03   22:24:26.926000+00:00   jo              Was knocked out
2018-05-03   22:24:34.581000+00:00   jo              ZZZz
2018-05-03   22:24:39.197000+00:00   lolsmileyface   Nap time is okay
                                                     But doc was mad for something idk what. He thfnks we did a sub
2018-05-03 22:26:03. 716000+00:00    lolsmileyface
                                                     targ lol
2018-05-03 22:27:31.408000+00:00     jo              sub target lol
2018-05-03 22:27:33.838000+00:00     jo              i want my sub
2018-05-03 22:27:35.655000+00:00     jo              av~,,
2018-05-03 22:27:37.186000+00:00     jo              hahahahahaha
2018-05-03 22:27:48.571000+00:00     jo              send me yo eth addy
2018-05-03 22:27:50.939000+00:00     jo              imma send u some
2018-05-03 22:27:55.577000+00:00     jo              i gotta head the gym soon
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 52 of 82 Page ID
                                   #:602


2018-05-03 22:28:51.815000+00:00      lolsmileyface   Is it clean
2018-05-03 22:29:17.415000+00:00      lolsmileyface   Clean eth
2018-05-03 22:33:07 .838000+00:00     jo              no
2018-05-03 22:33:10.625000+00:00      jo              the dirty
2018-05-03 22:33:11.352000+00:00      jo              lol
2018-05-03   22:33:19.907000+00:00    jo              imma also try 150k chanelly
2018-05-03   22:33:25.918000+00:00    jo              changelly
2018-05-03   22:33:26.571000+00:00    jo              lol
2018-05-03   22:33:31.052000+00:00    lolsmileyface   lta€™s dirty eth
2018-05-03   22:33:34.992000+00:00    jo              yes
2018-05-03   22:33:48.297000+00:00    lolsmileyface   Should I just do my Jaxx
2018-05-03   22:33:52.244000+00:00    jo              no
2018-05-03   22:33:52.876000+00:00    jo              lol
2018-05-03   22:33:54.030000+00:00    jo              make a mew
2018-05-03   22:33:55.448000+00:00    jo              on laptop ·
2018-05-03   22:34:00.057000+00:00    jo              or a new eth address
2018-05-03   22:34:05.328000+00:00    jo              somethjing co,mpletely diofferent
2018-05-03   22:34:10.512000+00:00    jo              than ur eth address
2018-05-03   22:34:16.045000+00:00    lolsmileyface   Shquld I make a Jaxx on my other phone LTE
2018-05-03   22:34:21.556000+00:00    jo              yea
2018-05-03   22:35:27.181000+00:00    lolsmileyface   Okay doing rn
2018-05-03   22:36:33.818000+00:00    lolsmileyface   la€'"11 just make a mew tonight
2018-05-03   22:36:36.215000+00:00    lolsmileyface   Loi
2018-05-03   22:36:51.438000+00:00    jo              https://changelly.com
2018-05-03   22:36:52.154000+00:00    lolsmileyface   Do you have any of it cleaned
2018-05-03   22:36:53.014000+00:00    jo              u do this
2018-05-03 22:36:56.317000+00:00      jo              tonightr
2018-05-03   22:36:56.905000+00:00    jo              nope
2018-05-03   22:37:00.125000+00:00    jo              only xmr
2018-05-03   22:37:00.734000+00:00    jo              atm
2018-05-03   22:37:09.459000+00:00    jo              355
2018-05-03   22:37:17.168000+00:00    lolsmileyface   Okay thata€™s fine

2018-05-03 22:38:32.758000+00:00      lolsmileyface
                                                      Changely will allow us to do ether to xmr then xmr to whateve?
2018-05-03   22:38:40.417000+00:00    jo              yeah
2018-05-03   22:38:46.345000+00:00    jo              but send the xmr
2018-05-03   22:38:48.524000+00:00    jo              to a wallet first
2018-05-03   22:38:54.375000+00:00    jo              then send to 3 DIFFERENT wallets
2018-05-03   22:39:02.086000+00:00    jo           . THEN exchange to Ethereum
2018-05-03   22:39:09.249000+00:00    lolsmileyface la€™11 need your help lol with that part
2018-05-03   22:39:13.973000+00:00    jo             yes lol
2018-05-03   22:39:27 .956000+00:00   lolsmileyface Ok la€™11 be on tonight to do it ov~,
2018-05-03   22:39:42.897000+00:00    jo             just exchange eth to xmr
2018-05-03 22:39:44.333000+00:00      jo             all of it
2018-05-03 22:39:45.165000+00:00      jo              ur job
2018-05-03 22:39:47.644000+00:00      jo              right there
2018-05-03 22:39:48.098000+00:00      jo              lol
2018-05-03 22:56:13.145000+00:00      lolsmileyface   My job! GOT IT
2018-05-03 23:00:44.081000+00:00      lolsmileyface   Call me
2018-05-03 23:00:55.901000+00:00      jo
2018-05-03 23:07:17.145000+00:00      lolsmileyface   Send me a fucking picture of the dash please
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 53 of 82 Page ID
                                   #:603


2018-05-03 23:07:25.490000+00:00     jo              wheres doc
2018-05-03   23:07:27.507000+00:00   jo              IMMA LINK him
2018-05-03   23:07:29.175000+00:00   jo              the blockchain
2018-05-03   23:07:47.373000+00:00   lolsmileyface   Link me please
2018-05-03   23:22:43.135000+00:00   lolsmileyface   Doc Literally thinks were lying
2018-05-03   23:22:47.433000+00:00   jo              link me
2018-05-03   23:22:49.387000+00:00   jo              the xat
2018-05-03   23:22:49.970000+00:00   jo              lol
2018-05-03   23:22:51.356000+00:00   jo              cmon
2018-05-03   23:23:01.360000+00:00   lolsmileyface   Xat.com/fort
2018-05-03   23:23:26.i33000+00:00   jo              where is he
2018-05-03   23:23:26.600000+00:00   jo              lol
2018-05-03   23:24:58.841000+00:00   jo              dent tell him who we did
2018-05-03   23:25:03.291000+00:00   jo              thats NONE of his business
2018-05-03 23:25:07.278000+00:00     jo              legit
2018-05-03 23:25:12.826000+00:00     jo              only 5 of us know
2018-05-03 23:25:16.496000+00:00     jo              no one out of space does
2018-05-03 23:35:30.581000+00:00     lolsmileyface   I dona€™t even know who it was LOL
2018-05-04 00:27:57.616000+00:00     lolsmileyface   Dude Corey replied. $100k la€™m not paying $100k LOL
2018-05-04 00:28:05.032000+00:00     jo              oh
2018-05-04 00:28:08.271000+00:00     jo              how much corey wants
2018-05-04 00:28:18.029000+00:00     lolsmileyface   $100k Cory said
2018-05-04 00:28:22.872000+00:00     lolsmileyface   Loi fuck that
2018-05-04 00:28:33. 774000+00:00    jo              oh lol
2018-05-04 00:29:40.567000+00:00     lolsmileyface   I have my irl who will do for lbtc lol
2018-05-04 00:29:45.993000+00:00     jo              oh
2018-05-04 00:29:48.216000+00:00     lolsmileyface   Just need tog t the xmr
2018-05-04 00:30:16.053000+00:00     lolsmileyface   Once I get xmr ita€™s easy
2018-05-04 00:33:13.931000+00:00     jo              yo
2018-05-04 00:33:16.159000+00:00     jo              u want corey doing it
2018-05-04 00:33:18.029000+00:00     jo              for l00k?
2018-05-04 00:33:19.759000+00:00     jo              yes or no?
2018-05-04 00:33:24.163000+00:00     jo              cuz im chatting with him rn
2018-05-04 00:33:36.688000+00:00     lolsmileyface   la€™U snap him back
2018-05-04 00:33:59.707000+00:00     lolsmileyface   lafl"'m not paying 100k lol
2018-05-04 00:34:27.628000+00:00     jo              hes not doing it
2018-05-04 00:34:31.328000+00:00     jo              unless 10k
2018-05-04 00:34:40.024000+00:00     jo              100*
2018-05-04 00:35:01.527000+00:00     lolsmileyface   I told him no. Once I get the xmr I can just use my irl
2018-05-04 00:35:58.848000+00:00     jo              well then imma send ur eth
2018-05-04 00:36:00.228000+00:00     jo              all of it
2018-05-04 00:36:02.475000+00:00     jo              okay?
2018-05-04 00:36: 11. 762000+00:00   lolsmileyface   Thata€'"'s fine yeah. Just let me get home
2018-05-04 00:36:21.490000+00:00     lolsmileyface   I can use your xmr addy still right
2018-05-04 00:36:27. 754000+00:00    jo              sure
2018-05-04 00:37:35.555000+00:00     lolsmileyface   Okay cool
2018-05-04 00:40:58. 715000+00:00    lolsmileyface   Hey
2018-05-04 00:41:06.672000+00:00     jo              eth addy?
2018-05-04 00:41: 11. 761000+00:00   lolsmileyface   Youa€'"'11 do it with Corey f~r me
2018-05-04 00:41: 15. 700000+00:00   lolsmileyface   Like small amount
2018-05-04 00:41:17.756000+00:00     jo              what?!?!?!
         Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 54 of 82 Page ID
                                           #:604


        2018-05-04 00:41:20.077000+00:00        jo              so u want corey?



I
        2018-05-04 00:41:23.072000+00:00        jo              i dont fucking understand
        2018-05-04 00:41:25.384000+00:00        jo              100k for corey?
        ,o,•-o•-04 00,41'25.4 790DO•0O,00
        2018-05-04 00:41:37.753000+00:00
                                                lolsmileyface
                                                lolsmileyface
                                                                la€™m talking to him now
                                                                la€™m gonna try to pay like $75k ish
        2018-05-04 00:41:51.342000+00:00        lolsmileyface   He said hea€™11 clean it
        2018-05-04 00:41:51.919000+00:00        jo              im not finessing him
        2018-05-04 00:41:54.975000+00:00        jo              just saying
        2018-05-04 00:41:57 .808000+00:00       jo              100k is 100k
        2018-05-04 00:42:04.015000+00:00        lolsmileyface   la€™m texting him now
        2018-05-04 00:44:00.208000+00:00        jo              send me ur eth addy bro
        2018-05-04 00:44:01.177000+00:00        jo              cmon man
        2018-05-04 00:44: 14.286000+00:00       lolsmileyface   la€™m not home
        2018-05-04 00:44: 18.564000+00:00       jo              or im going to make one for u



                                                                                                      ~
        2018-05-04 00:44:18.646000+00:00        lolsmileyface   What am I supposed to do
        2018-05-04 00:44:24.402000+00:00        jo              and then ur on ur own
        2018-05-04 00:44:27.495000+00:00        jo              i cant be here anymore
        2018-05-04 00:44:44.872000+00:00        jo              ill make one for u
        2018-05-04 00:44:46.064000+00:00        jo              no worries
        2018-05-04 00:45:01.960000+00:00        lolsmileyface   Jfc
        2018-05-04 00:45:08.634000+00:00        lolsmileyface   Why you rushing me man
    )   2018-05-04 00:45:20.517000+00:00        lolsmileyface   I get th.e only dirty money of this hit
        2018-05-04 00:45:33.499000+00:00        jo              no man
        2018-05-04 00:45:38.437000+00:00        jo              im dealing with more serious shit right now
        2018-05-04 00:45:46.011000+00:00        lolsmileyface   Whoaaa
        2018-05-04 00:45:46.673000+00:00        jo              i legit not coming back here again
        2018-05-04 00:45:52.316000+00:00        jo              i hope u are doing the sam~
        2018-05-04 00:45:54.360000+00:00        lolsmileyface   Everything okay? Or
        2018-05-04 00:45:56. 732000+00:00       jo              no
        2018-05-04 00:45:5'8.598000+00:00       jo              ask maj
        2018-05-04 00:46:02.262000+00:00        jo              im not coming back
        2018-05-04 00:46:14.432000+00:00        lolsmileyface   Ffs okay
        2018-05-04 00:46: 17 .868000+00:00      lolsmileyface   Hold on making addy
        2018-05-04 00:46:20.554000+00:00        lolsmileyface   On gf phone
        2018-05-04 00:46:23.631000+00:00        jo              kk
        2018-05-04 00:46:27.129000+00:00        jo              and for xmr
        2018-05-04 00:46:31.450000+00:00        jo              im going to give u backup phrase
        2018-05-04 00:47:24.838000+00:00        jo              or better ill just send to 3 addresses
        2018-05-04 00:47:29.590000+00:00        jo              and then u can put it on a bittrex
        2018-05-04 00 :4 7 :45. 880000+00: 00   lolsmileyface   Okay wtf going on man
        2018-05-04 00:47:50.733000+00:00        jo              just talk to maj
        2018-05-04 00:47:53.575000+00:00        jo              thats important
        2018-05-04 00:48:06.915000+00:00        lolsmileyface   Hea€™s not answering
        2018-05-04 00:49:03.669000+00:00        lolsmileyface   la€™m going home now la€™11 be home in 30min
        2018-05-04 00:50:07.691000+00:00        lolsmileyface   Can that wait that long. 30min
        2018-05-04 00:50: 12. 761000+00:00      jo              yes
        2018-05-04 00:50:17.834000+00:00        lolsmileyface   Okay thanks bro.
        2018-05-04 00:50:23.809000+00:00        lolsmileyface   Maj not answer. Is it the sub thing
        2018-05-04 00:50:42.226000+00:00        jo              NO DUDE
        2018-05-04 00:50:46.559000+00:00        jo              NOT GOING TO EXPLAIN HERE
        2018-05-04 00:50:52.258000+00:00        lolsmileyface   Okay okay fair enough
     Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 55 of 82 Page ID
                                       #:605




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    2018-05-04. 00:50:57 .410000+00:00   jo              https://privnote.com/iQ3UZOb8#n DvfYLwbY
    2018-05-04 00:52:44.302000+00:00     lolsmileyface   Ffs okay
    2018-05-04 00:56:40.749000+00:00     lolsmileyface   Corey helping me he said.
    2018-05-04 00:56:53.228000+00:00     lolsmileyface   la{™m on my way home now
    2018-05-04 00:58:51. 702000+00:00    lolsmileyface
    2018-05-04 01:05:42:922000+00:00     lolsmileyface   Corey reply to you?
    2018-05-04 01:10:59.016000+00:00     jo              yes'
                                                         Okay he didnaC™t reply to me just dona{,.'t send him more until I
    2018-05-04 01:11:45.894000+00:00     lolsmileyface
                                                         get the first $100k please
    2018-05-04 01:11:51.701000+00:00     lolsmileyface   WhataC™s his disc
    2018-05-04 01:11:55.420000+00:00     jo              kk
    2018-05-04 01:11:58.534000+00:00     jo              no discord
    2018-05-04 01:11:59.852000+00:00     jo              xmpp
    2018-05-04 01:12:14.028000+00:00     lolsmileyface   Ahh okay thanks. Did you already send 100,000
    2018-05-04 0l :12:18.895000+00:00    jo              no
    2018-05-04 01:13:03.637000+00:00     lolsmileyface   Oh okay doc says xat hea{™s on if you wanna chat
    2018-05-04 01:14:55.173000+00:00     jo              im on xat
    2018-05-04 01:14:55.958000+00:00     jo              lol
    2018 -05-04 01:14:59.693000+00:00    jo              where.is he
    2018-05-04 01:15:41.307000+00:00     lolsmileyface   Fort?
    2018-05-04 01:21:52.189000+00:00     lolsmileyface   Loi where Corey at
    2018-05-04 01:34:28.955000+00:00     lolsmileyface
    2018-05-04 0l:40:13.118000+00:00     lolsmileyface   laC™II be home in five minutes and la{™II call you back
    2018-05-04 01:57:02.355000+00:00     lolsmileyface   Hey la{™m home
    2018-05-04 01:57:35.777000+00:00     lolsmileyface   Are you snookibomb lot
    2018-05-04 01:58:20.596000-1,00:00   jo ·            man im really mad
2018-05-04 01:58:21.894000+00:00         jo              and sad
2018-05-04 01:58:23.682000+00:00         jo              at same time
2018-05-04 01:58:27.170000+0 :00         lolsmileyface   Sad
2018-05-04 01:58:29.538000+00:00         lolsmileyface   Why sad
2018-05-04 01:58:44.206000+00:00         jo
2018-05-04 01:58:46.579000+00:00         jo              hurts my feelings
2018-05-04 01:58:50.776000+00:00         jo              i keep telling him
2018-05-04 01:58:53.474000+00:00         jo              we didnt do him
2018-05-04 01:58:58.619000+00:00         jo              and just telling who we did
2018-05-04 01:59:10.310000+00:00         jo              is just making me feel angry
2018-05-04 01:59:16.458000+00:00         jo              because i was supposed to not tell
2018-05-04 01:59:18.962000+00:00         lolsmileyface   Exactly how I feel
2018-05-04 01:59:19.371000+00:00         jo              we did that guy
2018-05-04 01:59:43.367000+00:00         lolsmileyface   Why does he think it
2018-05-04 02:00:02.051000+00:00         lolsmileyface   I was so angry earlier
2018-05-04 02:00:04.839000+00:00         lolsmileyface   Like deadas smar
2018-05-04 02:00:07.668000+00:00         lolsmileyface   Deadass mad
2018-05-04 02:00:42.879000+00:00         lolsmileyface
2018-05-04 03:53:41.696000+00:00         jo              You talk to Robert?
2018-05-04 03 :53:55 .992000+00:00       lolsmileyface   Ehh rarely
2018-05-04 03:54:59.926000+00:00         jo              Ask him about whoaC™s getting fucked
2018-05-04 03 :55 :14.167000+00:00       jo              For whatever it is
2018-05-04 12:10:34.450000+00:00         jo              whats sup
2018-05-0412:10:37.877000+00:00          jo              what u up to
2018-05-04 12:12:42.239000+00:00         lolsmileyface   Just at workvv
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 56 of 82 Page ID
                                   #:606


                                                      And Corey said only be worried if you used a real binance ever for
2018-05-04 12:13:00.927000+00:00      lolsmileyface
                                                      the tether or Ian guy
2018-05-04 12:13:18.939000+00:00      jo              oh
2018-05-04 12:13:20.993000+00:00      jo              yeah obv
2018-05-04 12:48:49.214000+00:00      lolsmileyface   ldk what to think lol
2018-05-04 12:56 :28.999000+00:00     jo              What u mena
2018-05-04 12:56:31.917000+00:00      jo              Mean
2018-05-04 14:53 :28.961000+00:00     jo              yo
2018-05-04   14:53:29.973000+00:00    jo              u there
2018-05-04   14:53:32.388000+00:00    jo              i still have the xmr
2018-05-04   14:53:32.857000+00:00    jo              lol
2018-05-04   14:53:39.340000+00:00    lolsmileyface   Hey
2018-05-04   14:53 :43.378000+00:00   lolsmileyface   How much is it
2018-05-04   14:53:45.186000+00:00    lolsmileyface   Loi
2018-05-04   14:53 :45.444000+00:00   jo              do u have an xmr wallet?
2018-05-04   14:53:49.073000+00:00    jo              300 xmr i think
2018-05-04   14:54:54.524000+00:00    lolsmileyface   Like 60k ish
2018-05-04   14:54:59.153000+00:00    lolsmileyface   Let me get a wallet quick
2018-05-04 14:55:53 .061000+00:00     jo              Well let me send to three wallets
2018-05-04   14:55 :58 .• • • a o     jo              The.n u should be fine
2018-05-04   14:56:04.523000+00:00    lolsmileyface   Okay thanks
2018-05-04   14:56:31.146000+00:00    jo              355 xmr
2018-05-04   14:56:31.712000+00:00    jo              lol
2018-05-04   14:56:39.153000+00:00    lolsmileyface   Ayy
                                                      Sweet lol give me a little while c_ause la€'"'m at work but I will get a
2018-05-04 14:57:25 .278000+00:00     lolsmileyface
                                                      Wallet asap
2018-05-04 14:57 :56.860000+00:00     jo              u can use bittrex
2018-05-04 14:57:58.383000+00:00      jo              its all good
2018-05-04 14:58:01.798000+00:00      jo              once i send to three
2018-05-04 14:58:02.733000+00:00      jo              wallets
2018-05-04 14:58:09.031000+00:00      lolsmileyface   Yeah la€™11 have my irl do it for me
2018-05-04 14:58:13.926000+00:00      lolsmileyface   Loi
2018-05-04 14:58:19.347000+00:00      lolsmileyface   Since ita€™s safe
2018-05-04 15:08:37.911000+00:00      jo              i mready so
2018-05-04 15:08:40.            O     jo              lmk the xmr addy
2018-05-04 15:28:43.740000+00:00      lolsmileyface   OK just kind of busy tied up at work right now
2018-05~04 16:03:41.157000+00:00      lolsmileyface   Wanna send now?
2018~05-04 16:10:34.563000+00:00      jo              yea
2018-05-04 21:23:50.655000+00:00      lolsmileyface   Hey
2018-05-04 21:24:01.607000+00:00      lolsmileyface   You here
2018-05-04 21:25:05.960000+00:00      jo              yea
2018-05-04 21:25 :22.111000+00:00     lolsmileyface   Can I send you my btc then send it back to me.
2018-05-04 21:25:33.307000+00:00      lolsmileyface   I need to put it on my new Jaxx wallet lol
2018-05-04 21:25:49.425000+00:00      jo'             uhh
2018-05-04 21:25:50.884000+00:00      jo              not rn
2018-05-04 21:25:58.157000+00:00      jo              just blockchain
2018-05-04 21:25:58.863000+00:00      jo              wallet
2018-05-04 21:25:59.336000+00:00      jo              lol
2018-05-04 21:26:07.394000+00:00      lolsmileyface   TRUE
2018-05-04 21:26:09. 771000+00:00     lolsmileyface   Good idea lol
2018-05-05 20:03:30.068000+00:00      jo              whats goo
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 57 of 82 Page ID
                                   #:607


2018-05-05   20:03:31.248000+00:00    jo              good
2018-05-05   20:03 :38.098000+00:00   jo              breakfast station eh
2018-05-05   20:07:23.316000+00:00    lolsmileyface   It was very good lol
2018-05-05   20:07:32.486000+00:00    jo              lol
2018-05-07   13:02:34.556000+00:00    jo              Did att plug get fired lol
2018-05-07 13:02:40.936000+00:00      jo              From what I heard
2018-05-07 13:03:34.240000+00:00      lolsmileyface   Mine? No
2018-05-07 13:03:40.485000+00:00      lolsmileyface   What the hell lol
2018-05-07   13:04:51.738000+00:00    jo              Someone said he got fired
2018-05-07   13:04:54.436000+00:00    jo              ldk lol
2018-05-07   13:05:08.064000+00:00    lolsmileyface   Wtf who said that lo
2018-05-07   13:05:17.495000+00:00    jo              Some random talking about u
2018-05-07 13:05:19.824000+00:00      jo              Forgot his name
2018-05-07 13:05:32.098000+00:00      lolsmileyface   Hea€™s a fuckin idiot
2018-05-07 13:05:36.473000+00:00      lolsmileyface   I can do the today
2018-05-07 13:05:42.569000+00:00      jo              lol
2018-05-07 13:05:45.884000+00:00      lolsmileyface   I just did one yesterday with Miguel
2018-05-07 13:05:50.883000+00:00      jo              Oh
2018-05-07 13:05:59.909000+00:00      lolsmileyface   And he works today
2018-05-07 13:06:18.032000+00:00      jo
2018-05-07 13:06:22.820000+00:00      jo              ov-,ov-,av-tav-,av-,
2018-05-07 13:08:07.089000+00:00      lolsmileyface   Is that that 707 guy
2018-05-07 13:08:33.513000+00:00      lolsmileyface   Where did he talk about me
2018-05-07 13:09:37. 798000+00:00     jo              On discord
2018-05-07 13:09:40.479000+00:00      jo              Ogusers disxord
2018-05-07 13:09:52.961000+00:00      jo              And I think
2018s05-07   13:16:23.970000+00:00    lolsmileyface   Add me to it
2018-05-07   13:24:09.889000+00:00    jo              https://discord.gg/ChbhX
2018-05-07   13:25:13.299000+00:00    lolsmileyface   I have to be accepted?
2018-05-07   B :25:21.996000+00:00    jo              Wtflol

2018-05-07 13:25:34. 739000+00:00     lolsmileyface
                                                      Loi who said some shit about me having an att. la€"'11 j~st pm him
2018-05-07   13:25:37.573000+00:00    lolsmileyface   Or whata€™s his ogu
2018-05-07   13:26:00.099000+00:00    jo              ldk his name was Ben or some shit
2018-05-07   13:26:05.213000+00:00    jo              ldk his ogusers
2018-05-07   13:26:15.089000+00:00    lolsmileyface   Lmao wtf
2018-05-07   13:26:17.698000+00:00    lolsmileyface   Who tf ben
2018-05-07   13:28:19.423000+00:00    jo              Guess he aina€™t responding there lol
2018-05-07   13:28:27.843000+00:00    lolsmileyface   Was he in there?
2018-05-07   13:29:31.922000+00:00    jo              Yeah like 10 mins ago
2018-05-07   14:03 :53.333000+00:00   lolsmileyface   Wtf lol whata€™s his screen name
2018-05-07   14:37:04.455000+00:00    lolsmileyface   I cana€™t fuckin find it lol
2018-05-07   14:37:13.692000+00:00    jo              Loi
2018-05-07 14:37:34.859000+00:00      lolsmileyface   I just scrolled till like 8am
2018-05-07 14:37:35.961000+00:00      lolsmileyface   Lmao
2018-05-07 17:50:55.505000+00:00      lolsmileyface   DUDE WE NEED SIM ASAP
2018-05-07 19:00:44.208000+00:00 . jo                 yo
2018-05-07 19:00:48.233000+00:00 lolsmileyface        Hello
2018-05-07 19:00:55.754000+00:00 jo                   was sleeping
2018-05-07 19:00:58.358000+00:00      jo              lmao
2018-05-07 19: 17: 14.520000+00:00    lolsmileyface   How does nobody know who ben is
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 58 of 82 Page ID
                                   #:608


2018-05-07 19:17:15.824000+00:00      lolsmileyface     Lmao wtf
2018-05-07 20:56:14.181000+00:00      lolsmileyface     Hello brother
2018-05-07 20:56:18.812000+00:00      jo                hey
2018-05-07 20:56:59.415000+00:00      lolsmileyface     Can I have the ig list lol
2018-05-07 20:57:01.443000+00:00      lolsmileyface     Atts
2018-05-07 20:57:06.184000+00:00      lolsmileyface     I want a new ig lmao
2018-05-07 20:57:15.502000+00:00      jo                https://pastebin .com/nvxRbXQW
2018-05-07 20:57:25 .278000+00:00     lolsmileyface     Quick with it  av-,
2018-05-07 21:15:28.748000+00:00      lolsmileyface     Know of any good ones we dona{™t need 14
2018-05-07 21:15 :31.679000+00:00     lolsmileyface     Just#
2018-05-07 21:18:42.563000+00:00      jo                Loi
2018-05-07 21:18:43 .695000+00:00     jo                Really
2018-05-07 21:18:49.787000+00:00      lolsmileyface     Yessir
2018-05-07 21:19:02.849000+00:00      lolsmileyface     Back to the good days. Only#
2018-05-07   21:19:26.310000+00:00    jo                vibe guys
2018-05-07   21:19:26.882000+00:00    jo                bro
2018-05-07   21:19:27 .390000+00:00   jo                av-,,
2018-05-07   21:19:32.394000+00:00    lolsmileyface     What
2018-05-07   21:19:37.298000+00:00    jo                vibe guys
2018-05-07   21:19:39.098000+00:00    jo                ls
2018-05-07   21:19:39.920000+00:00    lolsmileyface     Lets do whatever man
2018-05-07   21:19:44.099000+00:00    lols!Tlileyface   Leggo
2018-05-07   21:24:59.250000+00:00    jo                fuck i lost
2018-05-07   21:24:59.730000+00:00    jo                dox
2018-05-07   21:25 :00.188000+00:00   jo                lol
2018-05-07   21:25:02.045000+00:00    jo                so gay
2018-05-07 21:25:08.866000+00:00      lolsmileyface     Ffs
2018-05-07 21:25:17.024000+00:00      jo                it was me and doc's target
2018-05-07 21:25:18.981000+00:00      jo                for a while
2018-05-07 21:25:19.438000+00:00      jo                lol
2018-05-07 21:25:52.454000+00:00      jo                does conor know
2018-05-07 21:25:53.086000+00:00      jo                lol
2018-05-07 21:26:03.125000+00:00      lols ileyface     I dona{""t think so
2018-05-07 21:26:07.789000+00:00      jo                he has some
2018-05-07 21:26:09.999000+00:00      jo                i mpretty sure
2018-05-07 21:28:52.169000+00:00      jo                https://privnote.com/uUo 7p9a#e92189058
2018-05-07 21:28:54.044000+00:00      jo                good guy bro
2018-05-07 21:28:56+00:00             jo                lets do him
2018-05-07 21:29:43.597000+00:00      jo                https://privnote.com/o602bC4a#uAbM EGXEX
2018-05-07 21:29:45.013000+00:00      jo                info
2018-05-07 21:32:45.329000+00:00      lolsmileyface     Wanna do rn
2018-05-07 21:32:50.210000+00:00      jo                sure
2018-05-07 21:33:10.940000+00:00      lolsmileyface     Just me and you?
2018-05-07 21:33:14.410000+00:00      jo                yea
2018-05-07 21:33:16.381000+00:00      lolsmileyface     Is it a good targ he rich
2018-05-07 21:33:20.507000+00:00      jo                digitalx
2018-05-07 21:33:21.062000+00:00      jo                lol
2018-05-07 21:33:28.764000+00:00      jo                https://www.digitalx.com/
2018-05-07 21:38:15.890000+00:00      lolsmileyface     3NU4K9Xe4Ta5RjYonrxaSAtetH4mAHjeJD
2018-05-07 21:38:17.156000+00:00      lolsmileyface     $80
2018-05-07 21:38:19.298000+00:00      lolsmileyface     For sim
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 59 of 82 Page ID
                                   #:609


2018-05-07   21:38:25.843000+00:00     jo               oh fuck
2018-05-07   21:38:26.482000+00:00     jo               lol
2018-05-07   21:38:35.970000+00:00     lolsmileyface    Yup lol back to that again
2018-05-07   21:39:02.918000+00:00     jo               ill cba then
2018-05-07   21:39:09.856000+00:00     jo               since dont have btc
2018-05-07   21:39:12.305000+00:00     lolsmileyface    Huh
2018-05-07   21:39: 16. 753000+00:00   lolsmileyface    Cba
2018-05-07   21:39:23.089000+00:00     jo               cba
2018-05-07   21:39:25.083000+00:00     jo               come back anytime
2018-05-07   21:39:29.912000+00:00     jo               maybe tonight or sometyhing
2018-05-07   21:39:31.801000+00:00     jo               when hes sleeping
2018-05-07   21:39:31.832000+00:00     lolsmileyface    la€',.,II just pay
2018-05-07   21:39:32.375000+00:00     jo               lol




                                                                                           ~
2018-05-07   21:39:34.147000+00:00     lolsmileyface    lta€™s fine
2018-05-07   21:39:35.319000+00:00     jo               na not now
2018-05-07   21:39:37.309000+00:00     jo               dont do it now
2018-05-07 21:39:41. 764000+00:00      jo               5:39pm rn
2018-05-07   21:39:46.375000+00:00     jo               we should do it like 11pm
2018-05-07   21:39:51.739000+00:00     jo               i think we're safer there
2018-05-07   21:39:55.503000+00:00     lolsmileyface    Okay thata€™s fine
2018-05-07   21:39:58.181000+00:00     jo               yeah
2018-05-07   21:40:13.178000+00:00     jo               hes a perfect hit though
2018-05-07   21:40:23.107000+00:00     jo               its like the other one we did
 2018-05-07 21:40:23.699000+00:00      jo               lol
 2018-05-07 21:44:20.564000+00:00      lolsmileyface    We can wait till last mint
 2018-05-07 21:44:23.255000+00:00      lolsmileyface    Minute
 2018-05-07 21:44:27 .528000+00:00     lolsm ileyface   Send me the info to Homie
 2018-05-07 21:44:31.455000+00:00      lolsmileyface    @Homie lol
 2018-05-07 21:44:35.401000+00:00      lolsmileyface    You can turbo right
 2018-05-07 21:44:37.915000+00:00      jo               no
·2018-05-07 21:44:39.084000+00:00      jo               no turbo
 2018-05-07 21:44:39.421000+00:00      jo               lol
 2018-05-07 21:44:40. 781000+00:00     jo               hahaha
 2018-05-07 21:44:44.363000+00:00      lolsmileyface    FUCK
 2018-05-07 21:44:45.800000+00:00      jo               old hand swap ya know
 2018-05-07 21:44:58.939000+00:00      lolsmileyface    Dude lol auto claim
 2018-05-07 21:45:04.354000+00:00      lolsmileyface    Matt will snipe me
 2018-05-07 21:45:05.542000+00:00      jo               i dont have homie
 2018-05-07 21:45:06.819000+00:00      jo               oY-i
 2018-05-07 21:45:12.914000+00:00      lolsmileyface    I have it at home lol
 2018-05-07 21:45:16.606000+00:00      jo               tf
 2018-05-07 21:45:17.536000+00:00      jo               lol
 2018-05-07 21:45:20.300000+00:00      jo               not on my list
2018-05-07 21:45:20.913000+00:00       jo               av-:
2018-05-07 21:45:23.229000+00:00       lolsmileyface    Maybe in my snap
2018-05-07 21:45:27.953000+00:00       lolsmileyface    Actually I think I took pie LOL
2018-05-07 22:40:56.586000+00:00       lolsmileyface    Can you get around the login thing on ig
2018-05-07 22:41:14.899000+00:00       jo               U dona€™t need it
2018-05-07 22:41:17.864000+00:00       jo               If ur aiming lol
2018-05-07 22:41:19.973000+00:00       jo               Simminf"'
2018-05-07 22:41:24.522000+00:00       lolsmileyface    No la€"'m not
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 60 of 82 Page ID
                                   #:610


2018-05-07 22:41:28.490000+00:00     lolsmileyface · I just got scammed                           ,!
2018-05-07 22:41:29.890000+00:00     lolsmileyface   LOL
2018-05-07 22:41:29.945000+00:00     jo              Whata€™s     this
2018-05-07 22:41:32.354000+00:00     jo              For  what
2018-05-07 22:41:32.695000+00:00     lolsmileyface $700
2018-05-07 22:41:33.269000+00:00     jo              LIi
2018-05-07 22:41:33.975000+00:00     lolsmileyface Lmfao
2018-05-07 22:41:35 .587000+00:00    jo              Loi
2018-05-07 22:41:38.826000+00:00     lolsmileyface IMAGINE THAT BROKE
2018-05-07 22:41:42.158000+00:00     lolsmileyface    $700 scamming
2018-05-07 22:41:45.038000+00:00     jo               What they scam u for
2018-05-07 22:41:50.359000+00:00     lolsmileyface    Royalty
2018-05-07 22:41:55.025000+00:00     lolsmileyface    dee123
2018-05-07 22:41:57.931000+00:00     jo               wtf lol
2018-05-07 22:41:59.082000+00:00     lolsmileyface    Try to sign in
2018-05-07 22:42:06.061000+00:00     jo               You dona€™t have email?
2018-05-07 22:42:11.928000+00:00     lolsmileyface    Nah ita€™s on a yahoo
2018-05-07 22:42:32.125000+00:00     jo               So why did u buy it
2018-05-07 22:42:33.234000+00:00     jo               Lmao
2018-05-07 22:42:38.631000+00:00     lolsmileyface    Wym
2018-05-07 22:42:41.042000+00:00     lolsmileyface    lta€™s cool
2018-05-07 22:42:48.964000+00:00     lolsmileyface    Someone owns it lol
2018-05-07 22:43:07.740000+00:00     jo               Loi
2018-05-07 22:43:09.940000+00:00     jo               Rip
2018-05-07 23:24:27.958000+00:00     lolsmileyface    Att leaves 830
2018-05-07 23:24:40.008000+00:00     jo               we dp at 8 then
2018-05-07 23:33:00.930000+00:00     lolsmileyface    30min
2018-05-07 23:33:09.178000+00:00     jo               yea
2018-05-07 23:45:26.323000+00:00     lolsmiley,face   TO
2018-05-07 23:45:28.584000+00:00     lolsmileyface    YO LETS GO
2018-05-07 23: 5:31.205000+00:00     lolsmileyface    WE GOT ONE TO DO
2018-05-07 23:45:35.327000+00:00     lolsmileyface    me you conor
2018-05-07 23:46:05.394000+00:00     lolsmileyface    Jojo brother need sim
2018-05-07 23:52:58.134000+00:00     lolsmileyface    Yooo Conora€™s wona€™t work. Lets do ours
2018-05-07 23:53:51.247000 00:00     lolsmileyface    8pm
2018-05-07 23:'54:04.673000+00:00    lolsmileyface    8pm
2018-05-07 23:55:33.128000+00:00     jo               Yo
2018-05-07 23:55:35.125000+00:00     jo               Shsjsj
2018-05-07 23:59:32.903000+00:00     lolsmileyface    Hi
2018-05-07 23:59:38.126000+00:00     lolsmileyface    Lets do it
2018-05-07 23:59:52.162000+00:00     jo               we doing conors fist?
2018-05-07 23:59:57.809000+00:00     jo               first
2018-05-08 00:00:08.527000+00:00     lolsmileyface    No
2018-05-08 00:00: 16. 711000+00:00   lolsmileyface    Cana€™t find# lets do ours
2018-05-08 00:00:21.153000+00:00     jo               kk
2018-05-08 00:00:37 .870000+00:00    lolsmileyface    # and sim
2018-05-08 00:00:56.           0     jo               https://privnote.com/ZQvjhTK8#tl3WwRdTH
2018-05-08 00:01:52.122000+00:00     lolsmileyface    Sent
2018-05-08 00:02:41.602000+00:00     lolsmileyface    How goods this. The one from before
2018-05-08 00:03:13.986000+00:00     jo               remember
2018-05-08 00:03:16.203000+00:00     jo               one with doc
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 61 of 82 Page ID
                                   #:611


2018-05-08 00:03:17.905000+00:00    jo              and shit
2018-05-08 00:03:20.623000+00:00    jo              hedge funds
2018-05-08 00:03:21. 758000+00:00   jo              basicalluy
2018-05-08 00:03:22.255000+00:00    jo              lol
2018-05-08 00:05:09. 788000+00:00   lolsmileyface   Yes
2018-05-08 00:05:21.843000+00:00    lolsmileyface   Shit service Rn messages all coming at once lol
2018-05-08 00:11:48.635000+00:00    lolsmileyface   Yoo
2018-05-08 00:12:10.897000+00:00    jo              yo
2018-05-08 00:12:54.647000+00:00    lolsmileyface   Waiting. Sent it
2018-05-08 00:15:28.080000+00:00    lolsmileyface   Hooggoo
2018-05-08 00:15:29.633000+00:00    lolsmileyface   Gogogogogo
2018-05-08 00:15:32.047000+00:00    lolsmileyface   GOOOOOGOGOGOGOG
2018-05-08 00:15:33.539000+00:00    lolsmileyface   av-,


                                                                                       ~
2018-05-08 00:15:42.321000+00:00    jo .            light
2018-05-08 00:15:45.040000+00:00    jo
2018-05-08 00:16:59.697000+00:00    jo              gonna reset via lte
2018-05-08 00:17:05.879000+00:00    lolsmileyface Got service? And yeah LTE
2018-05-08 00:26:26.817000+00:00    lolsmileyface · Did we restore it!
2018-05-08 00:26:28.284000+00:00    lolsmileyface ?
2018-05-08 00:26:30.715000+00:00    jo              yes
2018-05-08 00:26:31.319000+00:00    jo              lol




                                                                              ••
2018-05-08 00:26:33.396000+00:00    jo              in now again
2018-05-08 00:27:21.402000+00:00    jo              he has a c;:oinbase
2018-05-08 00:27:21.984000+00:00    jo              lol
2018-05-08 00:27:24.571000+00:00    jo              alot of shit on there
2018-05-08 00:27:27. 714000+00:00   lolsmileyface   Check authy
2018-05-08 00:27:34.605000+00:00    lolsmileyface   Authy and commons?

                                                    Multi-device is disabled for your Authy account, so you cannot
                                                    currently add new devices. You can change this setting in the
2018-05-08 00, 27:59.553000+00:00   jo
                                                    Settings section of the Authy app on any other device. If you do
                                                    not have any active devices, visit authy.com/phones/reset to
                                                    recover your account (this process takes up to 2 business days).
2018-05-08 00:28:01.183000+00:00    jo              rip lol
2018-05-08 00:28:04.248000+00:00    lolsmileyface   Fucj
2018-05-08 00:28:05.520000+00:00    lolsmileyface   Fuck
2018-05-08 00:28:07.959000+00:00    lolsmileyface   Damnit
2018-05-08 00:28:58.159000+00:00    lolsmileyface   No passwords?
2018-05-08 00:29:01.560000+00:00    jo              na
2018-05-08 00:29:02.312000+00:00    jo              av-i
2018-05-08 00:29:42.877000+00:00    lolsmileyface   Documents .json .dat
2018-05-08 00:31:07 .871000+00:00   jo              2fa
2018-05-08 00:31:09.571000+00:00    jo              fucking gay
2018-05-08 00:31:10.250000+00:00    jo              lol
2018-05-08 00:31:18.844000+00:00    lolsmileyface   I know dam nit
2018-05-08 00:34:11.155000+00:00    lolsmileyface   History.google.com
2018-05-08 00:34:21.359000+00:00    jo              lol
2018-05-08 00:34:2?,            0   jo              look a tthios
2018-05-08 00:34:40.779000+00:00    jo
2018-05-08 00:34:45.679000+00:00    lolsmileyface   server to . What
2018-05-08 00:34:51.823000+00:00    jo              forex
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 62 of 82 Page ID
                                   #:612


2018-05-08 00:34:53.330000+00:00     jo              or some shit
2018-05-08 00:34:56.849000+00:00     jo              idk what that is
2018-05-08 00:34:57.449000+00:00     jo              lmao
2018-05-08 00:35:14.350000+00:00     lolsmileyface   Weird
2018-05-08 00:35:55.741000+00:00     lolsmileyface   Evernote
2018-05-08 00:35 :59.619000+00:00    lolsmileyface   History.google
2018-05-08   00:36:01.870000+00:00   jo              doesnt have one
2018-05-08   00:36:03.458000+00:00   jo              ill check ls
2018-05-08   00:40:58.375000+00:00   jo              dropbox
2018-05-08   00:41:01.556000+00:00   jo              ognna ceck latewr
2018-05-08   00:41:02.127000+00:00   jo              lol
2018-05-08 00:41: 13.459000+00:00    lolsmileyface   Yeah he has a lot
2018-05-08 00:43:22.203000+00:00     lolsmileyface   Drafts




                                                                                         ~
2018-05-08 00:45:15.722000+00:00     lolsmileyface   Phone might did
2018-05-08 00:45:16.877000+00:00     lolsmileyface   Die
2018-05-08 00:48:07.616000+00:00     jo              gu8ess this gmail is gay
2018-05-08 00:48:08.104000+00:00     jo              lol
2018-05-08 00:48: 11.655000+00:00    jo              rip
2018-05-08 00:48:12.242000+00:00     jo              lol
2018-05-08 00:48:14.197000+00:00     lolsmileyface   Ffs
2018-05-08 00:48:20.216000+00:00     jo              most
2018-05-08 00:48:22.442000+00:00     jo              ion coinbase
2018-05-08 00:48:23 .795000+00:00    jo              sucks dick
2018-ciS-08 00:48:24.881000+00:00    jo              fuck him
2018-05-08 00:48:49.659000+00:00     lolsmileyface   Bust
2018-05-08 00:48:51 .610000+00:00    lolsmileyface   Fuck lol
2018-05-08 00:49:02.940000+00:00     lolsmileyface   la€™11 brb. Phone gonna die bro
2018-05-08 00:49:15.441000+00:00     lolsmileyface   l0min la€""11 be back
2018-05-08 01:21:00.165000+00:00     jo
2018-05-08 01:23:22.339000+00:00     lolsmileyface   Hey
2018-05-08 01:23:28.311000+00:00     lolsmileyface   Phone almost dead like 2%
2018-05-08 01:23:52.576000+00:00     jo              Loi
2018-05-08 01:36:46.772000+00:00     lolsmileyface   I cana€™t stand people man
2018-05-08 01:36:51.674000+00:00     lolsmileyface People are starting to talk
2018-05-08 01:36:54.80 000+00:00     jo              ?/
2018-05-08 01:36:56.537000+00:00     jo              about what
2018-05-08 01:37:00.135000+00:00     lolsmileyface . The Sm
2018-05-08 01:37:04.944000+00:00     lolsmileyface I have people messaging me about it
2018-05-08 01:37:05.756000+00:00     jo              who is
2018-05-08 01:37 :08.654000+00:00    jo              ?
2018-05-08 01:37:17 .632000+00:00    lolsmileyface   That kid that used to swim for me
2018-05-08 01:37:19.177000+00:00     lolsmileyface   Sim
2018-05-08 01:37:20.634000+00:00     lolsmileyface   Voku
2018-05-08 01:37:25.205000+00:00     jo              say u got no idea
2018-05-08 01:37:25 .915000+00:00    jo              lol
2Q18°QS-Q8 0l:37:35.54QQQQ+QQ;QQ     lolsmileyface   He knows And he is a huge brat and will tell everybody
2018-05-08 01:37:40.870000+00:00     lolsmileyface   Somebody told him so he already knows
2018-05-08 01:37:42.640000+00:00     jo              say u got no idea
2018-05-08 01:37:54.627000+00:00     lolsmileyface   a€ceYou and forza got a Sm@
2018-05-08 01:38:09.188000+00:00     jo              say u dont do stuff with forza
2018-05 -08 01:38: 10.772000+00:00   jo              lol
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 63 of 82 Page ID
                                   #:613


2018-05 -08 01:38:17.245000+00:00        lolsmileyface   a€reYou forza Joel a€CE
2018-05-08 01:38:22.324000+00:00         lolsmileyface   Us3 lol
2018-05-08 01:38:24.922000+00:00         jo              he knows my name?
2018-05-08 01:38:26.866000+00:00         jo              who the fuck is he
2018-05-08 01:38:34.993000+00:00         jo              becasuse I DONT FUCKING know him
2018-05-08 01:38 :49.853000+00:00        jo              anytime someone mentions
2018-05-08 01:38:52.327000+00:00         jo              about it
2018-05-08 01:38:53.440000+00:00         jo              block them
2018-05-08 01:38:54.773000+00:00         jo              easy
2018-05-08 01:39:03.437000+00:00         lolsmileyface   I know. I dona€™t know who told these people shit
2018-05-08 02:40:44.425000+00:00         lolsmileyface   Help lol
2018-05-08 02:40:59.896000+00:00         jo              ?
2018-05-08 02:41:10.117000+00:00         lolsmileyface   Need like dob and shit on this guy
2018-05-08 02:41:17.550000+00:00         jo              Whylol
2018-05-08 02:41:27.949000+00:00         lolsmileyface   Trying to take &
2018-05-08 02:41:30.530000+00:00         lolsmileyface   @lmao
2018-05-08 02:41:36.673000+00:00         lolsmileyface   Att has a cox email as alt
2018-05-08 02:41:47.658000+00:00         jo              Oh

2018-05-08 02:42:03.287000+00:00         lolsmileyface
                                                         I had the cox account awhile back and never even realized it
2018-05-08   02 :53 :55.814000+00:00     lolsmileyface   Can I use your weleak
2018-05-08   02:53 :57 .602000+00:00     lolsmileyface   Loi
2018-05-08   02:54:14.307000+00:00       jo              owengomm :xkj(*X(8j
2018-05-08   03:11:35 .915000+00:00      lolsmileyface   Whata€™s the att text site
2018-05-08 03:11:42.809000+00:00         jo              ??
2018-05-08 03:12:55.375000+00:00         lolsmileyface   Messages.att.com
2018-05-08   03:12:59.405000+00:00       lolsmileyface   Or some shit
2018-05-08   03:13:05.316000+00:00       jo              idk lol
2018-05-08   03:13:09.055000+00:00       jo              dotnt h'nk they have one
2018-05-08   03:13:09.658000+00:00       jo              tbh
2018-05-08   03: 13 :41.45 7 000+00:00   lolsmileyface   Buy this mans social for me lol
2018-05-08   03:38:16.545000+00:00       lolsmileyface   la€'"'m in the att
2018-05-08   03:38:19.617000+00:00       lolsmileyface   Do you have a sim
2018-05-08   03:39:08.218000+00:00       lolsmileyface   Doc said ask you
2018-05-08   03:39:12.300000+00:00       lolsmileyface   Api for L4
2018-05-08   03 :39:15.542000+00:00      lolsmileyface   When signed into att
2018-05-08   03:39:26.963000+00:00       lolsmileyface   View type= zippy
2018-05-08   03:39:31.030000+00:00       lolsmileyface   Or some shit at the endv
2018-05-08   03:39:32.961000+00:00       lolsmileyface   ?
2018-05-08   12:10:02.541000+00:00       lolsmileyface   ov~ -ov~ -
2018-05-08   12:10:05.585000+00:00       lolsmileyface   Jo dead
2018-05-08   12:34:21.602000+00:00       jo              lol
2018-05-08   12:34:23.976000+00:00       jo              im alive
2018-05-08 12:34:26.968000+00:00         jo              just woke up
2018-05-08 12:36:38.953000+00:00         lolsmileyface   LOL
2018-05-08 12:37:05.396000+00:00         jo              buying a 30k jeep for my fam lol
2018-05-08 12:37:11.629000+00:00         jo              u think im insane
2018-05-08 12:37:12.838000+00:00         jo              ov~,
2018-05-08 12:37:20.463000+00:00         lolsmileyface   What kind
2018-05-08 12:37:23.579000+00:00 . lolsmileyface         I know keeps good
2018-05-08 12:37:37.119000+00:00 lolsmileyface           I was buying my girl one till she wanted the Beamer
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 64 of 82 Page ID
                                   #:614



2018-05-08 12:37:51.149000+00:00      jo              https://www. cha m bersm oto rca rsofn atick .com/ used/Jee p/2015-
                                                      Jee p-G ra nd+Ch ero kee-ld9c9e430a0e0a 17289b 71c720d16881.htm
2018-05-08   12:38:01.239000+00:00    jo              haha
2018-05-08   12:40:44.953000+00:00    lolsmileyface   Oh a Cherokee
2018-05-08   12:40:48.953000+00:00    lolsmileyface   They are nice
2018-05-08   12:40:52.380000+00:00    jo              hahah
2018-05-08   12:40:53 .582000+00:00   jo              ye
2018-05-08   13:01:55.407000+00:00    lolsmileyface   Who are you going to buy that for
2018-05-08   13:02:03 .348000+00:00   jo              my aunt Joi
2018-05-08   13:02:09.608000+00:00    jo              she needs a new car
2018-05-08   13:02:16.679000+00:00    lolsmileyface   LOL
2018-05-08   13:02:24.523000+00:00    lolsmileyface   thata€™s dope
2018-05-08 13:02:27.534000+00:00      jo              ye
2018-05-08 13:02:33.013000+00:00      jo              might buy my uncle a truck too
2018-05-08 13:02:33.602000+00:00      jo              lol
2018-05-08 13:02:35.406000+00:00      lolsmileyface . Do you live with her
2018-05-08   13:02 :38.182000+00:00   jo
2018-05-08   13:02:45.990000+00:00    jo
2018-05-08   13:02:46.447000+00:00    jo              av-,,
2018-05-08   13:02:55.986000+00:00    lolsmileyface   LOL thata€™s dope
2018-05-08   13:03:01.210000+00:00    jo              theyre in florida rn
2018-05-08   13:03:02.716000+00:00    jo              in tampa
2018-05-08 13:03:11.109000+00:00      jo              my mom/ aunt
2018-05-08 13:03:11.696000+00:00      jo              lol
2018-05-08 13:03:12.480000+00:00      lolsmileyface   Go visit them
2.018-05-08 13:03:18.729000+00:00     jo              lmaoo
2018-05-08 13:03 :23.400000+00:00     jo              only there for 4 weeks
2018-05-08 13:03:23.515000+00:00      lolsmileyface   Why tf you in mass
2018-05-08 13:03:25.596000+00:00      jo              they went to cuba
2018-05-08 13:03:30.073000+00:00      lolsmileyface   Ohh
2018-05-08 13:03:31.052000+00:00      jo              idk Joi
2018-05-08 13:03:34.136000+00:00      lolsmileyface   I thought you meant they live here
2018-05-08 13:03:37.324000+00:00      jo              na
2018-05-08 13:03:37.960000+00:00      jo              lol
2018-05-08 13:03:39.315000+00:00      jo              visiting
2018-05-08 13:03:54.199000+00:00      lolsmileyface   Go with them la€™11 meet up
2018-05-08 13:03:58.476000+00:00      lolsmileyface   Tampa close
2018-05-08 13:04:00.062000+00:00      jo              lmfaooo
2018-05-08 13:04:08.423000+00:00      lolsmileyface   30min Miami 5hr LOL
2018-05-08 13:04:12.014000+00:00      lolsmileyface   Tooo far
2018-05-08 13:04:14.113000+00:00      jo              dude
2018-05-08 13:04:14.986000+00:00      jo              miami
2018-05-08 13:04:16.129000+00:00      jo              is better
2018-05-08 13:04:16.922000+00:00      jo              cmon
2018-05-08 13:04:18.538000+00:00      jo              cant lie
2018-05-08 13:04:19.101000+00:00      jo              lol
                                                      lta€™s way better but that means I have to stay there and take off
2018-05-08 13:04:29.491000+00:00      lolsmileyface
                                                      of work and shit
2018-05-08 13:04:35.676000+00:00      jo              lmao
2018-05-08 13:04:39.501000+00:00      jo              quit ur job yolo
,~Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 65 of 82 Page ID
                                                            #:615


 2018-05-08    13:04:43.638000+00:00   jo               become a uber driver
 2018-05-08    13:04:45.493000+00:00   jo               on a lambo
 2018-05-08    13:04:46.242000+00:00   jo               LOL
 2018-05-08    13:04:50.717000+00:00   lolsmileyface    Maybe if I make a little more la€™11 quit
 2018-05-08    13:04:57.519000+00:00   jo               imaigne
 2018-05-08    13:04:59.057000+00:00   jo               a uber driver
 2018-05-08    13:05:00.327000+00:00   jo               lol
 2018-05-08 13:05:02.958000+00:00      jo              · av·,av·,
                                                        I dona€™t think they will let you know la€™m not allowed to do it
 2018-05-08 13:05:19.764000+00:00      lolsmileyface
                                                        with my truck
 2018-05-08 13:05:25.154000+00:00      lolsmileyface    Lmao They told me know
 2018-05-08 13:05:26.366000+00:00      lolsmileyface    No
  2018-05-08   13:05:31.527000+00:00   jo               why
  2018-05-08   13:05:34.261000+00:00   jo               its a fucking tuck
  2018-05-08   13:05:35.214000+00:00   jo               LOL
  2018-05-08   13:05:36.407000+00:00   jo               truck
  2018-05-08   13:05:39.267000+00:00   lolsmileyface    lta€™s modified I guess
  2018-05-08   13:05:42.217000+00:00   jo               LMAO
  2018-05-08   13:05:45.153000+00:00   lolsmileyface    ldk weird fucks
· 2018-05-08   13:05:46.170000+00:00   jo               dude i never seen a uber
  2018-05-08   13:05:47.799000+00:00   jo               using a truck
  2018-05-08   13:05:48.830000+00:00   jo               tbh
  2018-05-08   13:05:55.771000+00:00   lolsmileyface    I would do it I dona€™t care
  2018-05-08   13:06:13.391000+00:00   jo               theyll do lambos tho
  2018-05-08   13:06:16.006000+00:00   jo               LMAO

 2018-05-08 13:07:44.545000+00:00      lolsmileyface
                                                        la€™m probably going to buy a car soon if we make a little more
 2018-05-08    13:07:56.313000+00:00   jo               y lol
 2018-05-08    13:11:48.083000+00:00   lolsmileyface    What kind of car do you want
 2018-05-08    13:11:54.026000+00:00   jo               a MCCl'.AREN
 2018-05-08    13:11:55.027000+00:00   jo               av·,,
 2018-05-08 13:12:11.491000+00:00      jo               570
 2018-05-08 13:13:50.178000+00:00      lolsmileyface    Get 650
                                                        lta€'"'s in the middle lol And you can find them for a good deal
 2018-05-08 13:14:02.077000+00:00      lolsmileyface
                                                        sometimes
 2018-05-08    13:14:32.848000+00:00   lolsmileyface    $150k to $180k
 2018-05-08    13:14:39.103000+00:00   lolsmileyface    570 like $120
 2018-05-08    13:14:41.326000+00:00   lolsmileyface    K
 2018-05-08    13:14:56.190000+00:00   lolsmileyface    Do you know what the differences?
 2018-05-08    13:16:29.126000+00:00   lolsmileyface    Whata€"'s a MP4-12c
 2018-05-08    13:16:34.956000+00:00   lolsmileyface    I See them for sale all the time
 2018-05-08    13:18:27.166000+00:00   jo               Really lol
 2018-05-08    13:18:46.294000+00:00   jo               I havena€™t seen those before
 2018-05-08 13:23:37.480000+00:00      lolsmileyface
 2018-05-08 13:23:44.452000+00:00      lolsmileyface
 2018-05-08 13:23:46.406000+00:00      lolsmileyface
 2018-05-08 13:24:08.036000+00:00      lolsmileyface    650 is the yellow one. Bitch bad and thata€™s a good deal
 2018-05-08 13:24:34.986000+00:00      jo               Oh
 2018-05-08 13:24:38. 791000+00:00     jo               Not bad lol
 2018-05-08 13:25:25.437000+00:00      lolsmileyface    After the next good you know la€™11 buy something lol
          Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 66 of 82 Page ID
        '~-                                 #:616


                                                              How the fuck does nobody have any super good lnstagrama€™s for
        2018-05-08 13:42:01.850000+00:00      lolsmileyface
                                                              sale
        2018-05-08 13:43:23.824000+00:00      jo              ldk lol
        2018-05-08 13:43:32.172000+00:00      jo              Maybe all sold now for cheap prices
          2018-05-08 13:47:27.305000+00:00    lolsmileyface   I remember meiggs Had a bunch of them
          2018-05-08 14:23:04.844000+00:00    lolsmileyface   Tell Xzayver HMU asap
    >     2018-05-08 15:37:54.723000+00:00    lolsmileyface   Att and sprint both work today
                                                              av-,,
          2018-05-08 16:49:25.324000+00:00    jo
          2018-05-08 16:49:28.800000+00:00    jo              Coner got someone he said
          2018-05-08 17:07:35.314000+00:00    lolsmileyface   Huh
          2018-05-08 17:11: 14.835000+00:00   lolsmileyface   When are you home
          2018-05-08 17:19:13.920000+00:00    lolsmileyface   Do you have sim on you   av-,
          2018-05-08 17:39:25. 742000+00:00   lolsmileyface   av--
          2018-05-08 18:05:40.176000+00:00    lolsmileyface   JO BMW SHOPPING
          2018-05-08 18:20:31.297000+00:00    lolsmileyface
          2018-05-08 18:52:51.202000+00:00    jo              im home lol
          2018-05-08 18:52:52.470000+00:00    jo              whats good
          2018-05-08 18:56:54.072000+00:00    lolsmileyface   I need sim lmao
          2018-05-08 18:57:17.211000+00:00    lolsmileyface
          2018-05-08 19:31:43.043000+00:00    lolsmileyface   How was bank
          2018-05-08 19:31:47.261000+00:00    lolsmileyface   Did you yell at them
          2018-05-08 19:31:49.933000+00:00    jo              annopying lol
          2018-05-08 19:31:56.562000+00:00    jo              i did a 25k check
          2018-05-08 19:31:56.785000+00:00    lolsmileyface   What did they mess up lol
        · 2018-05-08 19:32:04.418000+00:00    jo              and they stopped 5k online transfer
          2018-05-08 19:32:09.883000+00:00    jo              cuz it was "above 10k limit"
          2018-05-08 19:32: 10.997000+00:00   jo              like what
          2018-05-08 19:32: 11.595000+00:00   jo              lol
          2018-05-08 19:32:12.664000+00:00    lolsmileyface   LOL
          2018-05-08 19:32:20.287000+00:00    lolsmileyface
          2018-05-08 20:43:40.229000+00:00    lolsmileyface   DUDE WE READY
          2018-05-08 20:44:14.005000+00:00    lolsmileyface   lta€™s active lol googogo
          2018-05-08 20:45:37.979000-fO0:00   lolsmileyface
          2018-05-08 20:47:29.056000+00:00    lols ileyface   fbdishvshds
          2018-05-08 20:47:30.604000+00:00    lolsmileyface   S did dcddc
         2018-05-08 20:47:32.113000+00:00     lolsmileyface   Sibsusbdf
          2018-05-08 20:47:33.047000+00:00    lolsmileyface   Bshdjdbdf
          2018-05-08 20:48:49. 765000+00:00   lolsmileyface
          2018-05-08 20:51:03.274000+00;00    lolsmileyface
          2018-05-08 20:54:38.969000+00:00    lolsmileyface   JO LMAO
          2018-05-08 20:54:41.042000+00:00    lolsmileyface   JOHOJO
          2018-05-08 20:54:43.002000+00:00    lolsmileyface   DBDHODNDDSBDVSKNDD
          2018-05-08 20:59:10.472000+00:00    lolsmileyface
        2018-05-08 21:06:51.305000+00:00      lolsmileyface
        2018-05-08 21:10:20.510000+00:00      lolsmileyface   Jooooo
        2018-05-08 21: 12:02.417000+00:00     lolsmileyface
        2018-05-08 21:21:02.452000+00:00      lolsmileyface
        2018-05-08 22:09:21.353000+00:00      lolsmileyface   You here still




I
        2018-05-08 22:09:42.753000+00:00      lolsmileyface   Can you help me do this ig now pJease lol
        2018-05-08 22:09:46.828000+00:00      lolsmileyface   I just need sim
        2018-05-08 22:10:06.315000+00:00      lolsmileyface   After this
        Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 67 of 82 Page ID
.   '                                     #:617


        2018-05-08 22:12:53.416000+00:00        lolsmileyface   That cool please
        2018-05-08 22:15:58.430000+00:00        lolsmileyface   Pmsim
        2018-05-08 22:15:59.115000+00:00        jo              https://privnote.com/eHvyZLZi#nY0VxbhAR
        2018-05-08 22:16:51.784000+00:00        lolsmileyface   Got it
        2018-05-08 22: 16:59.271000+00:00       lolsmileyface
        2018-05-08 22:20:06.188000+00:00        lolsmileyface   Homieholmes200l@yahoo.com
        2018-05-08 22:22:43 .163000+00:00       lolsmileyface   4023
        201s-os-os 22:33:3 3 . • • • • o        lolsmileyface   Hey get ready he just opened it
        2018-05-08 22:33 :36.262000+00:00       jo              kk
        2018-05-08 22:39:25 .305000+00:00       lolsmileyface   Hey
        2018-05-08 22:39:28.745000+00:00        jo              yo
        2018-05-08 22:42:45.050000+00:00        lolsmileyface   Should be any minute
        2018-05-08 22:51:35.287000+00:00        lolsmileyface   Googogogogo
        2018-05-08 22:51:35.962000+00:00        lolsmileyface   Loi
        2018-05-08 22:51:38.612000+00:00        lolsmileyface   GOGOOGOGGOOGO
        2018-05-08 22:51:41.589000+00:00        lolsmileyface   av-,av-,
        2018-05-08 22:51:47.141000+00:00        lolsmileyface
        2018-05-08 22:56:36. 784000+00:00       jo              Random123!
        2018-05-08 23:02 :12.818000+00:00       lolsmileyface   Homiericky@outlook.com
        2018-05-08 23:08:00.227000+00:00        lolsmileyface   How do I check for a fb
        2018-05-08 23:08:01.937000+00:00        lolsmileyface   Loi
        2018-05-08 23:08:05.756000+00:00        lolsmileyface   She might have that added
        2018-05-09 00:22:15.377000+00:00        jo              ldk
        2018-05-09 00:22:18.577000+00:00        jo              Go on ig app
        2018-05-09 00:22:21.622000+00:00        jo              See fb linked
        2018-05-09 00:22:34.054000+00:00        lolsmileyface   I dona€™t think it says
        2018-05-09 00:22:51.660000+00:00        lolsmileyface   It tells me to connect with Facebook
        2018-05-09 00:22:56.443000+00:00        lolsmileyface   Connect a fb
        2018-05-09 00:23:02.507000+00:00        jo              Dona€™t need to
        2018-05-09 00:23:03.225000+00:00        jo              Loi
        2018-05-09 00:23:09.022000+00:00        jo              lta€'"' s good
        2018-05-09 00:23:09.779000+00:00        jo              Then
        2018-05-09 00:26:47.937000+00:00        lolsmileyface   Yayyy
        2018-05-09 01:55:21.035000+00:00        lolsmileyface   Shout please. Loi
        2018-05-09   01:55:28.859000+00:00      lolsmileyface   av--
        2018-05-09   01:55:34 .743000+00 :00    jo              Looo1
        2018-05-09   01 :55 :41. 772000+00:00   lolsmileyface   Need my people on here
        2018-05-09   01 :55 :46 .251000+00:00   lolsmileyface   To many freaks
        2018-05-09   11:42:15.605000+00 :00     lolsmileyface   Hi lol
        2018-05-09   13:09:57.401000+00:00      jo              yo
        2018-05-09   13:30:34.140000+00:00      lolsmileyface   What up
        2018-05-09   13:30:47.159000+00:00      jo              nm u
        2018-05-09   13:56:43.94 7000+00:00     lolsmileyface   Fuckin working lol
        2018-05-09 14:00:59.651000+00:00        jo              Loi
        2018-05-09 16:08:24.209000+00:00        jo              give me some of that Shish kebabs
        2018-05-09 16:08:36.998000+00:00        lolsmileyface   Loi dude they were very good
        2018-05-09 16:08 :42.371000+00:00       jo              ofc dude
        2018-05-09 16:08 :47.934000+00:00       jo              looks cheesy
        2018-05-09 16:08:48 .254000+00:00       jo              af
        2018-05-09 16:08:49.366000+00:00        jo              av-,,
        2018-05-09 16:08:53.312000+00:00        lolsmileyface   That with a little Smirnoff hit the spot last night
l~.
      Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 68 of 82 Page ID
       •                                #:618


 2018-05-09 16: 12:22.449000+00:00     lolsmileyface   Si
 2018-05-09 16:12:25.714000+00:00      jo              iight
 2018-05-09   16:12:29.629000+00:00    jo              u got telegram?
 2018-05-09   16:12:35.743000+00:00    jo              telling maj to sign up there
 201~-05-09   16:12:36.323000+00:00    jo              lol
 2018-05-09   16:12:42.105000+00:00    jo              since u aint used to xmpp
 2018-05-09   16: 12:46.243000+00:00   lolsmileyface   Tele yeah
 2018-05-09   16: 12:51.810000+00:00   jo              #?
 2018-05-09   16:13:12.890000+00:00    jo              or username
 2018-05-09   16:20:36.357000+00:00    jo              u made on yet?
 2018-05-09   16:20:37.677000+00:00    jo              one
 2018-05-09   16:20:38.868000+00:00    jo              "'
 2018-05-09   16:21:58.046000+00:00    lolsmileyface   Coinmission




                                                                                              ~
 2018-05-09   18:07:21.711000+00:00    lolsmileyface   Where the fuck are you guys at
 2018-05-09   19:29:34.311000+00:00    lolsmileyface   Wtf lol
 2018-05-09   21:13:58.784000+00:00    lolsmileyface   Dude
 2018-05-09   21:41:42.649000+00:00    jo              Whata€™s good
 2018-05-09   21:41:46.590000+00:00    jo              I was gone
 2018-05-09   21:41:48.349000+00:00    jo              lol
 2018-05-09   21:41:53.422000+00:00    jo              Had to do stuff
 2018-05-09   21:57:25.938000+00:00    lolsmileyface   Well sprint guy left for the day lol
 2018-05~09   22:06:49.653000+00:00    jo              Well so tomorrow
 2018-05-09   22:06:50.487000+00:00    jo              Di
 2018-05-09   22:06:52.097000+00:00    jo              do                       ~
 2018-05-09   22:06:56.303000+00:00    jo              Since maj is off anyways lo
 2018-05-10   00: 12:00.075000+00:00   lolsmileyface   Do we got atts?
2018-05-10 00:19:38.049000+00:00       jo              No
2018-05-10 13:08:24.157000+00:00       lolsmileyface   Cryjng
2018-05-10 13:08:36:102000+00:00       jo              What happened lol
2018-05-10 13:09:09.627000+00:00       lolsmileyface   ldk I just want nore
2018-05-10 13:09:11.957000+00:00       lolsmileyface   More lol
2018-05-10 13:10:35.993000+00:00       jo              oh
2018-05-10 13:10:36. 729000+00:00      jo              lol
2018-05-10 19:57:44.824000+00:00       lolsmileyface   NEEDVZW sim
2018-05-10 20:15:25.914000+00:00       jo              Where Conor at
2018-05-10 20:15:28.219000+00:00       jo              I sent him one
2018-05-1114:17:04.455000+00:00        lolsmileyface   Who has 8 you or doc lol
2018-05-1114:22:07.192000+00:00        jo              We both do lol
2018-05-1114:22:17.753000+00:00        jo              Wona€™t be for sale
2018-0S-1114:38:56.159000+00:00        lolsmileyface   Oh cause it has his bio on it lol
2018-05-1114:39:00.400000+00:00        lolsmileyface   Wasna€"'t sure.
2018-05-1114:39:03.260000+00:00        lolsmileyface   I dona€™t want it jw
2018-05-11 23:55:25. 729000+00:00      lolsmileyface   JOJO!
2018-05-11 23:55:40.295000+00:00       lolsmileyface   Howa€'"'s it looking la€™m almost done with dinner lol
2018-05-11 23:55:54.343000+00:00       jo              nopthing much yet
2018-05-11 23:55:59.471000+00:00       jo              av~:
2018-05-11 23 :56:09.304000+00:00      lolsmileyface   1.3
2018-05-11 23 :56:13.843000+00:00      lolsmileyface   We fuckin BOOLIN
2018-05-11 23 :56:17.984000+00:00      lolsmileyface   Wym     av~,
2018-05-11 23:56:23.383000+00:00       jo              1.3?
2018-05-11 23:56:24.976000+00:00       jo              Loi
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 69 of 82 Page ID
                                   #:619


2018-05-11 23:56:27.353000+00:00      jo              theyre joking
2018-05-11 23:57:10.848000+00:00      lolsmileyface   Oh tf
2018-05-11   23:57:18.250000+00:00    lolsmileyface   Loi he has so many paseses and shit
2018-05-11   23:57:20.673000+00:00    lolsmileyface   Passes*
2018-05-11   23:57:21.729000+00:00    jo              lol
2018-05-11   23:57:28.433000+00:00    jo              on a trezor
2018-05-11   23:57:52.246000+00:00    lolsmileyface   Thata(™s shit. Check drop docs for backup seed?
2018-05-11   23:57:55.801000+00:00    lolsmileyface Check authy?
2018-05-11   23:57 :59.647000+00:00   jo              they did
2018-05-11   23 :58:19.384000+00:00   lolsmileyface _ This guys rich
2018-05-12   00:22:11.232000+00:00    jo              nice car eh
2018-05-12   00:22:12.581000+00:00    jo              Kik
2018-05-12   00:22:13.867000+00:00    jo              Loi
2018-05-12   00:22:55.957000+00:00    lolsmileyface   You bought it lol
2018-05-12   00:23:02.501000+00:00 · jo               yeah for my aunt
2018-05-12   00:23:03.192000+00:00 jo                 haha
2018-05-12   00:23:08.369000+00:00 jo                 my cousin sent that
2018-05-12   00:23:12.254000+00:00 lolsmileyface      I remember lol. Dude I want a car bad
2018-05-12 00:23:19.386000+00:00      jo              eh
2018-05-12 00:23:25.996000+00:00      jo              go into delaers
2018-05-12 00:23:28.747000+00:00      jo              start looking haha
2018-05-12 00:33:02.947000+00:00      lolsmileyface   When shit goes up laf™II do it
                                                      Maybe like $10k laf™II start looking for car just want a little more
2018-05-12 00:33:24.910000+00:00      lolsmileyface
                                                      to be safe lol
2018-05-12 01:04:55.765000+00:00      jo              https://privnote.com/lezFGsUT#j Unu8Ld5 U
2018-05-12 19:45:19.073000+00:00      jo              Never use Rey
2018-05-12 19:45:22.310000+00:00      jo              As a. Sim swaQ
2018-05-12 19:45:25.222000+00:00      jo              Hea(™s irresponsible
2018-05-12 19:45:29.893000+00:00      jo              To dea tivate the verizon
2018-05-12 19:45:40.424000+00:00      jo              this is the droid phone I used for 15 Verizonaf™s +
2018-05-12 19:45:47.148000+00:00      jo              STJLL NOT blacklisted
2018-05-12 19:46:01.619000+00:00      jo              And then Rey who used it 2 TIMES for Verizon is blacklisted
2018-05-12 19:46:05.179000+00:00      lolsmileyface   I hate them lol
2018-05-12 19:46:09.813000+00:00      jo              I do to
2018-05-12 19:46:11.669000+00:00      lolsmileyface   I never fucj with rey
2018-05-12 19:46:23.419000+00:00      jo              Dude I wasted money buying new phones
2018-05-12 19:46:35.213000+00:00      jo              Just to realized this was all Reya(r"'s fault
2018-05-12 19:46:39.596000+00 :00     jo              With the Ss
                                                      But yeah I hope this fuckers like ur plug understands how valuable
2018-05-12 19:47:15.078000+00:00      jo
                                                      it is to deActivTe the sim
2018-05-12 20:50:53+00:00             jo              Yo sudsy got a vzw we wanna do
2018-05-12 20:50:56.363000+00:00      jo              Lmk lol
2018-05-12 20:52:05.555000+00:00      jo              And a att too
2018-05-12 21:00:39.232000+00:00      lolsmileyface   You got simd got that
2018-05-12 21:04:24.386000+00:00      lolsmileyface   Sims for that
2018-05-12 21:04:41.298000+00:00      jo              Yes
2018-05-12 21 :05 :33.298000+00:00    lolsmileyface   Kk just asked
2018-05-12 21:22:41.732000+00:00      lolsmileyface   We can do att
2018-05-12 21:26:19.789000+00:00      jo              Say In they chat rlll
2018-05-12 21:26:20.712000+00:00      jo              Loi
2018-05-12 21:26:21.613000+00:00      jo              The
           Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 70 of 82 Page ID
·•   ...                                     #:620


      2018-05-12 21:26:25.215000+00:00    jo              Group chat
      2018-05-12 21:27:49.642000+00:00    lolsmileyface   Kk
      2018-05-13 01:59:37.723000+00:00    jo
      2018-05-13 02:00:36.047000+00:00    jo              +l (318) 423-1799
      2018-05-13 12:56:29.342000+00:00    lolsmileyface   WhoaC'"s it for
      2018-05-13 13:51:22.707000+00:00    jo              Glubz
      2018-05-13 13:51:47.172000+00:00    lolsmileyface   Is it a targ?
      2018-05-13 13:51:50.081000+00:00    jo              Yeah
      2018-05-13 13:51:56.817000+00:00    jo              Wait. No
      2018-05-13 13:51:58.500000+00:00    jo              lta("'s not
      2018-05-13 13:52:01.978000+00:00    jo              lta("'s a scammer lol
      2018-05-13 13:52:05.103000+00:00    lolsmileyface   Tf
      2018-05-13 13:52:10.629000+00:00    lolsmileyface   What he scam for
      2018-05-13 13:56:09.266000+00:00    jo              Just need his dox lol
      2018-05-13 13:56:11.392000+00:00    jo              Nonsimming
      2018-05-13 13:59:48.241000+00:00    jo
      2018-05-13 21:01:33.•••a:io         lolsmileyface   We need att sim brother
      2018-05-13 23:58:59.793000+00:00    jo              verizon?
      2018-05-13 23:59:00.592000+00:00    jo              lol
      2018-05-14 00:05 :28.066000+00:00   lolsmileyface   Att
      2018-05-14 00:05:33.071000+00:00    jo              VERIZON!
      2018-05-14 00:05:34.614000+00:00    jo              av-:
      2018-05-14 00:05:44.695000+00:00    lolsmileyface   Whoa(™s targ
      2018-05-14 00:05:50.891000+00:00    jo              minessssssssss
      2018-05-14 00:06:35.697000+00:00    lolsmileyface   Tomorr:ow he goes in
      2018-05-14 00:06:44.604000+00:00    jo              8(
      2018-05-14 00:06:45.577000+00:00    jo              av-:
      2018-05-15 01:56:12.773000+00:00    jo              We doing sprint or no?
      2018-05-15 02:51:29.685000+00:00    lolsmileyface   Phones are fucked
      2018-05-15 02:51:39.423000+00:00    jo              Tomorrow then lol
      2018-05-15 02:51:42.693000+00:00    lolsmileyface   Your sprint phone fucked. Billy sprint phone fucked
      2018-05-15 02:51:44.676000+00:00    jo              I got 3 new iPhones
      2018-05-15 02:51:58.ll00Q0+00:00    jo              3 new iPhones tomorrow lol
      2018-05-15 02:51:59.834000+00:00    lolsmileyface   We have the pin to a vzw and a sprint
      2018-05-15 02:52:09.114000+00:00    lolsmileyface   Sudsy has a vzw?
      2018-05-15 02:52:10.581000+00:00    jo              Yeah we gottta deactivate and put it back
      2018-05-15 02:52:13.515000+00:00    jo .            On the phone
      2018-05-15 02:52:14.891000+00:00    jo              Yes he does
      2018-05-15 02:52:24.472000+00:00    lolsmileyface   Okay tomorrow wea('MII do them all
      2018-05-15 02:52:39.177000+00:00    lolsmileyface   My sprint plug legit though
      2018-05-15 02:52:45.272000+00:00    lolsmileyface   He just gives me the pin lol
      2018-05-15 02:53:01.082000+00:00    jo              I hate sprint and eversiA3n
      2018-05-15 02:53:02.476000+00:00    jo              Befause
      2018-05-15 02:53:08.190000+00:00    jo              They fucking are shit
      2018-05-15 02:53:13.695000+00:00    jo              Activate and deactivate
      2018-05-15 02:53:17.639000+00:00    jo              Thata(™s the whole purpose
      2018-05-15 02:53:20.665000+00:00    jo              For and cdma phone
      2018-05-15 12:03:04.310000+00:00    lolsmileyface   What phone you get today
      2018-05-15 12:08:20.348000+00:00    lolsmileyface   Sprint?
      2018-05-15 12:08:23.147000+00:00    jo              Yes
      2018-05-15 12:08:25.293000+00:00    lolsmileyface   Ayyy
 Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 71 of 82 Page ID
                                   #:621


2018-05-15 12:08:27.885000+00:00       jo               Works with Verizon and all
2018-05-15 14:28:48.180000+00:00       jo               Phones delivered but taking test today lol
2018-05-15 14:28:54.818000+00:00       jo               So hopefully 3-4pm
2018-05-15 15:06:34.980000+00:00       lolsmileyface    A TEST!
2018-05-15 15:06:47.275000+00:00       jo               other words
2018-05-15 15:06:50. 754000+00:00      jo               last day of school nigga
2018-05-15 15:29:03.272000+00:00       lolsmileyface    Loi god damn it
2018-05-15 17:51 :15.285000+00:00      jo               ready
2018-05-15 17:51:16.475000+00:00       jo               got phones
2018-05-15 17 :51 :39.170000+00:00     lolsmileyface    Ayyy
2018-05-17 16:46:21.281000+00:00       lolsmileyface    Bby
2018-05-17 16:58:22.709000+00:00       jo               yes sir
2018-05-17 17:04:07.422000+00:00       lolsmileyface    When do sprint come
2018-05-17 17:04:08.905000+00:00       lolsmileyface    Sims
2018-05-17 17:08:03.255000+00:00       jo               Just noa
2018-05-17 17:08:05.498000+00:00       jo               Got them




                                                                                    '*"
2018-05-17 17:08:07 .644000+00:00      jo               Loi
2018-05-17 17:29:07.687000+00:00       lolsmileyface    Loo good timing eh
2018-05-17 21:10:20.928000+00:00       lolsmileyface    WhereaC™s conor
2018-05-17 21:12:33.067000+00:00       jo               ldk lol
2018-05-17 21:12:58.395000+00:00       lolsmileyface    Those sprints are good
2018-05-17 23:11:47.962000+00:00       lolsmileyface    Where tf he at lol
2018-05-17 23:16:01.532000+00:00       jo               ldk
2018-05-17 23:33:26.421000+00:00       lolsmileyface    av-,
2018-05-17 23:49:56.909000+00:00       jo               i can get sprint pins now
2018-05-17 23:49:58.174000+00:00       jo               with a method
2018-05-17 23 :50:17.155000+00:00      lolsmileyface    Really? Loi
2018-05-17 23:50:22.287000+00:00       jo               yeah
2018-05-17 23 :50:23.              0   jo               av-,,
2018-05-17 23:50: 2..;4.831000+00:00   lolsmileyfa,ce   Me and conor got two to do.
2018-05-17 23:50:27.226000+00:00       jo               employee portal
2018-05-17 23:50:30.873000+00:00       jo               yeahik
2018-05-17 23:50:31.356000+00:00       jo               im calling rn
2018-05-17 23:50:35.005000+00:00       lolsmileyface    Okay dope.
2018-05-17 23:50:39. 733000+00:00      lolsmileyface    We gotta be careful man
2018-05-17 23:50:43.102000+00:00       lolsmileyface    Really careful
2018-05-17 23 :50:47.650000+00:00      jo               y
2018-05-17 23 :50:54. 746000+00:00     lolsmileyface    I B best friend
2018-05-17 23:51 :06.312000+00:00      lolsmileyface    Initials are ib
2018-05-17 23:51:08.140000+00:00       lolsmileyface    You know
2018-05-17 23:52:13.527000+00:00       jo               UGo
2018-05al7 23:52:15.351000+00:00       jo               is friends?
2018-05-17 23:52:16.738000+00:00       jo               with 18
2018-05-17 23:52:44.911000+00:00       lolsmileyface    Yes
2018-05-17 23:52:48.823000+00:00       lolsmileyface    Best friend
2018-05-17 23:52:55.302000+00:00       jo               ok not doing
2018-05-17 23 :52:56.333000+00:00      jo               fuck him
2018-05-17 23 :53 :03.418000+00:00     lolsmileyface    Wait which one is it
2018-05-17 23:53 :07.104000+00:00      jo               UGO
2018-05-17 23:53:11.547000+00:00       lolsmileyface    Which#
2018-05-17 23:53:13.508000+00:00       jo               im not doing ians friend
    Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 72 of 82 Page ID
                                      #:622


    2018-05-17 23:54:06.222000+00:00    lolsmileyface   The other one is good
    2018-05-17 23:55:20.876000+00:00    lolsmileyface   Which number were you doing
    2018-05-17 23:59:35.089000+00:00    jo              7204025832
    2018-05-17 23:59:43.604000+00:00    lolsmileyface · Hea€™s food
    2018-05-17 23:59:46.329000+00:00    lolsmileyface Good to do
    2018-05-17 23:59:58.390000+00:00    lolsmileyface ib friend is like 621 or 612 some shit
    2018-05-18 00:43:55.641000+00:00    lolsmileyface    How tf do we fix it
    2018-05-18 00:52:26.121000+00:00    jo               Wea€™re trying
    2018-05-18 00:52:38.958000+00:00    lolsmileyface    What are they saying
    2018-05-18 00:54:13.489000+00:00    lolsmileyface    I dona€™t get how imei is wrong
    2018-05-19 02:01:11.276000+00:00    lolsmileyface    Who you in Vegas with
    2018-05-23 03:41:45.            0   jo               Wherea€™s voku lol
    2018-05-23 03:47:01.544000+00:00    lolsmileyface    Grounded
    2018-05-23 03:47:02.485000+00:00    lolsmileyface    Why
    2018-05-23 03:50:03.083000+00:00    jo               Grounded wtf lool
    2018-05-23 03:50:11.220000+00:00    jo               His mom a bitch dude I swear
    2018-05-23 11:42:46.520000+00:00    lolsmileyface    Imagine 17 black and .being grounded
    2018-05-23 11:42:47.547000+00:00    lolsmileyface    LOL
    2018-05-23 17:06:02.542000+00:00    jo               Loi
    2018-05-23 23:19:40.494000+00:00    lolsmileyface    We got any att?
    2018-05-23 23:20:22.893000+00:00    jo               i got sims lol
    2018-05-23 23:28:18.262000+00:00    lolsmileyface    Conor has all the targs and hea€™s afk
    2018-05-23 23:32:27 .830000+00:00   jo
    2018-05-24 01:23:12.537000+00:00    lolsmileyface    New one
    2018-05-24 04:09:51.315000+00:00    jo               tmo conenct yes?
    2018-05-24 04:09:53.352000+00:00    jo               connect*
    2018-05-24 04:09:56.033000+00:00    jo               i got a target to do
    2018-05-24 11:48:05.234000+00:00    lolsmileyface    l'think
    2018-05-24 16:23:58.325000+00~00    jo               Loi
    2018-05-24 16:24:02.943000+00:00    jo               Leta€™s do it
    2018-05-30 01:14:27.826000+00:00    jo               Yo howa€™s life been
    2018-05-30 01:14:30.073000+00:00    jo               Loi
    2018-05-30 01:20:23.519000+00:00    lolsmileyface    lta€™s life lol.
    2018-05-30 01:20:27. 701000+00:00   lolsmileyface    I need new plugs man
    2018-05-30 01:37:10.817000+00:00    jo               Ahh fuck plugs tbh lol
    2018-05-30 01:37:14.307000+00:00    jo               la€™m happy where la€™m at
    2018-05-30 01:37:21.533000+00:00    jo               Just cana€™t risk anymore
)   2018-05-30 01:37:33.202000+00:00    lolsmileyface    Same but I just bought a $100k truck lol
    2018-05-30 01:37:41.916000+00:00    jo               I hope voku didnt gets raided
    2018-05-30 01:37:49.745000+00:00    lolsmileyface    ldk where he been man. Weird
    2018-05-30 01:37:50.112000+00:00    jo               Hope ita€™s just his parents lol
    2018-05-30 01:37:55.133000+00:00    lolsmileyface    I hope so to lol
    2018-05-31 00:23:01.004000+00:00    lolsmileyface    Need att sim
    2018-05-31 00:26:52.039000+00:00    jo              . Yo
    2018-05-3100:27:04.187000+00:00     lolsmileyface    Att sim
➔   2018-05-31 00:27:08.438000+00:00    lolsmileyface    Got a new plug I think
    2018-05-3100:28:26.759000+00:00     jo               Waiting for router to reboot lol
    2018-05-31 00:28:33.611000+00:00    jo               But yeah la€™11@msg xonor
    2018-05-31 00:28:38.527000+00:00    lolsmileyface    Loi okay no prob
    2018-06-0117:11:20.296000+00:00     lolsmileyface    What you doing lol
    2018-06-03 03:50:24.674000+00:00    jo               Yo
         Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 73 of 82 Page ID
                                           #:623


       . 2018-06-03 03:50:30.003000+00:00   jo               U there
         2018-06-03 14:37:36.883000+00:00   lolsmileyface    Hey
        2018-06-03 14:41:03. 738000+00:00   jo               Whata€™s good
        2018-06-04 00:13:51.515000+00:00    lolsmileyface    Brother how you been
        2018-06-04 11:51:34.619000+00:00    jo               Going to la today lol
        2018-06-04 11:51:43.827000+00:00    jo              First day traveling
        2018-06-04 11:51:56.392000+00:00    jo              Howa€™s ur new truck lmao
        2018-06-04 12:01:59.663000+00:00    lolsmileyface · What you doing there lol.
---)-+ 201~-06-04   12:02:02.403000+00:00   lolsmileyface My trucks badass
       2018-06-04   12:02:17.513000+00:00   jo              touring around lol
       2018-06-04   12:02:22.609000+00:00   jo              and xzavyers bday
       2018-06-04   12:02:27.559000+00:00   jo              damn
       2018-06-04   12:02:32.907000+00:00   jo              100k truck insane   av~,
       2018-06-04   12:02:37.041000+00:00   jo               do u got the same horn
       2018-06-04   12:02:38.330000+00:00   jo               av-,
       2018-06-04   12:02:55.302000+00:00   lolsmileyface    Yeah I have to put my horns in it lol
       2018-06-04   12:03:oo.ogsooo+oo:oo   jo               hahahahaha
       2018-06-04   12:03:07.413000+00:00   lolsmileyface    Xzayver bday wtf I didna€™t get a invite lol
       2018-06-04   12:03:12.600000+00:00   lolsmileyface    How long you going there for
       2018-06-04   12:03:19.004000+00:00   jo               idk tbh lol
       2018-06-04   12:03:20.355000+00:00 jo                 his bday
       2018-06-04   12:03:23.325000+00:00 . jo               the 15th
       2018-06-04   12:03:36.752000+00:00 jo                 he got a ~:lub and sick airbnb
       2018-06-04   12:03:40.861000+00:00 jo                 gonna be lit lmao
       2018-06-04   12:03:54.569000+00:00 jo                 would've been nice ·tu came in the weekend

        2018-06-04 12:06:29.323000+00:00    lolsmileyface
                                                             I didna€™t know about it and I ainacn•t gonna come un invited lol
        2018-06-04 12:06:31.467000+00:00    lolsmileyface    Thata€™s weird
        2018-06-04 12:06:44.783000+00:00    jo               i think he just started
        2018-06-04 12:06:48. 756000+00:00   jo               its not yet confirmed
        2018-06-04 12:06:58.042000+00:00    jo               i had to help him with some shit
        2018-06-04 12:07:16.334000+00:00    lolsmile'iface   Whoa€'"'s all going
        2018-06-04 12:07:30.853000+00:00    jo               me i got 4 homies with me and theyre all coming too lol
        2018-06-04 12:07:35.002000+00:00    jo               declan kolin healur
        2018-06-04 12:07:37.519000+00:00    jo               and sudsy
        2018-06-04 12:07:57. 715000+00:00   lolsmileyface    Hmmmm
        2018-06-04 12:08:21. 770000+00:00   jo               imma talk to xzavyer and see if u can come
        2018-06-04 12:08:43.482000+00:00    jo               oh yeah ajay coming too
        2018-06-04 12:34:18.946000+00:00    lolsmileyface    Oh god lmao
        2018-06-05 03:02:45.463000+00:00    lolsmileyface    You really in LA
        2018-06-05 03:02:46.541000+00:00    lolsmileyface    Lmao
        2018-06-13 03:31:55.089000+00:00    lolsmileyface    TRAVEL GOD JO!
        2018-06-15 16:07:33.627000+00:00    lolsmileyface    Rip Jo
        2018-07-02 21:25:17.064000+00:00    jo               yo
        2018-07-02 21:25:19.171000+00:00    jo               U there bro
        2018-07-02 21:25:27.336000+00:00    jo               I need dox info on a sprint
        2018-07-02 21:25:30.033000+00:00    jo               Like everything
        2018-07-02 21:25:34.932000+00:00    lolsmileyface    Hello
        2018-07-02 21:25 :36.030000+00:00   jo               Name address dob
        2018-07-02 21:25:37.344000+00:00    lolsmileyface    Whata€'"'s up
        2018-07-02 21:25:45.974000+00:00    jo               nm bro
  Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 74 of 82 Page ID
                                    #:624


2018-07-02 21:25:46.213000+00:00        lolsm ileyface   Whata€™s up man what happen
2018-07-02 21:25:53.320000+00:00        jo               I gotta do backgroun~ checks
2018-07-02 21:25:54.136000+00:00        jo               On girls
2018-07-02 21:25:59.630000+00:00        jo               Like I want to Make sure theya€™re 18
2018-07-02 21:25:59.938000+00:00        lolsmileyface    LOL tf
2018-07-02 21:26:02.688000+00:00        lolsmileyface    What
2018-07-02 21:26:06.782000+00:00        jo               Like idk man
2018-07-02 21:26:13.226000+00:00        jo               These bitches dona€™t bring their ida
2018 -07-02 21:26:14.497000+00:00       jo               lss
2018-07-02 21:26:16.467000+00:00        jo               Ids
2018-07-02 21:26:22.280000+00:00        jo               So I kick them out and shit
2018-07-02 21:26:34.443000+00:00        lolsmileyface    Look on fb lol
2018-07-02 21:26:38.712000+00:00        jo               But there 1 I gotta do a bg check
2018-07-02 21:26:43.261000+00:00        jo               Na this girl is hard af to dox
2018-07-02 21:26:45 .206000+00:00       jo               Shea€"'s a russian
2018-07-02 21:26:51.444000+00:00        jo               I tried everything dude isk
2018-07-02     21:26:52.637000+00:00    jo               ldk
2018-07-02     21:27:12.290000+00:00    lolsmileyface    How many girls you hook up with so far
2018-07-02     21:27:20.111000+00:00    jo               dude therea€™s so many girls
2018-07-02     21:27:22.835000+00:00    jo               I dona€™t fuck them tho
2018-07-02     21:27:28.305000+00:00    jo               I never fucked any yet honestly
2018-07-02     21:27:32. 793000+00:00   jo               I gotta watch out for my friends
2018-07-02     21:27 :43.243000+00:00   jo               Kolin fucked a 15 y/o a few weeks ago
2018-07-02     21:27:46.956000+00:00    lolsmileyface    LOL
2018-07-02     21:27:50.040000+00:00    jo               Yeah dude
2018-07-02     21:27:50.362000+00:00    lolsmileyface    tf
2018-0.7-02 21:27:55 .293000+00:00      jo               And xzavyer kissed her too
2018-07-02 21:27:57.192000+00:00        jo               And shit
  2018-07-02   21:28:01.246000+00:00    jo               Like idk man
  2018-07-02   21:28:08.383000+00:00    jo               I dona€'"'t want any stupid underage girls
  2018-07-02   21:28:13.702000+00:00    jo               At tonight party
· 2018-07-02   21:28:14.371000+00:00    lolsmileyface    How long you gonna be there foe
  2018-07-02   21:28:19.502000+00:00    jo               Like 15
  2018-07-02   21:28:21.501000+00:00    jo               15-Jul
  2018-07-02   21:28:24.813000+00:00    lolsmileyface    Damnit
  2018-07-02   21:28:28.038000+00:00    jo               Loool
  2018-07-02   21:28:41.986000+00:00    lolsmileyface    I have .vacation the 19th idk where to go
  2018-07-02   21:28:50.649000+00:00    lolsmileyface    For a week
2018-07-02     21:28:55.896000+00:00    jo               ahhh
2018-07-02     21:28:58.433000+00:00    jo               Doc man
2018-07-02     21:29:00.306000+00:00    jo               ov-, ov-, ov-,
2018-07-02     21:29:01.065000+00:00    lolsmileyface    Rip
2018-07-02     21:29:04.615000+00:00    jo               U seen that tweet
2018-07-02 21:29:06.977000+00:00        jo               Ian ba
2018-07-02 21:29:08.294000+00:00        jo               Bs
2018-07-02 21:29:12.884000+00:00        lolsmileyface    We know who did it
2018-07-02 21:29:22.743000+00:00        jo               Yeah
2018-07-02 21:29:25 .105000+00:00       jo               Stupid lmao
2018-07-02 21:29:35 .959000+00:00       lolsmileyface    Ohwell I hope hea€™s okay
2018-07-02 21:29:49.014000+00:00        jo               Yeah so funny he just tweets out names
2018-07-02 21:29:56.169000+00:00        lolsmileyface    Hea€™s dumb af
i   ,t
         Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 75 of 82 Page ID
.   I
                                           #:625


      2018-07-02 21:29:58.471000+00:00   jo              Nd says lizard squad lmao
      2018-07-02 21:30:00.199000+00:00   jo              Like wtf
      2018-07-02 21:30:01.739000+00:00   jo              Loi
      2018-07-02 21:30:14.155000+00:00   lolsmileyface   LOL black idiot
      2018-07-02 21:30:21.366000+00:00   lolsmileyface   Dude I heard some shit went down
      2018-07-02 21:30:22.724000+00:00   lolsmileyface   WithAj
      2018-07-02 21:30:23.921000+00:00   lolsmileyface   Lmfao
    · 2018-07-02 21:31:00.690000+00:00   jo              wymlmao
      2018-07-02 21:31:09.571000+00:00   jo              Ajay got evicted from his apt
      2018-07-02 21:31:11.637000+00:00   jo              Funny af
      2018-07-02 21:31:22.691000+00:00   lolsmileyface   ldk I heard he tried stealing or some shit
      2018-07-02 21:31:32.644000+00:00   lolsmileyface   Why he get evicted lol
                                                         He didna€™t steal anything from me but I heard xzavyer shit got
     2018-07-02 21:32:34.531000+00:00    .jo
                                                         stolen by andreya
     2018-07-02 21:32:38.263000+00:00 jo                 And idk honestly@lol
     2018-07-02 21:33:03.899000+00:00 lolsmileyface      What did she take LMAO
     2018-07-02 21:33:29.327000+00:00 jo                 ldk dude
     2018-07-02 21:33:31.134000+00:00 jo                 Alot@of shot
     2018-07-02 21:33:32.391000+00:00 jo                 Shit
     2018-07-02 21:33:33.889000+00:00 jo                 Like shoes
     2018-07-02 21:33:36.608000+00:00 jo                 Trezor
     2018-07-02 21:33:37.656000+00:00 jo                 Loi
     2018-07-02 21:33:44.228000+00:00 lolsmileyface      Trez! LMAO
     2018-07-02 21:33:46.881000+00:00 lols ileyface      NOWAY
     2018-07-02 21:33:57.523000+00:00 lolsmileyface      a€ceFuck too Xzayver ita€™s MY money nowa€ HAH
     2018-07-02 21:34:05.952000+00:00 jo                 Lolol
     2018-07-02 21:34:09.229000+00:00 jo                 Bitch a hoe an
     2018-07-02 21:34:15.888000+00:00 jo                 ldk why xzavyer gave her keys
     2018-07-02 21:34:19.393000+00:00 jo                 Which she'>bas still
     2018-07-02 21:34:21.058000+00:00 jo                 Lmdao
     2018-07-02 21:34:22.645000+00:00 lolsmileyface      Was the girl he cheated with hit
     2018-07-02 21:34:25.341000+00:00 lolsmileyface      Hot
     2018-07-02 21:34:28.726000+00:00 jo                 ldk man
     2018-07-02 21:34:30.282000+00:00 jo                 Shea€™s 17
     2018-07-02 21:34:31.805000+00:00 jo                 Actually
     2018-07-02 21:34:32.801000+00:00 jo                 LOL
     2018-07-02 21:34:41.839000+00:00 jo                 idk if ita€™s legal here but yeah
     2018-07-02 21:34:42.501000+00:00 . lolsmileyface    Is she hot though lol
     2018-07-02 21:34:45.896000+00:00 jo                 Na
     2018-07-02 21:34:47.291000+00:00 jo                 Shea€™s ufly
     2018-07-02 21:34:50.188000+00:00 jo                 Asian bitch
     2018-07-02 21:34:52.675000+00:00 lolsmileyface      Dumb lol
     2018-07-02 21:34:54. 733000+00:00 jo                Lolol
     2018-07-02 21:34:58.558000+00:00 lolsmileyface      Not drea
     2018-07-02 21:35:05.607000+00:00 lolsmileyface      The other girl he cheated on her with
     2018-07-02 21:35:13.926000+00:00 lolsmileyface      Was the girl he cheated with hot
     2018-07-02 21:35:45.455000+00:00 jo                 Oh
     2018-07-02 21:35:46.537000+00:00 jo                 ldk
     2018-07-02 21:35:47.388000+00:00 jo                 Loi
     2018-07-02 21:35:50.498000+00:00 jo                 He got lots of bitxhes
     2018-07-02 21:36:03.425000+00:00 lolsmileyface      Loi thata€™s funny man.
               Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 76 of 82 Page ID
         • f    ,.                               #:626


             2018-07-02 21:36:07 .567000+00:00     lolsmileyface   I should of came
             2018-07-02 21:36:29.283000+00:00      jo              Yeah lmao
             2018-07-02   21:36:36.265000+00:00    jo              Shit insane
             2018-07-02   21:36:38.750000+00:00    jo              Parties all say
             2018-07-02   21:36:40.139000+00:00    jo              Day
             2018-07-02   21:36:44.409000+00:00    lolsmileyface   I know smh lol
             2018-07-02   21:36:52.727000+00:00    lolsmileyface   Next time maybe
...---   -   2018-07-02   21:37:58.137000+00:00    lolsmileyface   Just donaf™t blow all your money lol
             2018-07-02   21:38:34.557000+00:00    jo              yeah I still got 7 figs lmao
             2018-07-02   21:38:39.823000+00:00    jo              ldk how
             2018-07-02   21:38:52 .945000+00:00   lolsmileyface   I dona€™t lol
             2018-07-02   21:39:04.966000+00:00    lolsmileyface   High 6s idk how
             2018-07-02   21:39:10.667000+00:00    jo              Lolol
             2018-07-02   21:39:14.022000+00:00    lolsmileyface   I thought I had 7figs lmao
             2018-07-02 21:39:40.755000+00:00      jo              dude cuz crypto went down af
             2018-07-02 21:39:54.813000+00:00      jo .            I got like l.lm atm
             2018-07-03 14:16:40.333000+00:00      lolsmileyface   Any idea where phobia is
             2018-07-04 04:29:51.012000+00:00      jo              I was talking to him yesterday why Ill
             2018-07-04 12:48:28.324000+00:00      lolsmileyface   ldk how to contact him
             2018-07-05 12:28:57.197000+00:00      lolsmileyface   Bruhhh lol
             2018-07-05 20:05:14.095000+00:00      jo              Yo what sup bro
             2018-07-05 20:05:16.906000+00:00      jo              Howa€™s everything going
             2018-07-05 20:05:19.667000+00:00      jo              I miss u so mucb
             2018-07-05 20:05:20.692000+00:00      jo              Hahaha
             2018-07-05 2D_:0S:42.656000+00:00     lolsmileyface   Dude you havena€™t heard me say GOGOGOGO in awhile
             2018-07-05 20:05:49.394000+00:00      jo              GOGOGOGOGOGOGOGOG
             2018-07-05   20:05:52 .140000+00:00   jo              hahahahaha
             2018-07-05   20:05:55.795000+00:00    jo              I miss the days ·
             2018-07-05   20:06:01.418000+00:00    jo              Doc shady me u
             2018-07-05   20:06:10.502000+00:00    lolsmileyface   I did two the other day lol
             2018-07-05   20:06:16.787000+00:00    jo              U got any hood
             2018-07-05   20:06:17.965000+00:00    jo              Good
             2018-07-05   20:06:18.796000+00:00    jo              Ones
             2018-07-05   20:06:24.437000+00:00    jo              Or just bad luck lol
             2018-07-05   20:06:26.359000+00:00    lolsmileyface   I been slacking tbh
             2018-07-05   20:06:29.636000+00:00    lolsmileyface   Bad luck.
             2018-07-05   20:06:41.623000+00:00    jo              I honestly just dona€™t want to do that stuff anymore
             2018-07-05   20:06:42.197000+00:00    lolsmileyface   He had SO much. Like 600btc and a lot of alts
             2018-07-05   20:06:44.906000+00:00    jo              It scares me a lot lmao
             2018-07-05   20:06:48.201000+00:00    jo              Damn really
             2018-07-05   20:06:59.389000+00:00    jo              Like I threw away all@my soms
             2018-07-05   20:07:01.171000+00:00    jo              And phones .
             2018-07-05   20:07:08.180000+00:00    jo              ldk if I want to ever go back now
                                                                   Couldna€™t get it. And we were downloading this shit coin wallet
             2018-07-05 20:07:13.524000+00:00      lolsmileyface   that he had $20k in and he took the coins before our wallet
                                                                   downloaded lol
             2018-07-05 20:07:19.864000+00:00      lolsmileyface   We got like $3k each av-,
             2018-07-05 20:07:22.551000+00:00      jo              Damn lmfao
             2018-07-05 20:07:25.731000+00:00      jo              Bad luck dude
             2018-07-05 20:07:37.666000+00:00      lolsmileyface   la€™m only gonna do till lm then la€™m done
             2018-07-05 20:07:51.188000+00:00      lolsmileyface   Coins down so gottta reup a bit
   Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 77 of 82 Page ID
. t .                                #:627
                     /
  2018-07-05 20:07·5                                  Yeah man after th
  2018-07-05 20:07:5 1.945000+00:00   jo              I just dona€™t    at Ian tweet
                                                      Lmao       .   want to be involved u k now
  2018-07-05 20:07:5 8.962000+00:00   jo
  2018-07-05 20:08:19.918000+00:00    jo
                                      lolsmileyface   I know and th ey both keep hitt·mgmeu
  2018-07-05 20 . 5.128000+00·00                      LMFAO                                 p to do sh;t
               :08·19           .     lolsmileyface
  2018-07-05 20· . .460000+00:00
               .12:59.340000+00:00    lolsmileyface
    Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 78 of 82 Page ID
• f' ,,.                              #:628



                                           SEARCH WARRANT




     STATE OF FLORIDA
     COUNTY OF PASCO




                            TO THE SHERIFF AND/OR DEPUTY SHERIFF
                                     OF PASCO COUNTY FLORIDA




     The attached Affidavit of Search Warrant coming on to be heard and the Court having examined
    · the Affiant under oath and having been satisfied that the facts as alleged do exist and that the law
     is being violated as alleged and/or property which constitutes evidence relevant to proving that
     said crime has been committed is located therein, a Search Warrant is hereby allowed and issued
     to search the premises described in the attached Affidavit for Search Warrant, to wit: that in
     certain dwelling located at 9733 Lake G:hrise Ln. Pol Richey, FL, Pasco County, Florida; legal
     description of REGENCY PARK UNIT 6-A PB 14 PG 61 LOT 1680 OR 4025 PGS 1062-1065;
     said residence being more particularly described as a single story concrete and stucco dwelling;
     said residence is tan in color with white trim; said residence has brown colored asphalt shingled
     roof; said residence has an attached single-car garage with a concrete driveway leading to the
     garage door; said residence has a white colored screen type door which is facing East, which
     opens outward and a dark colored frontdoor, which opens inward; said residence has.one double
     window south of the front door on the front of the house and one single window north of the
     front door on the front of the house; the laws of Florida, Chapters 777.04, 812.014(2)(a),
     896.101(3)(a)(2a), and 815.06(3)(b)2 are being violated and/or property which constitutes
     evidence relevant to proving that said crime(s) has been committed is located therein as
     described in the attacl}ed Affidavit for Search Warrant sworn to by Affiant, Detective D. Stewart
     of the Pasco County Sheriffs Office.


                                                    1 of 5
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 79 of 82 Page ID
                                  #:629




               THESE PRESENTS THEREFORE are to command you with the necessary and
 proper assistance as the exigencies of the occasion may demand or require, either in the daytime
 or nighttime and on any day of the week including Sunday and holidays, in or on said premises
 and the curti_lage thereof, and any persons or vehicles thereon reasonably suspected of being
 involved in the illegal activity which is the subject of this warrant, to diligently search for the
 herein described property, to wit:
         1. Computer hardware to include any and all computer equipment used to collect,
        analyze, create, display, convert, store, conceal, or transmit electronic, magnetic, optical,
        or similar computer impulses or data. Hardware includes (but is not limited to) any data-
        processing devices (such as central processing units, cellular devices, personal
        computers to include "laptop" or "notebook" or "pocket" computers); tablets, deactivated
        cell phones, internal and peripheral storage devices (such as fixed disks, external hard
        disks, Floppy disk drives and diskettes, tape drives and tapes, optical storage devices,
                                         -
        and other electronic media devices);


        2. Computer input and output devices to include but not limited to keyboards, mice,
        scanners, printers, monitors, network communication devices, modems and external or
        connected devices used for accessing computer storage media;


        3. Computer storage media and the digital content to include but not limited to Floppy
        disks,- hard drives, VHS tapes, tapes, DVD disks, CD-ROM disks, USS disks, external
        hard drives, or other magnetic, optical or mechanical storage which can be accessed by
        computers to store or retrieve data, cryptocurrency wallets, personal identifying
        information, SIM card data, and documenting conversations and/or financial transactions;


        4. Computer software and application software installation and       operation media;


        5. Computer software, hardware or digital contents related to the sharing of Internet
        access over wired or wireless networks allowing multiple persons to appear on the ·
        Internet from the same IP address;


        6. Manuals and other documents (whether digital or written) which describe operation of
        items or software seized;



                                                   2 of5
     Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 80 of 82 Page ID
• '1' ..
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                                       #:630



           7. Items containing or displaying passwords, access codes, usernames or other
           identifiers necessary to examine or operate items, software or information seized;


           8. Correspondence or other documents (whether digital or written) pertaining to Bitcoin;
           cryptocurrency;   internet activity;   internet payment;    banking    information; financial
           transactions; wallet IDs; cryptocurrency exchanges; any information related to Discord,
           Skype, Telegram, or any other chat programs; any items or files containing QR codes or
           barcodes; buying and/or selling of cryptocurrencies;


           9. Items and/or documents that would tend to establish ownership or use of ·
           computers/electronic devices and ownership or use of any Internet service accounts
           accessed to perpetuate a fraud scheme; to include credit card bills, telephone bills,
           correspondence and other identification documents containing addresses, names, phone
           numbers, dates of birth, and/or social security numbers;


           10. Items and/or documents that would tend to show dominion and control of the property
           searched, to include utility bills, telephone bills, correspondence, rental agreements and
           other identification documents ad resses, names, and/or phone numbers;


           11. Electronic data maintained on the seized computer(s), electronic devices, or
           computer related storage devices such as Floppy diskettes, tape backups, computer
           printouts, and "zip" drive diskettes, in particular, data in the form of images and/or videos
           and any accompanying text associated with those images, and/or log files recording the
           transmission, of images as they relate to violations of Florida law cited herein;


           12. All 'electronic files and data on any computers, electronic devices, cell phones, and
           tablets that show an individual's ownership, possession and control at time of the offense;


           13. Any and all software that may be utilized to create, receive, distrib~te, store, or modify
           the evidence sought and all software that may be used to communicate or store online
           communications;


           14. Encrypted, deleted and unallocated files on electronic media that contain any of the
           information listed in previous paragraphs;


           15. Notations, files or documentation containing passwords or codes ne~essary to unlock


                                                        3 of 5.
Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 81 of 82 Page ID
                                  #:631


        computer files or to access the computer or storage media;


        16. Any and all equipment used to store offline (ie: "cold store") cryptocurrencies. These
        include, but are not limited to, TREZOR devices;


        17. Any and all cell phones, SIM cards, or other means of communication devices;


        18. Any and all items regarding the shipment of SIM cards, cell phones, and currencies in
        all forms;


        19. Any and all items, documents, and/or electronic data regarding the documenting of
        financial transactions, including but not limited to, curr,ency, cryptocurr-ency, and
        vehicle/asset purchases;


        20. Any and all written and/or electronic documentation detailing currency and
        cryptocurrency exchanges;


                                                                                '
        21. Any ar\d all written or electronic documents or files containing decipher keys,
        encryption keys, passcodes, passwords, passphrases, cryptocurrency wallet ID's,
        transaction keys, QR codes, barcodes, and/or transaction ID's;


        22. Currency in all forms, including digital currencies and cryptocurrency;


        23. Any and all tax forms, paycheck stubs, receipts, and other items showing reported
        income to the government or the source or application of legitimate and illegitimate funds;


        24. Any and all written, printed, typed, or electronically stored conversations pertaining to
        the violation of Florida state statutes,


 contrary to Florida Statute Chapters 777.04, 812.014(2)(a), 896.101(3)(a)(2a), and
 815.06(3)(b)2, as described in the attached Affidavit for Search Warrant, and if the same shall be
 found, to seize same and return to a Court having jurisdiction a complete inventory of the
 evidence seized. The tangible evidence seized shall be maintained at the law enforcement
 agency as evidence within the constructive custody of the Court until further Order of a Court of
 competent jurisdiction.

                                                   4 of5
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         Case 2:19-cv-08972-CBM-FFM Document 33-3 Filed 05/29/20 Page 82 of 82 Page ID
                                           #:632




                YOU ARE FURTHER ORDERED to bring any person arrested in connection with said
          property before a Court having jurisdiction of the offense.


                YOU ARE FURTHER ORDERED, ifno person is found in custody or control of said
          premises, to leave at said premises, a copy of this Search Warrant and a complete inventory of
          property seized.
                DONE AND ORDERED in Pasco County, Florida this 17th day of July, 2018.




                                                        5 of 5
